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                                             State of New Jersey
PHILIP D. MURPHY                           OFFICE OF THE ATTORNEY GENERAL                                    GURBIR S. GREWAL
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   Lt. Governor                                          PO Box 112                                                Director
                                                  TRENTON, NJ 08625-0112


                                                    June 21, 2021

           VIA ECF
           Hon. Zahid N. Quraishi, U.S.D.J.
           U.S. District Court - District of New Jersey
           Clarkson S. Fisher Building & U.S. Courthouse
           402 East State Street
           Trenton, NJ 08608

                   Re:   Sorokina v. The College of New Jersey
                         Docket No. 19-cv-20674

           Dear Judge Quraishi:

                This office represents defendant, The College of New Jersey
           (“TCNJ”), in the above-docketed matter. Kindly accept this letter
           in response to Plaintiff’s written discovery dispute letter.

                 A status call was held on 2/9/21. My notes indicate that Your
           Honor instructed defendant to produce the personnel files of Dr.
           Choi and Dr. Kim, and supplement our discovery responses to include
           information regarding disciplinary proceedings or investigations
           for misconduct, limited to tenure track faculty members in the
           Finance Department of the School of Business (the same position
           and department as plaintiff) during the years of plaintiff’s
           employment. We submit defendant TCNJ has complied with your
           instructions.

                   Defendant’s discovery responses and subsequent exchanges
                   with plaintiff’s counsel

                 Attached as Exhibit A are defendant TCNJ’s initial response
           to plaintiff’s request for production of documents and Exhibit B,
           defendant TCNJ’s initial answers to interrogatories. Attached as
           Exhibit C are TCNJ’s supplemental discovery letter dated 4/14/21
           served in accordance with Your Honor’s instructions. We amended


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    answers to interrogatories nos. 11, 12, 13, and 14 regarding
    discipline and investigations.      We also supplemented TCNJ’s
    response to plaintiff’s request for documents no. 2, 3 & 9 to
    include the personnel files of Dr. Kim and Choi, and investigative
    records regarding Dr. Mayo. All responses were limited to persons
    similarly situated to plaintiff: Department of Finance tenure track
    faculty during the period of plaintiff’s employment. We amended
    the responses as follows.

         Interrogatory    no.    11  seeks    information   regarding
    investigations as to performance or conduct of any individual.
    Defendant’s response, limited to the Department of Finance tenure
    track faculty members during the time of plaintiff’s employment,
    identified a complaint against Dr. Mayo and the documents of that
    investigation were provided.

         Interrogatory no. 12 seeks information regarding disciplinary
    actions, terminations, etc. and defendant responded that it had no
    such information with respect to the Department of Finance tenure
    track faculty members during the time of plaintiff’s employment.

          Interrogatory no. 13 seeks information against     individuals
    who suffered adverse employment actions arising from     allegations
    of misconduct. The defendant’s response, limited to      the Finance
    Department tenure track faculty during the time of       plaintiff’s
    employment was none.

         Interrogatory no. 14 seeks information related to employee
    acts of insubordination. Defendant’s response, limited to tenure
    track Department of Finance faculty members during the time of
    plaintiff’s employment, was none.

          We also amended our response to plaintiff’s request for
    documents. In response to Request for Production no. 2 and no. 3
    we provided the personnel files of Dr. Kim and Dr. Choi. In response
    to request for Production no. 9, we provided records of the Dr.
    Mayo investigation.

          Plaintiff’s  counsel   responded  to   our  4/14/21   letter
    supplementing TCNJ’s discovery responses by email dated 5/12/21
    (Exhibit D) stating that he was going to “raise 3 issues with the
    court regarding the discovery”. Issue no. 1 pertained to
    plaintiff’s request for Production no. 2 and the documents related
    to performance for Dr. Choi and Dr. Kim; issue 2 was his request
    for personnel files of other TCNJ faculty; issue 3 his request for
    personnel files of Dr. Keep, Dr. Patrick and Dr. Mayo.
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          I responded to these 3 issues via email on 5/21/21 (Exhibit
    E, last section). I advised plaintiff’s counsel that the issue no.
    1, performance documents as to Dr. Kim and Dr. Choi, would be
    provided, and these were forwarded to plaintiff’s counsel via email
    on 5/31/21 (Exhibit F). With respect to issues 2 and 3 I advised
    plaintiff’s counsel that these were not requested in plaintiff’s
    request for production, and asked plaintiff to provide us with a
    supplemental request. Plaintiff never served us with a supplemental
    request.

         On 5/27/21 I received another email from plaintiff’s counsel
    identifying 6 new “issues” (Exhibit G) with respect to defendant’s
    document production. The issues raised, as stated by plaintiff’s
    counsel, were:

      1. No 1. document request, the response is incomplete. As we
         learned from the documents produced so far, along with the
         testimony of Tammy Dietrich at the deposition, the Dean’s
         Office maintained the second personnel file in the School
         of Business. I believe that TCNJ did not produce any of the
         documents from that file at all.
      2. Request No. 3, TCNJ has not produced any documents.
      3. Request No. 4 TCNJ has not produced any documents. This is
         my request that we discussed two weeks ago on the phone. I
         do not need their complete files, however, I will need
         their hiring, reappointment, and promotion papers.
      4. Request No. 9 TCNJ has not produced any documents. These
         are the documents I was referring to in our conversation
         two weeks ago and also in the email. I am not seeking their
         complete personnel files, just the part related to the
         reports of discrimination, etc.
      5. Request No. 14 TCNJ has not produced any documents. I hope
         you recall from the recent deposition that there were at
         least several discipline issues with other faculty.
      6. Request No. 22 TCNJ has not produced and documents.

    By email dated 5/31/21 (Exhibit F) I responded and explained when
    and where defendant provided the documents. My response was:

         1. In response to your document request no. 1 the Dean’s
            Office records were produced and marked TCNJ 476-600;
         2. In response to your document request no. 3 I have
            attached the reappointment and promotion documents for
            Dr. Choi and Dr. Kim. These documents were served with
            our April 14, 2021 supplemental response;
         3. Your document request no. 4 pertains to student teaching
            evaluations and not to hiring, reappointment or promotion
            documents as stated by you and therefore no response is
            provided;
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           4. Documents in response to your document request no. 9
    were served with our April 14, 2021 supplemental response: Mayo
    Final Letter, Mayo Report and Dr. Pogue Statement;
         5.    Documents in response to your document request no. 14
         were served with our April 14, 2021 supplemental response.
         I disagree with your recollection of Ms. Dietrich’s
         deposition testimony;
         6.    In response to your document request no. 22 we
         objected to the request on the grounds that the question is
         ambiguous and calls for a legal conclusion. It is our
         position that no “adverse employment actions” against
         Finance Dept. faculty members have been undertaken during
         the years in question and therefore no documents provided.


    Defendant TCNJ submits that the above demonstrates our efforts to
    provide plaintiff with the required discovery.

         Defendant’s response to plaintiff’s 6/1/21 discovery dispute
          letter items A through H

    Our response to items A through H as raised in plaintiff’s dispute
    letter are as follows:

      A. Production Request No. 2:
               Response: Defendant provided the personnel files of Dr.
         Choi and Dr. Kim with its 4/14/21 letter (Exhibit C) and with
         its 5/31/21 email (Exhibit F). Defendant has no other
         documents in its possession.
      B. Production Request No. 3:
               Response: Defendant TCNJ attached the reappointment and
         promotion documents for Dr. Kim with its 5/31/21 email to
         plaintiff (Ex. F). Dr. Kim was the only Finance department
         tenure track professor, other than plaintiff, hired after
         2013.
      C. Production request No. 4:
               Response: Plaintiff’s counsel never requested the
         student evaluations prior to the submission of his 6/1/21
         discovery dispute letter. Neither was it 1 of 3 issues raised
         in his 5/12/21 email (Exhibit D) nor in his 5/27/21 email
         (Exhibit G). Although he did reference production request no
         4 in his 5/27/21 email, he specifically asked for promotion
         and reappointment documents. We responded that promotion and
         reappointment records were not included within 4 and made no
         response. Plaintiff’s counsel never followed up with
         clarification. In any event we will make available all student
         evaluations limited to the Department of Finance tenure track
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         faculty during the period of plaintiff’s employment.

      D. Production request No. 9:
              Response: In Request no. 9 plaintiff seeks documents
         relating to complaints of discrimination or unfair treatment.
         Defendant has no such documents limited to the Department of
         Finance during the period of plaintiff’s employment.
      E. Production Request No. 14:
              Response: This request seeks disciplinary records.
         Defendant has no disciplinary records of Department of
         Finance tenure track faculty during the period of plaintiff’s
         employment.
      F. Production request No. 15:
               Response: This is the first time plaintiff is
         requesting travel related documents. We have provided a
         comprehensive spread sheet of the travel request records (EX
         H) and object to plaintiff raising this issue at this late
         stage. We also submit the approximately 20 pages of summaries
         provided   to   plaintiff  (Exhibit   H)   is   detailed   and
         comprehensive. Subject to our objections, TCNJ has binders
         estimated to contain several thousand pages of travel
         documents and we will make the documents available for
         inspection by plaintiff at TCNJ upon reasonable notice.
      G. Production request No. 22:
              Response: This document request relates to adverse
         employment    actions  and   corresponds   with    plaintiff’s
         interrogatory no. 13. Defendant responded (Ex. C) there were
         no adverse employment actions and therefore no documents
         responsive to the production request.
      H. Production request No. 1:
              Response: Defendant responded in its 5/31/21 email (Ex.
         F) that the Dean’s Office records were produced and marked
         TCNJ 476-600 in response to Plaintiff’s           Request for
         Production no. 1 (Ex A).

    Based upon the foregoing, we submit that defendant has conferred
    with plaintiff’s counsel and provided the requisite discovery to
    plaintiff as instructed by the Court.
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                                Respectfully submitted,

                                GURBIR S. GREWAL
                                Attorney General of New Jersey

                                By: /s/ John P. Cascio
                                    John P. Cascio
                                    Deputy Attorney General
    RVB
    Encl.
    cc:     S. Joseph Litvak, Esq. (via email)
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                        EXHIBIT A
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                        UNITED STATES DISTRICT COURT
                                      FOR THE
                              DISTRICT OF NEW JERSEY

    DOE,                                  )   CIVIL ACTION – LAW
                                          )
                 Plaintiff,               )   CASE NO. 3:19-cv-20674
                                          )
           v.                                      TCNJ’s Responses to
                                          )
                                                   Plaintiff’s First Set of
    THE COLLEGE OF NEW                    )
                                                  Requests for Production
    JERSEY,                               )
                                          )
                 Defendant.               )
                                          )

    TO:    Sergey Joseph Litvak, Esq.
           Litvak Legal Group, PPLC
           3070 Bristol Pike – Ste. 204
           Bensalem, PA 19020
           Attorney for Plaintiff

    COUNSEL:

    PLEASE TAKE NOTICE that the undersigned attorney for defendant, The
    College of New Jersey (“TCNJ” or “Responding Defendant”), hereby provides
    the following responses to the first set of requests for production propounded
    upon it by plaintiff, “Jane Doe.”
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                                GURBIR S. GREWAL
                                Attorney General of New Jersey


                                By: /s/ Raajen V. Bhaskar
                                    Raajen V. Bhaskar (035242012)
                                    Deputy Attorney General

    Dated:   December 8, 2020




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                              GENERAL OBJECTIONS

    1.    Responding Defendant objects to each request that is unduly
    burdensome in that it requires Defendant to provide information which is
    beyond the scope of the personal knowledge of the individual(s) answering
    these requests and within the scope of personal knowledge of person(s)
    unknown to the individual(s) responding to these requests or person(s) over
    whom this Defendant has no control. This objection shall be referred to
    hereafter as the “absence of control” objection.

    2.     Responding Defendant objects to each request that would impose an
    excessive or undue burden or that is made with the intent to harass. This
    objection shall be referred to hereafter as the “undue burden” objection.

    3.     Responding Defendant objects to each request that is vague, ambiguous,
    over broad, includes compound or multiple questions or otherwise lacks
    sufficient definition to permit the individual responding to these requests to
    formulate a meaningful response. This objection shall be referred to hereafter
    as the “ambiguous” objection.

    4.     Responding Defendant objects to each request that seeks information
    prepared or developed in anticipation of litigation or subsequent to the filing
    of this lawsuit by or through the direction of legal counsel on the grounds that
    such material is protected from disclosure as attorney-work-product. This
    objection shall be referred to hereafter as the “work-product” objection.

    5.     Responding Defendant objects to each request that seeks information
    which is irrelevant to the issues in this matter and is not reasonably calculated
    to lead to the discovery of relevant admissible evidence. This objection shall be
    referred to hereafter as the “relevance” objection.

    6.     Responding Defendant objects to each request that seeks information
    that is protected from disclosure by the attorney-client communication
    privilege. This objection shall be referred to hereafter as the “privilege”
    objection.

    7.    Responding Defendant objects to each request that seeks disclosure of
    information which is confidential or which contains proprietary information.
    This objection shall be referred to hereafter as the “confidentiality” objection.

    8.     Responding Defendant objects to each request that is repetitive in
    nature, excessive and harassing. This objection shall be referred to hereafter
    as the “repetitive” objection.



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    9.     Responding Defendant objects to each request that lacks sufficient
    foundation to understand, uses terms that have not been defined, assumes
    facts not of record, uses terminology known only to petitioner or is otherwise
    unintelligible in form. This objection shall be referred to hereafter as the “form”
    objection.

    10.    Responding Defendant objects to each request that requires it to
    "identify any and/or all witnesses" and identify any and/or all "documents" or
    similar requirements. This objection shall be referred to hereafter as the
    “overbroad” objection.

    11.    Responding Defendant objects to each request that seeks documents
    related to matters outside the time period relevant to Plaintiff’s claims or the
    statute of limitations regarding such claims. This objection shall be referred to
    hereafter as the “time frame” objection.

    12.    Responding Defendant objects to each request that requires it to make
    a legal conclusion which it is not qualified to make. This objection shall be
    referred to hereafter as the “legal conclusion” objection.

    13.    Responding Defendant objects to each request that seeks documents
    that are protected from disclosure by the executive privilege. This objection
    shall be referred to hereafter as the “executive” objection.

    14.    Responding Defendant objects to each request that requires it to produce
    public documents without plaintiff first exhausting administrative remedies to
    obtain same. This objection shall be referred to hereafter as the “public
    document” objection.

    15.   Responding Defendant objects to each request that seeks advisory,
    consultative, or deliberative communications that are part of the decision
    making process of a governmental agency. This objection shall be referred to
    hereafter as the “deliberative process” objection.

    16.    Responding Defendant objects to each request to produce personnel
    records that are confidential under the provisions of N.J.A.C. 10A:31-4.4,
    N.J.A.C. 4A:1-2.2(a), Executive Orders 9 (Governor Hughes), 11 (Governor
    Byrne), and 26 (Governor McGreevey) regarding the disclosure of personnel
    records    by   government       agencies    (Orders    available    online at
    http://www.njarchives.org/links/regulations.html). This objection shall be
    referred to hereafter as the “confidential personnel records” objection.




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    17.    Responding Defendant objects to each request that seeks production of
    documents from a State Equal Employment Opportunity Office (“EEO office”
    or “EEO/AA office”) insofar as EEO complaints and files are confidential
    pursuant to N.J.A.C. 4A:7-3.1, which requires protection of the “privacy
    interests of those involved” in an EEO investigation, including without
    restriction any witness, and requires that “confidentiality . . . be maintained
    throughout the investigatory process,” and Defendant cannot produce any such
    documents without a Consent Protective Order in place and/or cannot produce
    any such documents without a court order compelling production. This
    objection shall be referred to hereafter as the “confidential EEO records”
    objection.

    18.    Responding Defendant objects to each request that seeks disclosure of
    documents regarding the medical condition, psychological condition, or
    disability of any individual other than plaintiff; or, client/patient services that
    are confidential pursuant to state and/or federal law. Pertinent laws and
    regulations include, but are not limited to, N.J.S.A. 2A:84A-22.2 (physician-
    patient privilege); N.J.S.A. 45:14B-28 (psychologist-patient privilege);
    N.J.S.A. 2A:84A-22.13       (victim-counselor      privilege);    N.J.S.A. 26:5C-7
    (confidentiality of AIDS/HIV infection records); N.J.S.A. 30:4-24.3
    (confidentiality of person receiving services in non-correctional institutions of
    the State); N.J.S.A. 30:4-3.19 (confidentiality of person reporting patient abuse
    at State institution); the Health Insurance Portability and Accountability Act
    of 1996 (HIPAA) 45 C.F.R. 160 and 164 (confidentiality of medical records
    generally); 42 C.F.R. 2.13 (confidentiality of alcohol and drug abuse patient
    records); 34 C.F.R. 361.38 (confidentiality of vocational rehabilitation
    information); Americans with Disabilities Act 42 U.S.C. § 12112(d)(3)(B)
    (confidentiality of medical information related to disability and employment).
    This objection shall be referred to hereafter as the “confidential medical
    records” objection.

    19.    Responding Defendant objects to each request that seeks documents
    that is shielded from disclosure by the official information or governmental
    privilege, including, but not limited to, records of confidential investigations by
    the government of the State through its authorized agents. This objection shall
    be known as the “official information” objection.

    20.   Responding Defendant objects to each request that seeks Electronically
    Stored Information (“ESI”) that is not reasonably accessible because of undue
    burden or cost. This objection shall be known as the “ESI” objection.




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    21.    Responding Defendant objects to each request that exceeds the
    requirement of Fed.R.Civ.P. 34(a) to produce items for the propounding party
    “to inspect, copy, test, or sample.”

    22.   Responding Defendant objects to each request that fails to “describe
    with reasonable particularity each item or category of items to be inspected”
    as required by Fed.R.Civ.P. 34(b).




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              TCNJ’S RESPONSES TO PLAINTIFF’S FIRST SET OF
                      REQUESTS FOR PRODUCTION

    1.     All documents contained in Plaintiff's personnel files) in the possession
    of Defendant, TCNJ, including, but not limited to, all performance evaluations,
    grievances, human resources investigations, and charges or complaints of
    discrimination filed by Plaintiff.
    RESPONSE: Responding Defendant refers Plaintiff to the
                      documents produced in response to her first notice to
                      produce (TCNJ 476-600). Responding Defendant
                      reserves the right to supplement or amend this
                      response as discovery continues.




    2.       All documents contained in Dr. Choi's and Dr. Kim's personnel file(s),
    including, but not limited to, evaluations, grievances, human resources
    investigations, and charges of discrimination. This request does not include or
    seek the production of social security numbers, bask account information,
    drivers' license numbers, insurance information or information related to the
    employee's family members, if any, contained in the requested personnel
    file(s).
    RESPONSE: Responding Defendant objects to this request on the
                      following bases: (1) Confidentiality, (2) Confidential
                      Personnel Records, (3) Overbroad, (4) Ambiguous and
                      (5) Time Frame. The materials sought in this request
                      constitute confidential personnel records that are not
                      subject to disclosure pursuant to N.J.S.A. 47:1A-10,
                      Executive Order 9 (Hughes) and Executive Order 11
                      (Byrne). See general objections, above.




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    3.     All documents related to hiring, promotion and reappointment and
    tenue [sic] review documents of all School of Business' tenue-track [sic] faculty
    hired on or after 2013.
    RESPONSE: Responding Defendant objects to this request on the
                      following bases: (1) Overbroad, (2) Confidential
                      Personnel Records, (3) Confidentiality, (4) Ambiguous
                      and (5) Relevance. The materials sought in this
                      request constitute confidential personnel records that
                      are not subject to disclosure pursuant to N.J.S.A.
                      47:1A-10, Executive Order 9 (Hughes) and Executive
                      Order 11 (Byrne). See general objections, above.




    4.    All students' evaluations of teaching for all TCNJ School of Business'
    tenue-track [sic] faculty. This request for production is limited to the period of
    time beginning one year prior to Plaintiff's employment through the present.
    RESPONSE: Responding Defendant objects to this request on the
                       following bases: (1) Overbroad, (2) Confidentiality,
                       (3) Confidential Personnel Records and (4) Relevance.
                       See general objections, above. Subject-to and without
                       waiving the foregoing objections, Responding
                       Defendant refers Plaintiff to the documents produced
                       in response to her first notice to produce (TCNJ 658-
                       72). Responding Defendant reserves the right to
                       supplement or amend this response as discovery
                       continues.




    5.    All documents which constitute, reflect or relate to any comparison
    made between Plaintiff and any individual employed by Defendant TCNJ in
    the period of time beginning 5 years prior to Plaintiff's employment through
    the present who held the same or similar position, title, job duties or job
    description as Plaintiff.
    RESPONSE: Responding Defendant objects to this request on the
                      following bases: (1) Overbroad, (2) Ambiguous,
                      (3) Relevance and (4) Form. See general objections,
                      above. Subject-to and without waiving the foregoing
                      objections, Responding Defendant refers Plaintiff to




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                     the documents produced in response to Plaintiff’s first
                     request for production (TCNJ 314, 319-21, 388-90, 392,
                     401). Responding Defendant reserves the right to
                     supplement or amend this response as discovery
                     continues.




    6.   All documents that were identified or reviewed or relied upon by
    Defendant in responding to Plaintiff's, First Set of Interrogatories to
    Defendant, TCNJ.
    RESPONSE: Responding Defendant objects to this request on the
                   following bases: (1) Form and (2) Ambiguous. See
                   general objections, above. Subject-to and without
                   waiving the foregoing objections, Responding
                   Defendant refers Plaintiff to the documents produced
                   along with Responding Defendant’s Initial Disclosures
                   (TCNJ 1-269) and in response to her first request for
                   production (TCNJ 270-715). Responding Defendant
                   reserves the right to supplement or amend this
                   response as discovery continues.




    7.     All documents related to or reflecting the facts and circumstances of any
    discipline of Plaintiff or concerning any alleged misconduct engaged in by
    Plaintiff during Plaintiff's employment by TCNJ.
    RESPONSE: Responding Defendant objects to this request on the
                      following bases: (1) Form and (2) Ambiguous. See
                      general objections, above. Subject-to and without
                      waiving the foregoing objections, Responding
                      Defendant is not in possession of any documents
                      responsive to this request. By way of further response,
                      Responding Defendant directs Plaintiff to the
                      documents produced in response to her first request
                      for production (TCNJ 270-600), which may contain
                      information responsive to this request. Responding
                      Defendant reserves the right to supplement or amend
                      this response as discovery continues.




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    8.    Any and all reports, letters of commendation, reviews, communication
    between Dr. Choi, Dr. Mayo, Dr. Patrick, Dr. Levin, Dr. Keep, President Foster
    and other similar documents related to Plaintiff's job performance not
    contained in Plaintiff's personnel file.
    RESPONSE: Responding Defendant refers Plaintiff to the
                     documents produced along with Responding
                     Defendant’s Initial Disclosures (TCNJ 1-269) and in
                     response to her first notice to produce (TCNJ 270-475,
                     601-672). Responding Defendant reserves the right to
                     supplement or amend this response as discovery
                     continues.




    9.     Any and all documents reflecting or related to any complaint of
    discrimination or unfair treatment accusing, naming or relating to conduct or
    requiring a response from Dr. Kim, Dr. Choi, Dr. Mayo, Dr. Patrick, Dr. Levin,
    Dr. Keep, other members of faculty or administration of TCNJ's School of
    Business and President Foster.
    RESPONSE: Responding Defendant objects to this request on the
                     following bases: (1) Overbroad, (2) Time Frame,
                     (3) Relevance,     (4) Confidential      EEO       Records,
                     (5) Confidentiality,      (6) Confidential       Personnel
                     Records, (7) Ambiguous and (8) Form. See general
                     objections, above.




    10.    Any and all documents reflecting or relating to any complaint of
    discrimination or unfair treatment accusing, naming or relating to conduct or
    requiring a response from Dr. Wong and Dr. Blake.
    RESPONSE: Responding Defendant objects to this request on the
                     following bases: (1) Overbroad, (2) Time Frame,
                     (3) Relevance,     (4) Confidential      EEO       Records,
                     (5) Confidentiality,      (6) Confidential       Personnel
                     Records, (7) Ambiguous and (8) Form. See general
                     objections, above. Subject-to and without waiving the
                     foregoing objections, Responding Defendant refers
                     Plaintiff to the documents produced in response to her
                     first notice to produce (TCNJ 673-695). Responding




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                     Defendant reserves the right to supplement or amend
                     this response as discovery continues.




    11.    All statements of witnesses or potential witnesses or persons
    interviewed by Defendant TCNJ in connection with this lawsuit.
    RESPONSE: Responding Defendant objects to this request on the
                    following bases: (1) Overbroad, (2) Time Frame,
                    (3) Confidentiality, (4) Ambiguous and (5) Form. See
                    general objections, above. Subject-to and without
                    waiving the foregoing objections, Responding
                    Defendant has not obtained any statement(s) from
                    “witnesses or potential witnesses” in connection with
                    this lawsuit and has no materials responsive to this
                    request. By way of further response, Responding
                    Defendant directs Plaintiff to the documents
                    produced in response to Plaintiff’s first request for
                    admissions (TCNJ 270-475), which may contain
                    information responsive to this request. Responding
                    Defendant reserves the right to supplement or amend
                    this response as discovery continues.




    12.     Any and all documents you intend to introduce into evidence during the
    trial of this lawsuit.
    RESPONSE: Responding Defendant objects to this request on the
                       following bases: (1) Work-Product, (2) Overbroad,
                       (3) Undue Burden and (4) Legal Conclusion. See
                       general objections, above. Subject-to and without
                       waiving the foregoing objections, Responding
                       Defendant documents responsive to this request upon
                       the close of discovery through the Court mandated
                       pre-trial exchange. By way of further response,
                       Responding Defendant refers Plaintiff to the
                       documents produced along with Responding
                       Defendant’s Initial Disclosures (TCNJ 1-269), in
                       response to Plaintiff’s first request for production
                       (TCNJ 270-715), as well as all pleadings, and discovery




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                     exchanged or to be exchanged by and among the
                     parties which may contain documents responsive to
                     this request. Responding Defendant reserves the right
                     to supplement or amend this response as discovery
                     continues.




    13.   Any and all documents reflecting or relating to any communication
    between Dr. Foster, Dr. Wong and Dr. Blake regarding Plaintiff.
    RESPONSE: Responding Defendant objects to this request on the
                    following bases: (1) Overbroad and (2) Ambiguous. See
                    general objections, above. Subject-to and without
                    waiving the foregoing objections, Responding
                    Defendant refers Plaintiff to the documents produced
                    in response to her first request for production (TCNJ
                    270-656). Responding Defendant reserves the right to
                    supplement or amend this response as discovery
                    continues.




    14.    Any and all disciplinary records against any tenue-track [sic] or tenured
    faculty in the TCNJ's School of Business. This request for production is limited
    to the period of time beginning one year prior to Plaintiff's employment
    through the present.
    RESPONSE: Responding Defendant objects to this request on the
                     following bases: (1) Overbroad, (2) Confidential
                     Personnel             Records,           (3) Confidentiality,
                     (4) Confidential EEO Records and (5) Relevance. The
                     materials sought in this request constitute
                     confidential personnel records that are not subject to
                     disclosure pursuant to N.J.S.A. 47:1A-10, Executive
                     Order 9 (Hughes) and Executive Order 11 (Byrne). See
                     general objections, above.




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    15.    All travel requests and other travel-related documents, including but
    not limited to, travel approvals and travel reimbursement requests of all tenue-
    track [sic] or tenured faculty of TCNJ's School of Business. This request for
    production is limited to the period of time beginning one year prior to Plaintiff's
    employment through the present.
    RESPONSE: Responding Defendant objects to this request on the
                       following bases: (1) Relevance, (2) Confidential
                       Personnel Records and (3) Overbroad. See general
                       objections, above. Subject-to and without waiving the
                       foregoing objections, Responding Defendant refers
                       Plaintiff to the documents produced in response to
                       Plaintiff’s first request for production (TCNJ 696-715).
                       Responding Defendant reserves the right to
                       supplement or amend this response as discovery
                       continues.




    16.    Documents related to outside of TCNJ employment, consulting, or other
    teaching and non-teaching activity of Dr. Choi, Dr. Patrick and Dr. Mayo. This
    request for production is limited to the period of time beginning one year prior
    to Plaintiff's employment through the present.
    RESPONSE: Responding Defendant refers Plaintiff to the
                      documents produced in response to Plaintiff’s first
                      request for production (TCNJ 601-17). Responding
                      Defendant reserves the right to supplement or amend
                      this response as discovery continues.




    17.    Any and all copies of memoranda, correspondence, notes, emails,
    electronically stored or generated information, or other documents related to
    your decision to terminate/not-to-renew Plaintiff's contract.
    RESPONSE: Responding Defendant refers Plaintiff to the
                      documents produced along with Responding
                      Defendant’s Initial Disclosures (TCNJ 1-269), and in
                      response to Plaintiff’s first request for production
                      (TCNJ 270-600, 618-56 and 658-72). Responding
                      Defendant reserves the right to supplement or amend
                      this response as discovery continues.




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    18.    All documents that support your contention that Plaintiff was not
    retaliated against.
    RESPONSE: Responding Defendant objects to this request on the
                     following bases: (1) Form and (2) Ambiguous. See
                     general objections, above. Responding Defendant
                     further objects to this request on the ground that it
                     suggests Responding Defendant bears the burden of
                     proving a negative - that is, proving Plaintiff’s
                     allegations false. Subject to and without waiving these
                     objections, Responding Defendant refers Plaintiff to
                     its Answer to Plaintiff’s Complaint, its answers to
                     Plaintiff’s first set of interrogatories, all the
                     documents produced in along with Responding
                     Defendant’s Initial Disclosures (TCNJ 1-269) and in
                     response to these requests for production (TCNJ 270-
                     715), as well as any other discovery exchanged or to be
                     exchanged by and among the parties that may be
                     responsive to this request. Responding Defendant
                     reserves the right to supplement or amend this
                     response as discovery continues.




    19. All documents that support any affirmative defense you have pled.
    RESPONSE: Responding Defendant refers Plaintiff to its Answer to
                  Plaintiff’s Complaint, its answers to Plaintiff’s first set
                  of interrogatories, all the documents produced in
                  along with Responding Defendant’s Initial Disclosures
                  (TCNJ 1-269) and in response to these requests for
                  production (TCNJ 270-715), as well as any other
                  discovery exchanged or to be exchanged by and among
                  the parties that may be responsive to this request.
                  Responding Defendant reserves the right to
                  supplement or amend this response as discovery
                  continues.




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    20.    A copy of any Complaint or Petition and any judgment or settlement
    agreement in any and all lawsuits filed against Defendant TCNJ, College of
    Business, Dr. Keep, Dr. Patrick individually or collectively in which a
    discrimination, retaliation, or a violation of Federal or state employment laws.
    RESPONSE: Responding Defendant objects to this request on the
                      following bases: (1) Absence of Control, (2) Relevance,
                      (3) Public Document, (4) Ambiguous, (5) Form and
                      (6) Time Frame. See general objections, above.
                      Subject-to and without waiving the foregoing
                      objections, Responding Defendant is not in possession
                      of any documents responsive to this request as it
                      pertains to non-parties “Dr. Keep” and “Dr. Patrick.”
                      By way of further response, Responding Defendant
                      refers Plaintiff to the documents produced in response
                      to Plaintiff’s first request for production (TCNJ 673-
                      95). Responding Defendant reserves the right to
                      supplement or amend this response as discovery
                      continues.




    21.   Copies of any and all books, documents or other tangible things which
    may or may not be introduced at trial, but which may have a bearing on this
    lawsuit and may be used as demonstrative evidence at trial.
    RESPONSE: Responding Defendant objects to this request on the
                     following bases: (1) Work-Product and (2) Legal
                     Conclusion. See general objections, above. Subject-to
                     and without waiving the foregoing objections, see
                     Responding Defendant’s response to request no. 12,
                     above. By way of further response, Responding
                     Defendant has yet to determine those disciplines
                     where expert testimony might be required and have
                     yet to retain any expert witnesses. Responding
                     Defendant reserves the right to supplement or amend
                     this response as discovery continues.




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    22.   All disciplinary actions, terminations, counseling, write-ups, demotions,
    human resources investigations or other documents referring to or constituting
    adverse employment actions considered by or taken by Defendant TCNJ
    against any individual who held the same or similar position, title, job
    description or who performed similar duties as Plaintiff and who was employed
    by Defendant in the period of time beginning one year prior to Plaintiff’s
    employment through the present.
    RESPONSE: Responding Defendant objects to this request on the
                      following bases: (1) Overbroad, (2) Ambiguous,
                      (3) Legal Conclusion, (4) Form, (5) Confidential
                      Personnel Records and (6) Confidentiality. The
                      materials sought in this request constitute
                      confidential personnel records that are not subject to
                      disclosure pursuant to N.J.S.A. 47:1A-10, Executive
                      Order 9 (Hughes) and Executive Order 11 (Byrne). See
                      general objections, above.




    23.   All disciplinary- actions, reprimands, terminations, counseling, write-
    ups, demotions, human resources investigations or other similar documents in
    which an employee of TCNJ was alleged or found to have acted in an
    insubordinate manner. This request for production is limited to the period of
    time beginning one year prior to Plaintiff's employment through the present.
    RESPONSE: Responding Defendant objects to this request on the
                      following bases: (1) Overbroad, (2) Ambiguous,
                      (3) Legal Conclusion, (4) Form, (5) Confidential
                      Personnel Records and (6) Confidentiality. The
                      materials sought in this request constitute
                      confidential personnel records that are not subject to
                      disclosure pursuant to N.J.S.A. 47:1A-10, Executive
                      Order 9 (Hughes) and Executive Order 11 (Byrne). See
                      general objections, above.




    24. Omitted.
    RESPONSE: N/A




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    25. Omitted.
    RESPONSE: N/A




    26. Omitted.
    RESPONSE: N/A




    27.   Documents related to communication between Dr. Forster, Dr. Wong,
    Dr. Blake and the members of Promotion and Reappointment Committee with
    Ms. Tillet.
    RESPONSE: Responding Defendant objects to this request on the
                     following bases: (1) Ambiguous, (2) Relevance and
                     (3) Form. See general objections, above. Subject-to and
                     without waiving the foregoing objections, Responding
                     Defendant refers Plaintiff to the documents produced
                     along with Responding Defendant’s Initial Disclosures
                     (TCNJ 237-52) and in response to Plaintiff’s first
                     request for production (TCNJ 270-475). Responding
                     Defendant reserves the right to supplement or amend
                     this response as discovery continues.




    28.    Any brochures, pamphlets, codes of conduct, instructions, training
    information, policies, or procedures created or distributed by Defendant to its
    employees, officers, directors, agents, servants, representatives, persons, or
    entities in the last five years regarding Defendant's policies on harassment or
    retaliation, or the treatment of employees in the workplace.
    RESPONSE: Responding Defendant objects to this request on the
                       following bases: (1) Overbroad, (2) Ambiguous,
                       (3) Undue Burden and (4) Form. See general
                       objections, above. Subject-to and without waiving the
                       foregoing objections, Responding Defendant refers
                       Plaintiff to the documents produced along with
                       Responding Defendant’s Initial Disclosures (TCNJ 31-
                       43). Responding Defendant reserves the right to




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                     supplement or amend this response as discovery
                     continues.




    29.    Documents related to all required services performed by Dr. Choi, Dr.
    Kim and other tenue-track [sic] faculty in the TCNJ's School of Business. This
    request for production is limited to the period of time beginning one year prior
    to Plaintiff's employment through the present.
    RESPONSE: Responding Defendant objects to this request on the
                      following      bases:      (1)     Ambiguous,      (2) Form,
                      (3) Relevance, (4) Overbroad and (5) Undue Burden.
                      See general objections, above. Subject-to and without
                      waiving the foregoing objections, Responding
                      Defendant is unable to identify documents which may
                      be responsive to this request as written. Responding
                      Defendant reserves the right to supplement or amend
                      this response as discovery continues.




    30.   All notes, memoranda, statements and/or affidavits taken by any person
    who investigated any complaint filed by Plaintiff against Defendant TCNJ.
    RESPONSE: Responding Defendant objects to this request on the
                     following bases: (1) Ambiguous and (2) Form. See
                     general objections, above. Subject-to and without
                     waiving the foregoing objections, Responding
                     Defendant refers Plaintiff to the documents produced
                     along with Responding Defendant’s Initial Disclosures
                     (TCNJ 1-269) and in response to Plaintiff’s first request
                     for production (TCNJ 270-475). Responding Defendant
                     reserves the right to supplement or amend this
                     response as discovery continues.




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    31.   All documents reviewed or considered by Defendant TCNJ in connection
    with an investigation conducted by Defendant TCNJ related to Plaintiff's
    employment.
    RESPONSE: Responding Defendant objects to this request on the
                    following bases: (1) Ambiguous and (2) Form. See
                    general objections, above. Subject-to and without
                    waiving the foregoing objections, Responding
                    Defendant refers Plaintiff to the documents produced
                    along with Responding Defendant’s Initial Disclosures
                    (TCNJ 1-269) and in response to Plaintiff’s first request
                    for production (TCNJ 270-715). Responding Defendant
                    reserves the right to supplement or amend this
                    response as discovery continues.




    32.   Any documents related to communication between Dr. Choi, Dr. Patrick,
    Dr. Levin and Dr. Keep from the time that Dr. Choi was nominated for the
    Department Chair position.
    RESPONSE: Responding Defendant objects to this request on the
                   following bases: (1) Ambiguous, (2) Overbroad,
                   (3) Form, (4) Undue Burden and (5) Relevance. See
                   general objections, above. Subject-to and without
                   waiving the foregoing objections, Responding
                   Defendant refers Plaintiff to the documents produced
                   in response to Plaintiff’s first request for production
                   (TCNJ 270-715), which may contain information
                   responsive to this request. Responding Defendant
                   reserves the right to supplement or amend this
                   response as discovery continues.




    33.   All documents related to complaints of discrimination, retaliation or
    unfair treatment, where President foster was directly or indirectly involved,
    including for periods outside of her present employment with Defendant TCNJ.
    RESPONSE: Responding Defendant objects to this request on the
                      following bases: (1) Ambiguous, (2) Overbroad,
                      (3) Form, (4) Undue Burden, (5) Relevance, (6) Time
                      Frame, (7) Confidential EEO Records, (8) Confidential




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                    Personnel Records and (9) Confidentiality. This
                    request is vague and fails to define the inherently
                    ambiguous phrase “directly or indirectly involved.”
                    See general objections, above. Subject-to and without
                    waiving the foregoing objections, Responding
                    Defendant refers Plaintiff to the documents produced
                    in response to Plaintiff’s first request for production
                    (TCNJ 270-715), which may contain information
                    responsive to this request. Responding Defendant
                    reserves the right to supplement or amend this
                    response as discovery continues.




    34.  Documents showing starting salaries, salary increases, raises or
    promotions for all employees in Defendant TCNJ's School of Business from
    January 1, 2014 to the present.
    RESPONSE: Responding Defendant objects to this request on the
                     following bases: (1) Overbroad, (2) Relevance,
                     (3) Confidential          Personnel           Records,
                     (4) Confidentiality and (5) Undue Burden. See general
                     objections, above. Subject-to and without waiving the
                     foregoing objections, to be supplied. Responding
                     Defendant reserves the right to supplement or amend
                     this response as discovery continues.

    SUPP.           Responding Defendant objects to this request on the
    RESPONSE        following bases: (1) Overbroad, (2) Relevance,
    (12.09.20):     (3) Confidential          Personnel         Records,
                    (4) Confidentiality and (5) Undue Burden. See general
                    objections, above. Subject-to and without waiving the
                    foregoing objections, Responding Defendant refers
                    Plaintiff to the document produced herewith (TCNJ
                    716), setting forth TCNJ School of Business faculty
                    members’ salary adjustments to since January 1, 2014.




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                                  CERTIFICATION

    The undersigned hereby certifies that they have reviewed the Request for
    Production and has made or caused a good faith search for documents
    responsive to the foregoing requests to have been made; and that as of this
    date, to the best of their knowledge and information, the production is complete
    and accurate based on information provided by others.

    The undersigned acknowledges their continuing obligation to make a good
    faith effort to identify additional documents that are responsive to the
    foregoing requests and to promptly serve a supplemental written response and
    production of such documents, as appropriate, as they become aware of them.

    The undersigned hereby certifies that the foregoing statements made by them
    are true. The undersigned is aware that if any of the foregoing statements
    made by them are willfully false, they may be subject to punishment.




                                                      Michael J Canavan
                                                  MICHAEL J. CANAVAN
                                                TCNJ Deputy General Counsel
    Dated:          12/08/2020
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                        EXHIBIT B
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                       UNITED STATES DISTRICT COURT
                                      FOR THE
                            DISTRICT OF NEW JERSEY

    DOE,                                  )   CIVIL ACTION – LAW
                                          )
                    Plaintiff,            )   CASE NO. 3:19-cv-20674
                                          )
           v.                                       TCNJ’s Answers to
                                          )
                                                   Plaintiff’s First Set of
    THE COLLEGE OF NEW                    )
                                                      Interrogatories
    JERSEY,                               )
                                          )
                    Defendant.            )
                                          )

    TO:    Sergey Joseph Litvak, Esq.
           Litvak Legal Group, PPLC
           3070 Bristol Pike – Ste. 204
           Bensalem, PA 19020
           Attorney for Plaintiff

    COUNSEL:

    PLEASE TAKE NOTICE that the undersigned attorney for defendant, The
    College of New Jersey (“TCNJ” or “Responding Defendant”), hereby provides
    the following certified answers to the first set of interrogatories propounded
    upon it by plaintiff, “Jane Doe.”
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                              GURBIR S. GREWAL
                              Attorney General of New Jersey


                              By: /s/ Raajen V. Bhaskar
                                  Raajen V. Bhaskar
                                  Deputy Attorney General

    Dated:     December 8, 2020




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                              GENERAL OBJECTIONS

    1.    Responding Defendant objects to each interrogatory that is unduly
    burdensome in that it requires Defendant to provided information which is
    beyond the scope of the personal knowledge of the individual(s) answering
    these requests and within the scope of personal knowledge of person(s)
    unknown to the individual(s) answering these interrogatories or person(s) over
    whom this Defendant has no control. This objection shall be referred to
    hereafter as the “absence of control” objection.

    2.     Responding Defendant objects to each interrogatory that would impose
    an excessive or undue burden or that is made with the intent to harass. This
    objection shall be referred to hereafter as the “undue burden” objection.

    3.     Responding Defendant objects to each interrogatory that is vague,
    ambiguous, over broad, includes compound or multiple questions or otherwise
    lacks sufficient definition to permit the individual responding to these requests
    to formulate a meaningful response. This objection shall be referred to
    hereafter as the “ambiguous” objection.

    4.     Responding Defendant objects to each interrogatory that seeks
    information prepared or developed in anticipation of litigation or subsequent
    to the filing of this lawsuit by or through the direction of legal counsel on the
    grounds that such material is protected from disclosure as attorney work-
    product. This objection shall be referred to hereafter as the “work-product”
    objection.

    5.    Responding Defendant objects to each interrogatory that seeks
    information which is irrelevant to the issues in this matter and is not
    reasonably calculated to lead to the discovery of relevant admissible evidence.
    This objection shall be referred to hereafter as the “relevance” objection.

    6.     Responding Defendant objects to each interrogatory that seeks
    information that is protected from disclosure by the attorney-client
    communication privilege. This objection shall be referred to hereafter as the
    “privilege” objection.

    7.     Responding Defendant objects to each interrogatory that seeks
    disclosure of information which is confidential or proprietary. This objection
    shall be referred to hereafter as the “confidentiality” objection.




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    8.     Responding Defendant objects to each interrogatory that is repetitive in
    nature, excessive, and harassing. This objection shall be referred to hereafter
    as the “repetitive” objection.

    9.     Responding Defendant objects to each interrogatory that lacks sufficient
    foundation to be understood, uses terms that have not been defined, assumes
    facts not of record, uses terminology known only to plaintiff or is otherwise
    unintelligible in form. This objection shall be referred to hereafter as the “form”
    objection.

    10.    Responding Defendant objects to each interrogatory that requires him
    to identify “any and/or all” witnesses or documents or similar requirements.
    This objection shall be referred to hereafter as the “overbroad” objection.

    11.    Responding Defendant objects to each interrogatory that seeks
    information regarding events occurring outside the time period relevant to
    plaintiff’s claims in this action or the statute of limitations governing such
    claims. This objection shall be referred to hereafter as the “time frame”
    objection.

    12.    Responding Defendant objects to each interrogatory that requires him
    to make a legal conclusion that he is not qualified to make. This objection shall
    be referred to hereafter as the “legal conclusion” objection.

    13.    Responding Defendant objects to interrogatory that seeks information
    that is protected from disclosure by the executive privilege. This objection shall
    be referred to hereafter as the “executive” objection.

    14.    Responding Defendant objects to each interrogatory that requires him
    to produce public documents without plaintiff first exhausting administrative
    remedies to obtain same. This objection shall be referred to hereafter as the
    “public document” objection.

    15.    Responding Defendant objects to each interrogatory that seeks advisory,
    consultative, or deliberative communications that are part of the decision-
    making process of a governmental agency, including documents protected
    under the provisions of New Jersey Court Rule 1:38-3(e). This objection shall
    be referred to hereafter as the “deliberative process” objection.




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    16.    Responding Defendant objects to each interrogatory that seeks
    information contained in personnel records that are confidential under
    N.J.A.C. 4A:1-2.2(a), Executive Orders 9 (Governor Hughes), 11 (Governor
    Byrne) and 26 (Governor McGreevey) regarding the disclosure of personnel
    records    by    government      agencies     (Orders     are     available    at
    http://www.state.nj.us/infobank/circular/eoindex.htm), or under the provisions
    of New Jersey Court Rule 1:38-5(e). This objection shall be referred to hereafter
    as the “confidential personnel records” objection.

    17.    Responding Defendant objects to each request that seeks interrogatory
    that seeks information from the records of a State Equal Employment
    Opportunity Office (“EEO office” or “EEO/AA office”) insofar as EEO
    complaints and files are confidential pursuant to N.J.A.C. 4A:7-3.1, which
    requires protection of the “privacy interests of those involved” in an EEO
    investigation, including without restriction any witness, and requires that
    “confidentiality . . . be maintained throughout the investigatory process,” and
    Defendant cannot produce any such documents without a Consent Protective
    Order in place and/or cannot produce any such documents without a court
    order compelling production. This objection shall be referred to hereafter as
    the “confidential EEO records” objection.

    18.    Responding Defendant objects to each interrogatory that seeks
    disclosure of information regarding an individual’s medical condition,
    psychological condition, or disability and/or client/patient services that are
    confidential pursuant to state and/or federal law, including, but not limited to,
    N.J.S.A. 2A:84A-22.2 (physician-patient privilege); N.J.S.A. 45:14B-28
    (psychologist-patient privilege); N.J.S.A. 2A:84A-22.13 (victim-counselor
    privilege); N.J.S.A. 26:5C-7 (confidentiality of AIDS/HIV infection records);
    N.J.S.A. 30:4-24.3 (confidentiality of person receiving services in non-
    correctional institutions of the State); N.J.S.A. 30:4-3.19 (confidentiality of
    person reporting patient abuse at State institution); the Federal Health
    Insurance Portability and Accountability Act of 1996 (HIPAA) 45 C.F.R. 160
    and 164 (confidentiality of medical records generally); 42 C.F.R. 2.13
    (confidentiality of alcohol and drug abuse patient records); 34 C.F.R. 361.38
    (confidentiality of vocational rehabilitation information); and the Americans
    with Disabilities Act 42 U.S.C. § 12112(d)(3)(B) (confidentiality of medical
    information related to disability and employment). This objection shall be
    referred to hereafter as the “confidential medical records” objection.




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    19.    Responding Defendant objects to each interrogatory that seeks
    information that is shielded from disclosure by the official information or
    governmental privilege, including, but not limited to, records of confidential
    investigations by the government of the State through its authorized agents.
    This objection shall be known as the “official information” objection.

    20.    Responding Defendant objects to each interrogatory that seeks
    Electronically Stored Information (“ESI”) that is not reasonably accessible
    because of undue burden or cost. This objection shall be known as the “ESI”
    objection.




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    TCNJ’S ANSWERS TO PLAINTIFF’S FIRST SET OF INTERROGATORIES

    1.     Identify, without referencing pleadings, the person or persons
    answering these Interrogatories or who contributed information used in
    answering these Interrogatories. If more than one person provided the answers
    or contributed such information, identify the specific Interrogatories answered
    by each person and the information provided.
    ANSWER: Responding Defendant objects to this interrogatory on
                   the following bases: (1) Relevance, (2) Confidentiality and
                   (3) Overbroad. See general objections, above. Subject-to
                   and without waiving the foregoing objections, see the
                   Certification annexed to Defendant’s Answers to
                   Plaintiff’s First Set of Interrogatories, which speaks for
                   itself.



    2.     Identify, without referencing pleadings, each and every allegation in
    Plaintiffs Original Petition and Jury Demand filed in this lawsuit which you
    assert is false or inaccurate and specifically describe in detail all facts, proof,
    or evidence that you claim prove these allegations to be false or inaccurate, and
    identify the true or accurate facts which demonstrate or prove the falsity or
    inaccuracy of such allegations.
    ANSWER: Responding Defendant objects to this interrogatory on
                   the following bases: (1) Relevance, (2) Form,
                   (3) Ambiguous, (4) Undue Burden and (5) Public
                   Document. See general objections, above. Subject-to and
                   without waiving the foregoing objections, Responding
                   Defendant is unable to “[i]dentify . . . each and every
                   allegation in Plaintiff’s [Complaint] which [Responding
                   Defendant asserts] is false or inaccurate,” without also
                   referencing the pleadings, and is therefore unable to
                   formulate a response to this interrogatory, as stated. By
                   way of further answer, Responding Defendant refers
                   Plaintiff to its Answer to Plaintiff’s Complaint.
                   Responding Defendant reserves the right to supplement
                   or amend this answer as discovery continues.




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    3.    If you have ever talked to the Plaintiff or Plaintiff's co-workers, former
    co-workers, agents, servants, employees, friends, partners, or anyone who has
    or who may have knowledge of Plaintiff regarding Plaintiff’s claims in this
    lawsuit or have any knowledge, either directly or indirectly, of any statement
    or admission of any kind made by Plaintiff or anyone acting on Plaintiffs behalf
    regarding Plaintiff’s claims or any other fact that might be relevant to this
    lawsuit, describe in detail such statement and/or admission and identify who
    made the statement or admission, to whom it was made, and the date it was
    made.
    ANSWER: Responding Defendant objects to this interrogatory on
                  the following bases: (1) Work-Product, (2) Privilege,
                  (3) Confidentiality, (4) Ambiguous, (5) Form, and
                  (6) Overbroad. See general objections, above. Subject-to
                  and without waiving the foregoing objections,
                  Responding Defendant refers Plaintiff to the documents
                  authored by her and produced along with Responding
                  Defendant’s Initial Disclosures (TCNJ 1-269), in response
                  to her first request for production (TCNJ 270-715), and
                  those to be produced or exchanged by and among the
                  parties as discovery continues. Responding Defendant
                  reserves the right to supplement or amend this answer as
                  discovery continues.



    4.    Describe in details, without referencing pleadings, all facts, proof, or
    evidence which, in whole or in part, form the basis of any defense or affirmative
    defenses pled in this lawsuit.
    ANSWER: Responding Defendant objects to this interrogatory on
                  the following bases: (1) Work-Product, (2) Overbroad,
                  (3) Legal Conclusion, (4) Undue Burden and (5) Form. See
                  general objections, above. Subject-to and without
                  waiving the foregoing objections, Plaintiff filed a Charge
                  of Discrimination with the EEOC on or about April 16,
                  2019. Any acts of discrimination that are alleged to have
                  occurred prior to June 20, 2018 (300 days prior to filing)
                  are time-barred and may not be considered for purposes
                  of Title VII. See 42 U.S.C. § 2000e-5(e)(1). Likewise, as
                  Plaintiff’s complaint was filed on November 25, 2019, any
                  acts of alleged discrimination occurring prior to
                  November 25, 2017 (two years prior to filing) are time-




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                  barred and may not be considered for purposes of the
                  New Jersey Law Against Discrimination. Responding
                  Defendant reserves the right to supplement or amend
                  this answer as discovery continues.



    5.    Identify each individual who participated in any manner in the decision
    to terminate Plaintiff including each individual Defendant consulted with
    and/or who provided information related to the decision to terminate Plaintiff
    and describe in details the role of that person in the decision to terminate
    Plaintiff and/or the information provided by each individual.
    ANSWER: Responding Defendant objects to this interrogatory on
                   the    following     bases:    (1)   Overbroad,     (2) Form,
                   (3) Ambiguous and (4) Undue Burden. See general
                   objections, above. Subject-to and without waiving the
                   foregoing objections, Responding Defendant did not
                   decide “to terminate Plaintiff.” Rather, following
                   Plaintiff’s third year of employment, she was not
                   reappointed for a fifth year. Plaintiff remained employed
                   for a full academic year following the non-reappointment
                   decision. The non-reappointment decision was made
                   consistent with TCNJ’s Reappointment and Promotion
                   Policy (TCNJ 44-116). The individuals involved in that
                   decision in this case include:

                  Members of Finance Department                Promotion     and
                  Reappointment Committee (“PRC”)
                       Thomas Patrick, PhD;
                       Herbert Mayo, PhD; and
                       Susan Hume, PhD.

                  Dean of School of Humanities and Social Sciences
                       Jane Wong, PhD (serving in place of recused
                       Interim Dean of the School of Business, Bozena
                       Leven, PhD).

                  Interim Vice Provost
                        David Blake, PhD (serving in place of recused
                        Interim Provost, William Keep, PhD).




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                  TCNJ President
                      Kathryn A. Foster, PhD.

                  The roles of each of the above-named individuals with
                  regard to Plaintiff reappointment application are set
                  forth in TCNJ’s Reappointment and Promotion Policy.
                  Pursuant to the policy, the PRC, the Dean, and the
                  Provost offer recommendations with respect to a
                  candidate’s/applicant’s    reappointment    or     non-
                  reappointment. The final decision regarding a
                  candidate’s/applicant’s reappointment is made by the
                  President. Those recommendations and decision, and the
                  reasons therefore, are set forth in the documents
                  prepared by those involved in the reappointment
                  process. Responding Defendant reserves the right to
                  supplement or amend this answer as discovery continues.



    6.    Identify any alleged grounds to impeach Plaintiff, including any
    evidence of prior bad acts, whether they be criminal or otherwise, identify the
    grounds for impeachment, any witness or other person with knowledge of
    relevant facts, and the date of the actions that form the basis for impeachment,
    and all evidence that supports your alleged grounds for impeachment.
    ANSWER: Responding Defendant objects to this interrogatory on
                   the     following       bases:      (1)   Legal       Conclusion,
                   (2) Work-Product, (3) Form and (4) Ambiguous. This
                   interrogatory is premature in that Plaintiff’s credibility,
                   and potential grounds for impeachment, do not become
                   issues until she testifies. See general objections, above.
                   Subject-to and without waiving the foregoing objections,
                   Responding Defendant is unaware of any “prior bad acts”
                   regarding Plaintiff “criminal or otherwise.” Responding
                   Defendant reserves the right to supplement or amend
                   this answer as discovery continues.




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    7.     Identify and describe in detail FMLA, teaching reductions, remote
    classes teaching, changed schedule and other accommodations afforded by
    Defendant TCNJ to tenue-track [sic] faculty during Dr. Keep's employment at
    TCNJ.
    ANSWER: Responding Defendant objects to this interrogatory on
                   the following bases: (1) Ambiguous, (2) Overbroad,
                   (3) Form,     (4) Confidential      Personnel      Records,
                   (5) Confidential Medical Records, (6) Confidentiality and
                   (7) Time Frame. See general objections, above. Subject-to
                   and without waiving the foregoing objections, with
                   regard to tenure-track faculty within TCNJ’s School of
                   Business during Dr. Keep’s employment as Dean of the
                   School of Business, two such members have been
                   permitted to teach classes in an online format for a single
                   semester when those faculty members were out of the
                   country for the full semester. By way of further answer,
                   Responding Defendant directs Plaintiff to the documents
                   produced in response to Plaintiff’s first request for
                   production (TCNJ 270-475), which may contain
                   additional information responsive to this interrogatory.
                   Responding Defendant reserves the right to supplement
                   or amend this answer as discovery continues.



    8.     Identify and describe in details any internal complaints or allegations
    made to or filed with Defendant by any current or former employee or student
    of Defendant during Dr. Keep's employment at TCNJ, alleging that Defendant
    engaged in discriminatory, retaliatory, or illegal conduct.
    ANSWER: Responding Defendant objects to this interrogatory on
                   the following bases: (1) Ambiguous, (2) Overbroad,
                   (3) Form,      (4) Confidential        Personnel      Records,
                   (5) Confidential     EEO       Records,      (6) Time  Frame,
                   (7) Relevance and (8) Confidentiality. See general
                   objections, above. Subject-to and without waiving the
                   foregoing objections, only Plaintiff and Dr. Linghui
                   (Lynn) Tang (EEO 2011) have filed “internal complaints
                   or allegations” against Dr. Keep during his employment
                   with Responding Defendant. Responding Defendant
                   reserves the right to supplement or amend this answer as
                   discovery continues.




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    9.     Identify and describe in details any external complaints or allegations
    made to or filed with Defendant by any current or former employee or student
    of Defendant during Dr. Keep's employment at TCNJ, alleging that Defendant
    engaged in discriminatory, retaliatory, or illegal conduct.
    ANSWER: Responding Defendant objects to this interrogatory on
                   the following bases: (1) Ambiguous, (2) Overbroad,
                   (3) Form,      (4) Confidential        Personnel       Records,
                   (5) Confidential     EEO       Records,      (6) Time    Frame,
                   (7) Relevance,      (8) Confidentiality        and    (9) Public
                   Document. See general objections, above. Subject-to and
                   without waiving the foregoing objections, only Plaintiff
                   and Dr. Linghui (Lynn) Tang (DCR 2012) have filed
                   “external complaints or allegations” related to Dr. Keep
                   during his employment with Responding Defendant.
                   Responding Defendant reserves the right to supplement
                   or amend this answer as discovery continues.



    10.   Identify each and every individual employed by TCNJ in the period of
    time beginning one year prior to Plaintiffs employment through the present
    date who held or holds the same or similar position, title, job duties or job
    description as Plaintiff in TCNJ's School of Business.
    ANSWER: Responding Defendant objects to this interrogatory on
                  the following bases: (1) Overbroad, (2) Relevance,
                  (3) Confidential Personnel Records, (4) Ambiguous,
                  (5) Form and (6) Undue Burden. See general objections,
                  above. Subject-to and without waiving the foregoing
                  objections, the following individuals have been employed
                  by Responding Defendant as Assistant Professors in its
                  School of Business during the time period indicated in
                  this interrogatory:
                        Abhishek Tripahti;
                        Alberto Carbonilla;
                        Anifere (Eddie) Inyang;
                        Brenda Ghitulescu;
                        Jean Brechman;
                        Jingyi Duan;
                        Jinsil Kim;
                        Joyce Vincelette;




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                        Lynn Braender;
                        Maria Santos Domingo;
                        Martine Bertin-Peterson;
                        Matthew Greenblatt;
                        Nonna Sorokina;
                        Peggy Ann Hughes;
                        Richard Baker;
                        Tae-Nyun Kim;
                        Ting Sun;
                        Trevor O'Grady; and
                        Xu (Henry) Han.
                 Responding Defendant reserves the right to supplement
                 or amend this answer as discovery continues.



    11.    Describe in details any investigations conducted by Defendant TCNJ
    related to the performance or conduct of any individual employed by Defendant
    TCNJ during the period of time beginning one year prior to Plaintiff's
    employment through the present who held or holds the same or similar
    position, title, job duties or job description as Plaintiff.
    ANSWER: Responding Defendant objects to this interrogatory on
                    the following bases: (1) Confidential EEO Records,
                    (2) Executive,      (3) Confidential Personnel      Records,
                    (4) Confidentiality, (5) Overbroad, (6) Undue Burden and
                    (7) Relevance. This interrogatory is overbroad in scope
                    and vague in that the term “investigation” is undefined.
                    See general objections, above. Responding Defendant
                    reserves the right to supplement or amend this answer as
                    discovery continues.




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    12.   Describe in details any disciplinary actions, terminations, reprimands,
    counseling, write-ups, demotions, or other adverse employment actions taken
    by TCNJ against any individual employed by Defendant TCNJ who held or
    holds the same or similar position, title or job description as Plaintiff during
    Dr. Keep's employment at TCNJ.
    ANSWER: Responding Defendant objects to this interrogatory on
                 the following bases: (1) Legal Conclusion, (2) Time Frame,
                 (3) Relevance, (4) Ambiguous, (5) Form, (6) Overbroad,
                 (7) Confidential           Personnel          Records          and
                 (8) Confidentiality. The information sought in this
                 interrogatory constitute confidential personnel records
                 that are not subject to disclosure pursuant to N.J.S.A.
                 47:1A-10, Executive Order 9 (Hughes) and Executive
                 Order 11 (Byrne). See general objections, above.



    13.    Identify any individual(s) employed by Defendant TCNJ against whom
    an allegation, accusation or finding was made that such employee engaged in
    misconduct of any kind and describe in details any disciplinary actions,
    terminations, counseling, write-ups, demotions, or other adverse employment
    actions that were taken by Defendant TCNJ against such individual(s) during
    Dr. Keep's employment at TCNJ.
    ANSWER: Responding Defendant objects to this interrogatory on
                   the following bases: (1) Legal Conclusion, (2) Time Frame,
                   (3) Relevance, (4) Ambiguous, (5) Form, (6) Overbroad,
                   (7) Confidential Personnel Records, (8) Confidential EEO
                   Records and (9) Confidentiality. The information sought
                   in this interrogatory constitute confidential personnel
                   records that are not subject to disclosure pursuant to
                   N.J.S.A. 47:1A-10, Executive Order 9 (Hughes) and
                   Executive Order 11 (Byrne). See general objections,
                   above.




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    14.    Identify any individual(s) employed by Defendant TCNJ who have been
    investigated, written up, disciplined, reprimanded or otherwise accused of or
    cited for insubordination or acts that could be considered insubordination and
    describe in detail the allegations against the employee and any disciplinary
    actions taken by Defendant.
    ANSWER: Responding Defendant objects to this interrogatory on
                   the following bases: (1) Legal Conclusion, (2) Time Frame,
                   (3) Relevance, (4) Ambiguous, (5) Form, (6) Overbroad,
                   (7) Confidential         Personnel          Records        and
                   (8) Confidentiality. This interrogatory is overbroad in
                   scope and vague in that the term “investigation” and
                   phrase “acts that could be considered insubordination”
                   are undefined. Moreover, the information sought in this
                   interrogatory constitute confidential personnel records
                   that are not subject to disclosure pursuant to N.J.S.A.
                   47:1A-10, Executive Order 9 (Hughes) and Executive
                   Order 11 (Byrne). See general objections, above.



    15.   Identify and provide details regarding any individual(s) employed by
    Defendant TCNJ who have been formally or informally teaching Student Fund
    Class at TCNJ, School of Business during Dr. Keep's employment at TCNJ.
    ANSWER: Responding Defendant objects to this interrogatory on
                  the following bases: (1) Ambiguous and (2) Form. See
                  general objections, above. Subject-to and without
                  waiving the foregoing objections, the Student Investment
                  Fund class is a 0.5 unit independent study course in
                  which students make investment decisions for the fund
                  and a faculty member serves to facilitate the decisions
                  made. The class was created and funded by Dr. Mayo, who
                  has and continues to serve as the primary facilitator for
                  this class. Plaintiff was co-listed in PAWS and observed
                  class operations during the 2017 and 2018 fall semesters.
                  Department Chair Choi has observed the class, though
                  not on a weekly basis and, as such, was not formally listed
                  in PAWS. Responding Defendant reserves the right to
                  supplement or amend this answer as discovery continues.




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    16.    Identify and provide detailed summary of any discussions of any
    individual(s) employed by Defendant TCNJ, its agents, servants, friends,
    partners, or anyone who has or who may have knowledge of Plaintiff regarding
    Plaintiff’s claims in this lawsuit or have any knowledge, either directly or
    indirectly, of any statement or admission of any kind made by Plaintiff or
    anyone acting on Plaintiff’s behalf regarding Plaintiff’s claims or any other fact
    that might be relevant to this lawsuit who have contacted or held discussions
    with any members of Press regarding Plaintiff.
    ANSWER: Responding Defendant objects to this interrogatory on
                    the   following      bases:   (1)    Form,       (2) Overbroad,
                    (3) Ambiguous, (4) Relevance, (5) Repetitive, (6) Absence
                    of Control, and (7) Undue Burden. This interrogatory is
                    overly broad, unduly burdensome and unintelligible as
                    drafted. See general objections, above. Subject-to and
                    without waiving the foregoing objections, Responding
                    Defendant in unaware of any individual employees who
                    has “contacted or held discussions with any members of
                    Press regarding Plaintiff.” By way of further response,
                    when asked to comment on an article run by the
                    Trentonian, Responding Defendant’s Media Relations
                    Department provided a “no comment” response via email.
                    Responding Defendant reserves the right to supplement
                    or amend this answer as discovery continues.




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    17.    Identify and provide detailed summary of the reason Dr. Hume's letter
    and disagreement with PRC recommendation was not reviewed, considered,
    investigated, implemented, and acted upon by Dr. Wong, Dr. Blake and Dr.
    Foster.
    ANSWER: Responding Defendant objects to this interrogatory on
                   the following bases: (1) Form and (2) Ambiguous. See
                   general objections, above. Subject-to and without
                   waiving the foregoing objections, all PRC-related
                   materials are uploaded to and compiled on Vibe,
                   Responding         Defendant’s     electronic     document
                   management system. In this case, Dr. Hume submitted
                   her letter to Dr. Leven, the Interim Dean of the School of
                   Business, via email. Dr. Hume’s letter was never provided
                   to Dean Wong. Dr. Blake requested and received a copy
                   of the letter from Dr. Hume. The letter was also reviewed
                   and considered by Dr. Blake and President Foster. By
                   way of further answer, Responding Defendant directs
                   Plaintiff to the documents produced in response to
                   Plaintiff’s first request for production (TCNJ 270-475, 641-
                   56). Responding Defendant reserves the right to
                   supplement or amend this answer as discovery continues.



    18.  Describe in details any instance of communication between Dr. Foster
    and Dr. Blake that was related to Doe, Promotion and Reappointment
    Committee and Doe's reappointment application.
    ANSWER: Responding Defendant objects to this interrogatory on
                the following bases: (1) Ambiguous, (2) Overbroad and
                (3) Undue Burden. See general objections, above. Subject-
                to and without waiving the foregoing objections,
                Responding        Defendant      is   unaware      of    any
                communications between President Foster and Dr. Blake
                regarding the merits of Plaintiff’s application for
                reappointment. President Foster simply requested Dr.
                Blake assume the Provost’s role upon Interim Provost
                Keep’s recusal from Plaintiff’s reappointment process
                (TCNJ 618-19). Dr. Blake also forwarded his completed
                recommendation to President Foster after he received
                Plaintiff’s response to the recommendation. By way of
                further answer, Responding Defendant directs Plaintiff




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                  to the documents produced in response to Plaintiff’s first
                  request for production (TCNJ 641-56). Responding
                  Defendant reserves the right to supplement or amend
                  this answer as discovery continues.



    19.   Identify and describe in details any instance of tenue-track [sic] faculty
    teaching 5 courses or more per given semester.
    ANSWER: Responding Defendant objects to this interrogatory on
                  the following bases: (1) Ambiguous, (2) Form, (3) Undue
                  Burden and (4) Time Frame. See general objections,
                  above. Subject-to and without waiving the foregoing
                  objections, Responding Defendant cannot formulate an
                  answer to this interrogatory as written since faculty
                  loads are measured by “faculty weighted hours” per
                  academic year, not by the number of courses taught per
                  semester. Thus, without regard to the number of courses
                  taught in a given semester, full-time faculty members are
                  expected to maintain a teaching load equal to 18 faculty
                  weighted hours per academic year in addition to
                  providing 6 faculty weighted hours for advising,
                  mentoring, course enhancement and scholarship.
                  Responding Defendant reserves the right to supplement
                  or amend this answer as discovery continues.




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    20.   Describe in details every instance of communications that Dr. Choi had
    with Dr. Leven and/or with Dr. Keep regarding Plaintiff during Dr. Keep's
    employment at TCNJ.
    ANSWER: Responding Defendant objects to this interrogatory on
                 the following bases: (1) Overbroad, (2) Undue Burden,
                 (3) Relevance, and (4) Time Frame. See general
                 objections, above. Subject-to and without waiving the
                 foregoing objections, Responding Defendant refers
                 Plaintiff to the documents produced along with
                 Responding Defendant’s Initial Disclosures (TCNJ 1-269)
                 and in response to Plaintiff’s first request for production
                 (TCNJ 270-715), which may contain information
                 responsive to this interrogatory. Responding Defendant
                 reserves the right to supplement or amend this answer as
                 discovery continues.



    21.  Describe in details any instance of communication between Dr. Foster
    and Dr. Wong that was related to Doe, Promotion and Reappointment
    Committee and Doe's reappointment application.
    ANSWER: Responding Defendant objects to this interrogatory on
                the following bases: (1) Overbroad, (2) Undue Burden and
                (3) Ambiguous. See general objections, above. Subject-to
                and without waiving the foregoing objections,
                Responding        Defendant      is   unaware      of    any
                communications between President Foster and Dean
                Wong regarding the merits of Plaintiff’s reappointment
                application. President Foster simply requested Dean
                Wong serve the Dean’s role in Plaintiff’s reappointment
                process after Interim Dean Leven’s recusal therefrom
                (TCNJ 620). Responding Defendant reserves the right to
                supplement or amend this answer as discovery continues.




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    22.  Describe in details any instance of communication between Dr. Wong
    and Dr. Blake that was related to Doe, Promotion and Reappointment
    Committee and Doe's reappointment application.
    ANSWER: Responding Defendant objects to this interrogatory on
                the following bases: (1) Overbroad, (2) Undue Burden and
                (3) Ambiguous. See general objections, above. Subject-to
                and without waiving the foregoing objections,
                Responding        Defendant     is    unaware     of    any
                communications between Dean Wong and Interim Vice
                Provost Blake regarding the merits of Plaintiff’s
                reappointment application. Dean Wong simply advised
                Interim Vice Provost Blake that she had completed her
                review and recommendation regarding Plaintiff’s
                reappointment application (TCNJ 648). Responding
                Defendant reserves the right to supplement or amend
                this answer as discovery continues.



    23.  Describe in details any instance of communication between Dr. Wong
    and Dr. Patrick that was related to Doe, Promotion and Reappointment
    Committee and Doe's reappointment application.
    ANSWER: Responding Defendant objects to this interrogatory on
                the following bases: (1) Overbroad, (2) Undue Burden and
                (3) Ambiguous. See general objections, above. Subject-to
                and without waiving the foregoing objections, Dean
                Wong met with Dr. Patrick to review the PRC
                recommendation on April 25, 2019 (TCNJ 630-35).
                Responding Defendant reserves the right to supplement
                or amend this answer as discovery continues.




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    24.  Describe in details any instance of communication between Dr. Patrick
    and Dr. Blake that was related to Doe, Promotion and Reappointment
    Committee and Doe's reappointment application.
    ANSWER: Responding Defendant objects to this interrogatory on
                the following bases: (1) Overbroad, (2) Undue Burden and
                (3) Ambiguous. See general objections, above. Subject-to
                and without waiving the foregoing objections,
                Responding Defendant is unaware of any communication
                between Drs. Patrick and Blake regarding Plaintiff’s
                reappointment application. Responding Defendant
                reserves the right to supplement or amend this answer as
                discovery continues.




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                                  CERTIFICATION

    The undersigned hereby certifies that they are authorized to sign the foregoing
    Answers to Interrogatories for and on behalf of Responding Defendant, The
    College of New Jersey; that the matters stated in the foregoing Answers to
    Interrogatories are not within their personal knowledge, and that there is no
    single official or employee of the Responding Defendant who has personal
    knowledge of all such matters; that the facts stated in the foregoing Answers
    to Interrogatories have been assembled at their direction by employees of
    Responding Defendant and its legal counsel; that the matters set forth in the
    foregoing Answers to Interrogatories are in accordance with the information
    available to the Responding Defendant and that the records maintained by the
    Responding Defendant and are true, insofar as it is possible to verify them.

    The undersigned hereby certifies that the foregoing statements made by them
    are true. The undersigned is aware that if any of the foregoing statements
    made by them are willfully false, they may be subject to punishment.



                                                      Michael J. Canavan
                                                  MICHAEL J. CANAVAN
                                                TCNJ Deputy General Counsel
    Dated:           12/08/2020
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                        EXHIBIT C
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                                                State of New Jersey
PHILIP D. MURPHY                             OFFICE OF THE ATTORNEY GENERAL                                      GURBIR S. GREWAL
    Governor                               DEPARTMENT OF LAW AND PUBLIC SAFETY                                     Attorney General
                                                     DIVISION OF LAW
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   Lt. Governor                                             PO Box 112                                                 Director
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                                                    John P. Cascio, DAG
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                                                     NJ Bar #009881985

                                                      April 14, 2021

       VIA EMAIL

       Sergey Joseph Litvak, Esq.
       Litvak Legal Group, PPLC
       3070 Bristol Pike – Ste. 204
       Bensalem, PA 19020

                  Re:   Jane Doe v. The College of New Jersey
                        Docket No. 19-cv-20674

       Counsel:
       As you know, this office represents The College of New Jersey (TCNJ) in the above-docketed
       matter. Kindly accept this correspondence supplementing TCNJ’s earlier served responses to
       Plaintiff’s first request for production as follows:


       11.         Describe in details any investigations conducted by Defendant TCNJ related to the
       performance or conduct of any individual employed by Defendant TCNJ during the period of time
       beginning one year prior to Plaintiff's employment through the present who held or holds the same
       or similar position, title, job duties or job description as Plaintiff.
       ANSWER:           Responding Defendant objects to this interrogatory on the following bases:
                         (1) Confidential EEO Records, (2) Executive, (3) Confidential Personnel
                         Records, (4) Confidentiality, (5) Overbroad, (6) Undue Burden and
                         (7) Relevance. This interrogatory is overbroad in scope and vague in that
                         the term “investigation” is undefined. See general objections, above. Subject
                         to and without waiving the previous objections, and limiting its response




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                        New Jersey Is An Equal Opportunity Employer • Printed on Recycled Paper and Recyclable
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                                                                                   April 14, 2021
                                                                                           Page 2

                  to tenure track faculty members in the Finance Department of the School of
                  Business during the time of plaintiff's employment, Responding Defendant
                  states as follows: Other than the investigation resulting from plaintiff's
                  complaint to Defendant's EEO/AA Office, Professor Herbert Mayo was the
                  subject of an investigation of a complaint filed by a former student alleging
                  the use of inappropriate language in the classroom. The complaint was filed
                  March 11, 2020 and was investigated by Defendant's EEO/AA Office. The
                  determination of the investigation was that the allegations were
                  unsubstantiated. Responding Defendant reserves the right to supplement
                  or amend this answer as discovery continues.



 12.        Describe in details any disciplinary actions, terminations, reprimands, counseling,
 write-ups, demotions, or other adverse employment actions taken by TCNJ against any individual
 employed by Defendant TCNJ who held or holds the same or similar position, title or job
 description as Plaintiff during Dr. Keep's employment at TCNJ.

 ANSWER:          Responding Defendant objects to this interrogatory on the following bases:
                  (1) Legal Conclusion, (2) Time Frame, (3) Relevance, (4) Ambiguous,
                  (5) Form, (6) Overbroad, (7) Confidential Personnel Records and
                  (8) Confidentiality. The information sought in this interrogatory constitute
                  confidential personnel records that are not subject to disclosure pursuant to
                  N.J.S.A. 47:1A-10, Executive Order 9 (Hughes) and Executive Order 11
                  (Byrne). See general objections, above. Subject to and without waiving the
                  previous objections, and limiting its response to tenure track faculty
                  members in the Finance Department of the School of Business during the
                  time of plaintiff's employment, Responding Defendant states as follows:
                  Responding Defendant has no information that is responsive to this
                  interrogatory.



 13.        Identify any individual(s) employed by Defendant TCNJ against whom an allegation,
 accusation or finding was made that such employee engaged in misconduct of any kind and
 describe in details any disciplinary actions, terminations, counseling, write-ups, demotions, or
 other adverse employment actions that were taken by Defendant TCNJ against such individual(s)
 during Dr. Keep's employment at TCNJ.

 ANSWER:          Responding Defendant objects to this interrogatory on the following bases:
                  (1) Legal Conclusion, (2) Time Frame, (3) Relevance, (4) Ambiguous,
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                                                                                       April 14, 2021
                                                                                               Page 3

                  (5) Form,     (6) Overbroad,      (7) Confidential     Personnel    Records,
                  (8) Confidential EEO Records and (9) Confidentiality. The information
                  sought in this interrogatory constitute confidential personnel records that
                  are not subject to disclosure pursuant to N.J.S.A. 47:1A-10, Executive Order
                  9 (Hughes) and Executive Order 11 (Byrne). See general objections, above.
                  Subject to and without waiving the previous objections, and limiting its
                  response to tenure track faculty members in the Finance Department of the
                  School of Business during the time of plaintiff's employment, Responding
                  Defendant states as follows: Responding Defendant has no information that
                  is responsive to this interrogatory.



 14.        Identify any individual(s) employed by Defendant TCNJ who have been investigated,
 written up, disciplined, reprimanded or otherwise accused of or cited for insubordination or acts
 that could be considered insubordination and describe in detail the allegations against the employee
 and any disciplinary actions taken by Defendant.

 ANSWER:          Responding Defendant objects to this interrogatory on the following bases:
                  (1) Legal Conclusion, (2) Time Frame, (3) Relevance, (4) Ambiguous,
                  (5) Form, (6) Overbroad, (7) Confidential Personnel Records and
                  (8) Confidentiality. This interrogatory is overbroad in scope and vague in
                  that the term “investigation” and phrase “acts that could be considered
                  insubordination” are undefined. Moreover, the information sought in this
                  interrogatory constitute confidential personnel records that are not subject
                  to disclosure pursuant to N.J.S.A. 47:1A-10, Executive Order 9 (Hughes)
                  and Executive Order 11 (Byrne). See general objections, above. Subject to
                  and without waiving the previous objections, and limiting its response to
                  tenure track faculty members in the Finance Department of the School of
                  Business during the time of plaintiff's employment, Responding Defendant
                  states as follows: Responding Defendant has no information that is
                  responsive to this interrogatory.



                  Defendant also amends its response to request for documents to include:
                  Choi Benefits File 001-150 (Parts 1&2);
                  Choi Personnel File 001-098 (Parts 1&2) ;
                  Choi Supplemental Payment File 001-012;
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                                                                                      April 14, 2021
                                                                                              Page 4

                    Mayo Final Letter 5.08.2020.001;
                    Mayo Report 001-005;
                    Doe.Pogue HR_EEO Staement;
                    Kim Personnel File 001-036;
                    Kim Supplemental File 001-004.


                    Please note some of these documents will be sent in separate emails.


                    Please contact me with any questions




                                               Respectfully submitted,

                                               GURBIR S. GREWAL
                                               ATTORNEY GENERAL OF NEW JERSEY

                                               By:     /s/ John P. Cascio
                                                       John P. Cascio
                                                       Deputy Attorney General
 .


 Cc:
     Via Email Only
     Michael Canavan, Esq.


 JPC/jpc
 Attachments
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                        EXHIBIT D
        Case 3:19-cv-20674-FLW-ZNQ Document 86 Filed 06/21/21 Page 58 of 91 PageID: 595


John Cascio

From:                               jlitvak litvaklegalgroup.com <jlitvak@litvaklegalgroup.com>
Sent:                               Wednesday, May 12, 2021 1:41 PM
To:                                 John Cascio
Subject:                            [EXTERNAL] Re: TCNJ



Hi John,




I can depo Dr. Keep on 6/3 and will ask you to update availability of Dr. Partick for another day.

I am going to raise 3 issues with the court regarding the discovery:


    1. The files I received for Choi and Kim are not complete. They miss most documents regarding
       promotion and reappointment, including teaching evaluations and other documents related to their
       performance.
    2. I will be requesting personnel files of other TCNJ School of Business faculty hired and promoted
       within 2014‐2021 time frame. I believe there are several professors who fall into this category.
    3. I will also be requesting personnel files of Dr. Keep, Dr. Partick and Dr. Mayo.

I will be more than happy to discuss the above at your convenience.


From: John Cascio <John.Cascio@law.njoag.gov>
Sent: Tuesday, May 11, 2021 12:42 PM
To: jlitvak litvaklegalgroup.com <jlitvak@litvaklegalgroup.com>
Subject: RE: TCNJ

Hi Joe, trust you are doing well.

I’m open tomorrow and Tuesday. Please send me an email with your concerns prior to our call.

I haven’t heard back from you regarding dep dates for the other witnesses. Assume Dietrich and Hume are going
forward next week.

John,

John P. Cascio
Deputy Attorney General
Office of the Attorney General, Division of Law
State Police, Employment & Corrections (SPEC)
                                                             1
     Case 3:19-cv-20674-FLW-ZNQ Document 86 Filed 06/21/21 Page 59 of 91 PageID: 596
R.J. Hughes Justice Complex
25 Market Street | P.O. Box 112
Trenton, NJ 08625-0112
Mobile Phone: (732) 710-7437
Fax: (609) 777-3607
Email: john.cascio@law.njoag.gov

From: jlitvak litvaklegalgroup.com <jlitvak@litvaklegalgroup.com>
Sent: Tuesday, May 11, 2021 11:28 AM
To: John Cascio <John.Cascio@law.njoag.gov>
Subject: [EXTERNAL] TCNJ

Hi John,

I hope this email finds you in good health and spirits.

I am asking for your availability do go over the discovery disputes before I write a letter to the court. Please let
me know.
Best
CONFIDENTIALITY NOTICE The information contained in this communication from the Office of the New
Jersey Attorney General is privileged and confidential and is intended for the sole use of the persons or entities
who are the addressees. If you are not an intended recipient of this e-mail, the dissemination, distribution,
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error, please immediately contact the Office of the Attorney General at (609) 292-4925 to arrange for the return
of this information.




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                        EXHIBIT E
     Case 3:19-cv-20674-FLW-ZNQ Document 86 Filed 06/21/21 Page 61 of 91 PageID: 598


John Cascio

From:                             John Cascio
Sent:                             Friday, May 21, 2021 3:41 PM
To:                               jlitvak litvaklegalgroup.com
Cc:                               Canavan, Michael
Subject:                          Sorokina v TCNJ


Good afternoon Joe,

         Your document production consist of parts 1 & 2 totaling 14,609 pages. Part 1 documents are numbered 1‐
1679; part 2 1680‐14,609. No sub‐parts, index or document groupings are provided. Our document request no. 1 asks
for all documents relied upon when preparing discovery and disclosure responses. Your response is plaintiff produces all
documents and references Doe 1‐1679. Request no. 2 asks for all documents in support of the allegations in the
complaint. Again, the response is to see Doe 1‐1679. Request no. 3 asks for all relevant documents and the response is
see Doe 1‐1679. Request no. 20 asks for documents regarding plaintiff’s job search and references part 2 pages 1680‐
14609. These documents are not included in responses to requests 1, 2 or 3 and we do not expect plaintiff to rely upon
the in support of her claims.

        The document production itself is randomly assembled and disorganized. They are not grouped by year, subject
matter or by any other method or system. For example, the approximately first 200 pages of part 1 contains the
following documents in the order listed below:
        1. Pgs. 1‐10: travel/expense forms;
        2. Pgs. 11‐28: article ”Why do banks choose to finance with equity”;
        3. Pgs.29‐24: travel/expense forms;
        4. Pgs. 35‐54 article “Reactions of equity markets to recent financial reforms”;
        5. Pg. 55: 5/22/18 letter re reappointment;
        6. Pgs. 56‐77: article “Analyst optimism in the automotive industry”;
        7. Pgs. 78‐109 article “ Robust methods in event studies: empirical evidence and theoretical implications”;
        8. Pgs. 110‐111 : 6/30/19 letter re reappointment;
        9. Pgs. 112‐113: undated application for 5th and 6th year reappointment”;
        10. Pgs. 114‐119: 5/1/19 third year summative review and application for reappointment;
        11. Pgs. 120‐124: 6/3/19 letter re reappointment;
        12. Pgs. 125‐126: 4/2/19 letter from pltf;
        13. Pgs. 127‐134: 3/7/19 EEOC interview;
        14. Pgs. 135‐136: checklist;
        15. Pgs.137‐140: MBA policies emails;
        16. Pgs.141‐146: 3/17/18 profession development essay;
        17. Pgs.142‐152: duplicate of above essay;
        18. Pgs.153: web ex meeting invitation;
        19. Pgs. 154‐155: checklist;
        20. Pgs. 156‐157: cover page 4th year application for reappointment;
        21. Pgs. 158‐177: standardized curriculum vitae;
        22. Pgs. 178‐184: 8/20/15 Finance Dept. Disciplinary Standards;
        23. Pg. 185: 5/6/19 letter from pltf.;
        24. Pg. 186: duplicate of above 5/1/19 letter from pltf.;
        25. Pgs. 187‐188: 5/15/17 letter re reappointment;
        26. Pg. 189‐190: undated letter re MBA program;
        27. Pg. 191: 1/23/19 letter From Princeton Medical Group;
        28. Pg. 192: 3/27/19 email;

                                                           1
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 29. Pgs. 193‐195: duplicate of pgs. 187‐188 above;
 30. Pgs. 195‐201: 6/14/17 letter from dean re reappointment with attachments.

          The remainder of the documents are also not organized or grouped. Plaintiff has alleged multiple claims
 of discrimination under the LAD and Title VII. We requested specific responses for each category but no specific
 response was provided. Defendant should not have to search through all of the documents 1‐1679 and
 speculate which documents plaintiff will be relying upon in support of each claim. The particular requests and
 responses are as follows:
 1. Document request no. 30: this request is for documents supporting her Count I Title VII gender based
     discrimination claim. Plaintiff refers to all documents in her possession nos. 1‐1679. Please provide the
     pages for the particular documents in support of this claim;
 2. Document request no. 31: this request is for documents supporting her Count II Title VII national origin
     discrimination claim. Plaintiff refers to all documents in her possession nos. 1‐1679. Please provide the
     pages for the particular documents in support of this claim;
 3. Document request no. 32: this request is for documents supporting her Count III Title VII pregnancy
     based discrimination claim. Plaintiff refers to all documents in her possession nos. 1‐1679. Please provide
     the pages for the particular documents in support of this claim;
 4. Document request no. 33: this request is for documents supporting her Count IV Title VII retaliation claim.
     Plaintiff refers to all documents in her possession nos. 1‐1679. Please provide the pages for the particular
     documents in support of this claim;
 5. Document request no. 34: this request is for documents supporting her Count V LAD gender based
     discrimination claim. Plaintiff refers to all documents in her possession nos. 1‐1679. Please provide the
     pages for the particular documents in support of this claim;
 6. Document request no. 35: this request is for documents supporting her Count VI LAD national origin based
     discrimination claim. Plaintiff refers to all documents in her possession nos. 1‐1679. Please provide the
     pages for the particular documents in support of this claim;
 7. Document request no. 36: this request is for documents supporting her Count VII LAD pregnancy based
     discrimination claim. Plaintiff refers to all documents in her possession nos. 1‐1679. Please provide the
     pages for the particular documents in support of this claim;
 8. Document request no. 37: this request is for documents supporting her Count VIII LAD retaliation based
     discrimination claim. Plaintiff refers to all documents in her possession nos. 1‐1679. Please provide the
     pages for the particular documents in support of this claim.

          The production is also deficient as follows:
 9. Document request no. 11: this request is for documents memorializing communications with defendant and
     this answer is that plaintiff will “’supplement” once available. Does plaintiff have in her possession any
     responsive documents?
 10. Document request no. 14 : please provide documents in plaintiff’s possession. It is unacceptable to state the
     documents “ are more accessible to TCNJ from its own records and file;
 11. Document request no. 15: plaintiff states she has already provided the documents in response to this
     request but does not identify the documents‐what are they?;
 12. Document request no. 16: this requests all documents obtained from defendant and states “plaintiff
     produces all documents in her possession”. Were all of these documents obtained from defendant?
 13. Document request no. 21: this request asks for records regarding civil or criminal lawsuits. Plaintiff’s
     response is that the documents may contain privileged/work product documents and no documents were
     produced. Please provide us with non‐privileged/non‐work product documents;
 14. Document request no. 23: please provide us with all non‐expert investigative reports:
 15. Document request no. 24: : this request asks for records regarding claims against the State. Plaintiff’s
     response is that the documents may contain privileged/work product documents and no documents were
     produced. Please provide us with non‐privileged/non‐work product documents;



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              With respect to the 3 issues raised in your 5/12/21 email:
       1. We are searching for Dr. Choi and Dr. Kim documents regarding promotion and reappointment,
          teaching evaluations and other documents related to performace as requested and will forard them to
          you after receipt and redaction.;
       2. The request for personnel files of other TCNJ School of Business faculty hire and promoted within the
          2014-2021 time frame was not included in your first request for production of documents. Please
          serve us with a supplemntal request.
       3. The request for personnel files of Dr. Keep, Dr. Patrick and Dr. Mayo was not included in your first
          request for production. Please serve us with a supplemental request.

               I am avilable next week to further discuss.

       John,


John P. Cascio
Deputy Attorney General
Office of the Attorney General, Division of Law
State Police, Employment & Corrections (SPEC)
R.J. Hughes Justice Complex
25 Market Street | P.O. Box 112
Trenton, NJ 08625-0112
Mobile Phone: (732) 710-7437
Fax: (609) 777-3607
Email: john.cascio@law.njoag.gov




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                         EXHIBIT F
     Case 3:19-cv-20674-FLW-ZNQ Document 86 Filed 06/21/21 Page 65 of 91 PageID: 602


John Cascio

From:                             John Cascio
Sent:                             Monday, May 31, 2021 1:25 PM
To:                               jlitvak litvaklegalgroup.com
Cc:                               Michael Canavan
Subject:                          Sorokina v TCNJ
Attachments:                      A. Dean Recommendation.001-004.pdf; A.CPTC.Recommendation.001.pdf;
                                  A.Provost.Letter.Choi_ssfversionfile_1548960409608_.pdf;
                                  A.PRC.Recommendation.001-006.pdf; Kim.Dean Evaluation Recommendation.001.pdf;
                                  Kim.PRC Recommendation Signed.001-005.pdf; Kim.PRC.Evaluation
                                  Recommendation.001-006.pdf; Kim.Provost Letter.001.pdf


Good afternoon Joe, since you were unable to reach out to me Friday to discuss, in response to your “issues” below we
respond as follows:

       1. In response to your document request no. 1 the Dean’s Office records were produced and marked TCNJ
           476‐600;
       2. In response to your document request no. 3 I have attached the reappointment and promotion documents
           for Dr. Choi and Dr. Kim. These documents were served with our April 14, 2021 supplemental response;
       3. Your document request no. 4 pertains to student teaching evaluations and not to hiring, reappointment or
           promotion documents as stated by you and therefore no response is provided;
       4. Documents in response to your document request no. 9 were served with our April 14, 2021 supplemental
response: Mayo Final Letter, Mayo Report and Doe Pogue Statement;
       5. Documents in response to your document request no. 14 were served with our April 14, 2021 supplemental
       response. I disagree with your recollection of Ms. Dietrich’s deposition testimony;
       6. In response to your document request no. 22 we objected to the request on the grounds that the question is
       ambiguous and calls for a legal conclusion. It is our position that no “adverse employment actions” against
       Finance Dept. faculty members have been undertaken during the years in            question and therefore no
       documents provided.

Sincerely,

John P. Cascio
Deputy Attorney General
Office of the Attorney General, Division of Law
State Police, Employment & Corrections (SPEC)
R.J. Hughes Justice Complex
25 Market Street | P.O. Box 112
Trenton, NJ 08625-0112
Mobile Phone: (732) 710-7437
Fax: (609) 777-3607
Email: john.cascio@law.njoag.gov

From: jlitvak litvaklegalgroup.com <jlitvak@litvaklegalgroup.com>
Sent: Thursday, May 27, 2021 1:32 AM
To: John Cascio <John.Cascio@law.njoag.gov>
Subject: [EXTERNAL] TCNJ

I hope you are doing well.

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The issues for our upcoming phone call:

    1. No 1. document request, the response is incomplete. As we learned from the documents produced
       so far, along with the testimony of Tammy Dietrich at the deposition, the Dean’s Office maintained
       the second personnel file in the School of Business. I believe that TCNJ did not produce any of the
       documents from that file at all.
    2. Request No. 3, TCNJ has not produced any documents.
    3. Request No. 4 TCNJ has not produced any documents. This is my request that we discussed two
       weeks ago on the phone. I do not need their complete files, however, I will need their hiring,
       reappointment, and promotion papers.
    4. Request No. 9 TCNJ has not produced any documents. These are the documents I was referring to in
       our conversation two weeks ago and also in the email. I am not seeking their complete personnel
       files, just the part related to the reports of discrimination, etc.
    5. Request No. 14 TCNJ has not produced any documents. I hope you recall from the recent deposition
       that there were at least several discipline issues with other faculty.
    6. Request No. 22 TCNJ has not produced and documents.



Sincerely,
S. Joseph ("Joe") Litvak Esq., LL.M.(Taxation, Intellectual Property)
Attorney at Law,
Licensed in Pennsylvania, New York, New Jersey and North Carolina.

In PA: (215) 515-7113
In NJ: (732) 624-6283
In NY: (917) 960-2334
Direct: (267) 443-7755

Fax: (267) 543-5706

Litvak Legal Group, PLLC.
www.litvaklegalgroup.com

Lower Bucks County:
3070 Bristol Pike
Bldg One, Suite 204
Bensalem, Pennsylvania, 19020

In Philadelphia:
1700 Market Street, Suite 1005
Philadelphia, Pennsylvania, 19103


I




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If this email concerns bankruptcy issues, I am designated by federal law as a debt relief agent because I help people file
for assistance under the bankruptcy laws.



I do not consent and rescind any consent, implied or given, to the service of process or
service of papers by electronic means or facsimile.




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                         EXHIBIT G
      Case 3:19-cv-20674-FLW-ZNQ Document 86 Filed 06/21/21 Page 69 of 91 PageID: 606


John Cascio

From:                               jlitvak litvaklegalgroup.com <jlitvak@litvaklegalgroup.com>
Sent:                               Thursday, May 27, 2021 1:32 AM
To:                                 John Cascio
Subject:                            [EXTERNAL] TCNJ


I hope you are doing well.

The issues for our upcoming phone call:

    1. No 1. document request, the response is incomplete. As we learned from the documents produced
       so far, along with the testimony of Tammy Dietrich at the deposition, the Dean’s Office maintained
       the second personnel file in the School of Business. I believe that TCNJ did not produce any of the
       documents from that file at all.
    2. Request No. 3, TCNJ has not produced any documents.
    3. Request No. 4 TCNJ has not produced any documents. This is my request that we discussed two
       weeks ago on the phone. I do not need their complete files, however, I will need their hiring,
       reappointment, and promotion papers.
    4. Request No. 9 TCNJ has not produced any documents. These are the documents I was referring to in
       our conversation two weeks ago and also in the email. I am not seeking their complete personnel
       files, just the part related to the reports of discrimination, etc.
    5. Request No. 14 TCNJ has not produced any documents. I hope you recall from the recent deposition
       that there were at least several discipline issues with other faculty.
    6. Request No. 22 TCNJ has not produced and documents.



Sincerely,
S. Joseph ("Joe") Litvak Esq., LL.M.(Taxation, Intellectual Property)
Attorney at Law,
Licensed in Pennsylvania, New York, New Jersey and North Carolina.

In PA: (215) 515-7113
In NJ: (732) 624-6283
In NY: (917) 960-2334
Direct: (267) 443-7755

Fax: (267) 543-5706

Litvak Legal Group, PLLC.
www.litvaklegalgroup.com

Lower Bucks County:
3070 Bristol Pike
Bldg One, Suite 204
Bensalem, Pennsylvania, 19020

In Philadelphia:
1700 Market Street, Suite 1005
Philadelphia, Pennsylvania, 19103


I

                                                              1
     Case 3:19-cv-20674-FLW-ZNQ Document 86 Filed 06/21/21 Page 70 of 91 PageID: 607




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and may contain confidential information. Any unauthorized review, use, disclosure or distribution is prohibited. If you
are not the intended recipient, please contact the sender by reply email and destroy all copies of the original message.

If this email concerns bankruptcy issues, I am designated by federal law as a debt relief agent because I help people file
for assistance under the bankruptcy laws.




I do not consent and rescind any consent, implied or given, to the service of process or
service of papers by electronic means or facsimile.




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                         EXHIBIT H
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Case 3:19-cv-20674-FLW-ZNQ Document 86 Filed 06/21/21 Page 72 of 91 PageID: 609




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                                                          %OXHVKDGLQJ 5HTXHVWLQV\VWHP
                                                          %UDHQGHU                            6'                              $FWXDO                    $$&6%$VVHVVPHQW&RQI                           $XVWLQ7;         DSU                               
                                                          %UHFKPDQ                             &                              $FWXDO                     ,QWO&RPP$VVRFLDWLRQ                           3XHUWR5LFR35    -XQ
                                                          &KLDQJ                               &                              $FWXDO                     $$$$QQXDO0HHWLQJ                         $WODQWD*$        DXJ
                                                          &KLDQJ                               &                                    $FWXDO                   WK,QWHUQDWLRQDO&RQIHUHQFHRQ%XVLQHVVDQG(GX$UOLQJWRQ9$      QRY
                                                          &KRL                                5&                              $FWXDO                     )0$$QQXDO0HHWLQJ                              1DVKYLOOH71      QRY
                                                          'RPLQJR                              &                              $FWXDO                     $$$$QQXDO0HHWLQJ                         $WODQWD*$        DXJ
                                                          *HUPDQD                              &                                       $FWXDO                     5XWJHUV1-&%$$                                  1-                 QRY
                                                          *HUPDQD                             6'                              $FWXDO                $$&6%$VVHVVPHQW&RQI                           $XVWLQ7;         DSU
                                                          *HUPDQD                              6                                       $FWXDO                    -30RUJDQ7ULS                                  1HZ<RUN1<       DSU
                                                          *KLWXOHVFL                           &                              $FWXDO                     (*26(XURSHDQ*URXS 2UJ6WXGLHV               1HWKHUODQGV        DXJ
                                                          +XJKHV                               &                              $FWXDO                     $$$$QQXDO0HHWLQJ                         $WODQWD*$        DXJ
                                                          +XPH                                5&                              $FWXDO                  )0$$QQXDO0HHWLQJ                              1DVKYLOOH71      QRY
                                                          +XPH                                 6                                     (VWLPDWH                    *$0(6WXGHQW,QYHVWPHQW)RUXP                   1HZ<RUN1<       DSU
                                                          .DUORZLWVFK                          &                                    $FWXDO                    3$ZRPHQ V&RQIHUHQFH                           3KLODGHOSKLD3$   QRY
                                                          .HHS                                )'                                    $FWXDO                     &RQJUHVVLRQDOVWDIIEUHLILQJDQGHYHQLQJHYHQW :DVKLQJWRQ'&      DSU
                                                          .HHS                                 &                             $FWXDO                      &+$50FRQIHUHQFH                               /RQJ%HDFK&$      MXQ
                                                          .HHS                                                               $FWXDO                      6,68YLVLW                                     6KDQJKDL&KLQD     MXQ
                                                          .UDYLW]                              &                                         $FWXDO                      :RUOGDW:RUNFHUWLILFDWLRQFRXUVH               %RVWRQ0$          GHF
                                                          .UDYLW]                             6'                             $FWXDO                   $$&6%$VVHVVPHQW&RQI                          $XVWLQ7;          DSU
                                                          /DVKHU                               &                             $FWXDO                      $FDGHP\RI/HJDO6WXGLHVLQ%XVLQHVV           6HDWWOH:$         DXJ
                                                          /HWFKHU                             6'                             $FWXDO                   $$&6%$VVHVVPHQW&RQI                          $XVWLQ7;          DSU
                                                          /LOOHYLN                             &                                   $FWXDO                    $FDGHP\RI0DQDJHPHQW$QQXDO&RQIHUHQFH        3KLODGHOSKLD3$    DXJ
                                                          /LOOHYLN                            )'                                      $FWXDO                      0LG$WODQWLF2UJDQL]DWLRQDO%HKDYLRU7HDFKLQJ 1HZWRZQ3$          DSU
                                                          0DUDWHD                              &                                   $FWXDO                    3$ZRPHQ V&RQIHUHQFH                          3KLODGHOSKLD3$    QRY
                                                          0F&DUW\                              &                             $FWXDO                      $VVRFLDWLRQIRU&RQVXPHU5HVHDUFK              %DOWLPRUH0'       QRY
                                                          0LUWFKHYD                            &                                   $FWXDO                   (($                                            1HZ<RUN1<        PDU
                                                          0LUWFKHYD                            &                               $FWXDO                    $65(&                                          %RVWRQ0$          DSU
                                                          0RQVHDX                              &                             $FWXDO                      $FDGHP\RI/HJDO6WXGLHVLQ%XVLQHVV           6HDWWOH:$         DXJ
                                                          1DSOHV                              5&                             $FWXDO                   $66$(FRQRPLFV&RQIHUHQFH                      %RVWRQ0$          IHE
                                                          1HYHV                                &                                     $FWXDO                      $FDGHP\RI0DQDJHPHQW$QQXDO&RQIHUHQFH        3KLODGHOSKLD3$    DXJ
                                                          1RXUL                               &                              $FWXDO                      $$$$QQXDO0HHWLQJ                        $WODQWD*$         DXJ
                                                          3HOKDP                               6                                   $FWXDO                     )68,QWO&ROOHJLDWH6DOHV&RQI                 2UODQGR)/         GHF
                                                          3HOKDP                               6                                    $FWXDO                    :381DWLRQDO6DOHV&KDOOHQJH                   :D\QH1-            GHF
                                                          3HOKDP                               6                                   $FWXDO                    1DWLRQDO&ROOHJLDWH6DOHV&RPSHWLWLRQ          .HQQHVDZ*$        DSU
                                                          3HOKDP                               6                             $FWXDO                     36(1DWLRQDO&RQIHUHQFH                        +RXVWRQ7;         PD\
                                                          6DPDQWD                             '                                       $FWXDO                    6$6$QDO\WLFV:RUNVKRS                         1HZ<RUN1<        QRY
                                                          6DPDQWD                             &                                    $FWXDO                     $FDGHP\RI,QWO%XVLQHVV$QQXDO0WJ            5KRGH,VODQG        GHF
                                                          6DPDQWD                             5&                                   $FWXDO                     $66$(FRQRPLFV&RQIHUHQFH                      %RVWRQ0$          IHE
                                                          6DPDQWD                              6                                   $FWXDO                   (DVWHUQ(FRQRPLF$VVRFLDWLRQ0HHWLQJ           1HZ<RUN1<        PDU
                                                          6DPDQWD                              6                                      $FWXDO                     2'(6WXGHQW5HVHDUFK&RQIHUHQFH                &ROOHJHYLOOH3$    PD\
                                                          6KDKLG                              &                              $FWXDO                      $$$$QQXDO0HHWLQJ                        $WODQWD*$         DXJ
                                                          6WXGHQWUHODWHGWULS
                                                          7RWDODOOWULSVDOO                         5()                                   
                                                          IDFXOW\
                                                          7XFFL                                &                             $FWXDO                    ,QWHUQDWLRQDO$VVRFLDWLRQRI%XVLQHVV          2UODQGR)/         IHE
                                                          9DQGHJULIW                           &                             $FWXDO                     1$P0WJRI5HJLRQDO6FLHQFH$VVRF             %HWKHVGD0'        GHF
                                                                                                                                                                                                                                                                          7&1-
                                                                                                                                                                                   &zϮϬϭϱ&ĂĐƵůƚǇdƌĂǀĞůZĞƋƵĞƐƚƐ                                                                WĂŐĞϮŽĨϮ
                                                                                  )DFXOW\   7\SHRI       $PRXQW     $PRXQW$SSURYHG   $PRXQW([SHQGHG (VWLPDWHRU            $FWXDO       7UDYHO'DWHV                &RQIHUHQFH      /RFDWLRQ   5HIOHFWHGRQ%XGJHWVKHHW
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                                                                                            5HTXHVW       5HTXHVWHG                                        $FWXDO                (VWLPDWH
                                                                                                                                                                                                     >ĞŐĞŶĚĨŽƌďďƌĞǀŝĂƚŝŽŶƐ͗
                                                                                                       1RQ6WXGHQW        
                                                                                                                                                                                                               ͗ĞǀĞůŽƉŵĞŶƚ
                                                                                                       6WXGHQW                                                                              E͗EĂƚŝŽŶĂůŽŶĨĞƌĞŶĐĞ
                                                                                                                                                                                                               Z͗ZĞŐŝŽŶĂůŽŶĨĞƌĞŶĐĞ
                                                                                                                                                                                                               &͗&ĂĐƵůƚǇĞǀĞůŽƉŵĞŶƚ
                                                                                                                                                                                                        Z͗ZĞĐƌƵŝƚŝŶŐ
                                                                                                                                                      
                                                          &KLDQJ                               &                           $PHULFDQ
                                                                                                                                         $FFRXQWLQJ
                                                                                                                                         $VVRFLDWLRQ1DWLRQDO
                                                                                                                                         &RQIHUHQFH
                                                          6KDKLG                               1                           $$$1DWLRQDO
                                                                                                                                         &RQIHUHQFH
                                                          +XPH                               &6                          ;,5LVH6WXGHQW        6HSWHPEHU
                                                                                                                                         ,QYHVWPHQW)RUXP
                                                                                                                                         (DVWHUQ)LQDQFH
                                                                                                                                         $VVRFLDWLRQ
                                                          3HOKDP                               6                             :LOOLDP3DWWHUVRQ5%6HSWHPEHU
                                                          3HOKDP                               6                             1DWLRQDO&ROOHJLDWH6DOHV&RPSHWLWLRQ
                                                          0RQVHDX                              6                             &856WXGHQW3RVWHU(YHQW
                                                                                                                                                                 DSULO
                                                                                                                                                                 GHF
                                                                                                                                                                 DSULO
                                                                                                                                                                                                                                                      7&1-
                                                                                                                                                                                       &ĂĐƵůƚǇĞǀĞůŽƉŵĞŶƚͲWƌĞƐŝĚĞŶƚΖƐ&ƵŶĚ&zϭϱ                                                                                         WĂŐĞϭŽĨϭ
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                                                                                                                 7\SHRI     $PRXQW      3RWHQWLDO    $PRXQW                              (VWLPDWHRU                                                                                                            5HIOHFWHGRQ
                                                                                         )DFXOW\                 5HTXHVW     5HTXHVWHG    PD[     $SSURYHG     $PRXQW([SHQGHG   5ROH     $FWXDO       $FWXDO(VWLPDWH   7UDYHO'DWHV                              &RQIHUHQFH                      /RFDWLRQ     %XGJHWVKHHW
                                                                                  0RQVHDX                           )                                               $FWXDO                        *OREDO&KDOOHQJHV,QVLWXWH(GXFDWLQJ*OREDOO\       *DOORZD\1-       GHF
                                                                                  +XPH                              &                                           $FWXDO                           $FDGHP\RI,QWHUQDWLRQDO%XVLQHVV$QQXDO0HHWLQJ     %HQJDOXUX,QGLD   MXO
                                                                                  &KLDQJ                            &                                               $FWXDO                        $PHULFDQ$FFRXQWLQJ$VVRFLDWLRQ5HJLRQDO0HHWLQJ     1$                PD\
                                                                                  .HHS                              &                                       $FWXDO                           $$&6%,QWHUQDWLRQDO&RQIHUHQFH                       7DPSD)/          PD\
                                                                                  /HYHQ                             &                                       $FWXDO                           ,QWHUQDWLRQDO3ROLVK&RQIHUHQFH                      7RURQWR&$        MXQ
                                                                                  0RQVHDX                           )                                               $FWXDO                        1RUWK(DVW$FDG/HJDO6WXGLHV&RQIHUHQFH            3ULQFHWRQ1-      PD\
                                                                                  /DVKHU                            )                                               $FWXDO                         1RUWK(DVW$FDG/HJDO6WXGLHV&RQIHUHQFH            3ULQFHWRQ1-      PD\
                                                                                  6KDKLG                            &                                                 $FWXDO                           $$$0LG$WODQWLF5HJLRQDO0HHWLQJ                    &KHUU\+LOO1-    PD\
                                                                                  .HHS                              &                                               $FWXDO                           &DUHHU&HQWHUYLVLWWR1<&                           Q\F                QRY
                                                                                  0LUWFKHYD                         F                                               $FWXDO                   9DOSDUDLVR                                             &KLFDJR            IHE
                                                                                  1RXUL                             &                                               $FWXDO                         $$$0LG$WODQWLF5HJLRQDO0HHWLQJ                    &KHUU\+LOO1-    PD\
                                                                                  :DOODFH                           &                                       $FWXDO                          &HQJDJH/HDUQLQJWK$QQXDO&RPSXWLQJ&RQIHUHQFH    3KRHQL[$=        DSU
                                                                                  $KODZDW                           &                                      (VWLPDWH                      $$%%6WK$QQXDO,QWHUQDWLRQDO&RQIHUHQFH           9HQLFH,WDO\      MXQ
                                                                                  /HWFKHU                           7                                               $FWXDO                           *UHDW&RXUVHV9LGHR/HFWXUHVRQ'DWD$QDO\WLFV       QD                MXQ
                                                                                  1HYHV                             &                                                   $FWXDO                           1-%LJ'DWD5RZDQ8QLYHUVLW\                       *ODVVERUR1-      PD\
                                                                                  7DQJ                              &                                       $FWXDO                         ,QWHUQDWLRQDO&RQIHUHQFH                             :DUVDZ3RODQG     MXQ
                                                                                  *KLWXOHVFX                        &                                       $FWXDO                     &$50$6KRUW&RXUVHVLQ4XDOLWDWLYH'DWD$QDO\VLV      %RVWRQ0$         MXQ
                                                                                  7RWDODOOWULSVDOOIDFXOW\                                                          
                                                                                                                            $OORFDWLRQ                          
                                                                                                                            5HPDLQGHU               $FWXDO                                     7RWDORI$FWXDOVDQG3URMHFWHG1RW&RPSOHWHG
                                                                                                                                                                                                                  7UDLQLQJ0DWHULDOV
                                                                                                                                                                                                               )DFXOW\7UDYHOIRU3URI'HYHORSPHQW &RQI3UHVHQWDWLRQV
                                                                                                                                                                                                                   
                                                                                                                                                                                                                                                                                                  7&1-
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                                                                                                                                                                 &zϮϬϭϲ&ĂĐƵůƚǇdƌĂǀĞůZĞƋƵĞƐƚƐ                                                                                                       WĂŐĞϭŽĨϮ
                                                )DFXOW\                           7\SHRI   $PRXQW     $PRXQW$SSURYHG   $PRXQW([SHQGHG (VWLPDWHRU   $FWXDO(VWLPDWH     7UDYHO'DWHV                       &RQIHUHQFH                               /RFDWLRQ        5HIOHFWHGRQ%XGJHWVKHHW
                                           $KODZDW                                  )                                   $FWXDO                     1$%(7)DFXOW\&RQIHUHQFH                          6WDWH&ROOHJH3$     QRY
                                           $KODZDW                                   6                              $FWXDO                         $FDGHPLF&KDLUSHUVRQV&RQIHUHQFH             &KDUOHVWRQ6&         $SU
                                           $KODZDW                                   6                                  $FWXDO                        $$%5,,QWHUQDWLRQDO&RQIHUHQFH                    6DQ$QWRQLR7;                                     'LGQRWJR
                                           %DNHU                                     )                              $FWXDO                          6RXWKHUQ(FRQRPLF$VVRFLDWLRQ
                                           %UHFKPDQ                                  )                                 (VWLPDWH                      $0$ V$QQXDO3XEOLF3ROLF\&RQIHUHQFH             6DQ/XLV2ELVSR&$   -XO\
                                           &KRL                                      )                                     $FWXDO                    7KRPVRQ5HXWHUV )LQDQFH)RUXP                    1<1<                0D\
                                           'RPLQJR                                   )                              $FWXDO                        $PHULFDQ$FFRXQWLQJ$VVRFLDWLRQ1DW O0WJ         &KLFDJR,/           VHS
                                           *HUPDQD                                   )                                    $FWXDO                   0$$&%$$QQXDO&RQIHUHQFH
                                           *HUPDQD                                   )                                       $FWXDO                     7KRPVRQ5HXWHUV )LQDQFH)RUXP                    1<1<                0D\
                                           *KLWXOHVFX                                )                              $FWXDO                      $FDGHP\RI0DQDJHPHQW$QQXDO&RQIHUHQFH           9DQFRXYHU&DQDGD     VHS
                                           +XJKHV                                    )                              $FWXDO                     ,QWHUQDWLRQDO$FDGHP\RI%XVLQHVVDQG(FRQRPLFV   6DQ)UDQFLVFR&$     $SU
                                           .DUORZLWVFK                               )                                       $FWXDO                      $OXPQL1LJKW                                      1<1<                0D\
                                           .HHS                                      )                                    $FWXDO                  0$$&%$$QQXDO&RQIHUHQFH
                                           .HHS                                      )                                    $FWXDO                    ,6$WRXU
                                           .HHS                                      )                                    $FWXDO                    3DQHOGLVFXVVLRQ+RXVHRI5HSUHVHQWDWLYHV
                                           .HHS                                      )                                       $FWXDO                      7KRPVRQ5HXWHUV )LQDQFH)RUXP                    1<1<                0D\
                                           .LP                                       )                                    $FWXDO                       )LQDQFLDO0DQDJHPHQW$VVRFLDWLRQ$QQXDO0HHWLQJ 2UODQGR)/             QRY
                                           .LP                                       )                                    $FWXDO                        (DVWHUQ)LQDQFH$VVRFLDWLRQ$QQXDO0HHWLQJ        %DOWLPRUH0'         $SU
                                           .LP                                       )                                       $FWXDO                      7KRPVRQ5HXWHUV )LQDQFH)RUXP                    1<1<                0D\
                                           .UDYLW]                                   )                                  $FWXDO                        $$%5,,QWHUQDWLRQDO&RQIHUHQFH                    6DQ$QWRQLR7;                                     'LGQRWJR
                                           /DVKHU                                    )                              $FWXDO                     $FDGHP\RI/HJDO6WXGLHVLQ%XVLQHVV              3KLODGHOSKLD3$      VHS
                                           /DVKHU                                    )                              $FWXDO                        1($FDGHP\RI/HJDO6WXGLHVLQ%XVLQHVV           0DQFKHVWHU97        MXQH
                                           /HYHQ                                     )                              $FWXDO                      ,QWHUQDWLRQDO&RQIHUHQFHRQ(83HQVLRQ%HQHILWV   :DUVDZ3RODQG        MXQH
                                           /LOOHYLN                                  )                              $FWXDO                      $FDGHP\RI0DQDJHPHQW$QQXDO&RQIHUHQFH           9DQFRXYHU&DQDGD     VHS
                                           /LOOHYLN                                                                          $FWXDO                         +50$DQQXDOGLQQHU                                3ULQFHWRQ1-         -XQH
                                           0F&DUW\                                   )                              $FWXDO                       $VVRFLDWLRQIRU&RQVXPHU5HVHDUFK$QQXDO&RQI
                                           0LFKHOV                                   )                                    $FWXDO                        $FDGHP\RI/HJDO6WXGLHVLQ%XVLQHVV              3KLODGHOSKLD3$      $SU
                                           0LUWFKHYD                                 )                              $FWXDO                    (DVWHUQ(FRQRPLF$VVRFLDWLRQ                      :DVKLQJWRQ'&        $SU
                                           0LUWFKHYD                                 )                                          (VWLPDWH                       7UDLQLQJLQ&RVW(IIHFWLYHQHVV %HQHILW&RVW    1<1<                -XO\
                                                                                                                                                                                                0HWKRGV
                                           0LUWFKHYD                                 )                                       $FWXDO                     2'(8QGHUJUDGXDWH(FRQRPLFV&RQIHUHQFH       &ROOHJHYLOOH3$      0D\
                                           0RQVHDX                                   )                                $FWXDO                     1RUWK(DVW$FDGHP\RI/HJDO6WXGLHV$QQXDO       0DQFKHVWHU97        0D\
                                                                                                                                                                                                0HHWLQJ
                                           1DSOHV                                    )                                  $FWXDO                       (DVWHUP(FRQRPLF$VVRFLDWLRQ                      :DVKLQJWRQ'&                                      'LGQRWJR
                                           1DSOHV                                    )                                     $FWXDO                       )HG&KDOOHQJH                                     3KLODGHOSKLD3$
                                           1RXUL                                     )                              $FWXDO                        $PHULFDQ$FFRXQWLQJ$VVRFLDWLRQ1DW O0WJ         &KLFDJR,/           VHS
                                           2 *UDG\                                   )                                   $FWXDO                       :DWHU(YROXWLRQRI2ZQHUVKLS                     7XFVRQ$=            MXQH
                                           2 *UDG\                                   )                                          (VWLPDWH                            $VVRFLDWLRQRI(QYLURDQG5HVRXUFHV(FRQRPLVWV                          MXO\
                                                                                                                                                                                                                                                                                   7&1-
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                                                                                                                                                                     &zϮϬϭϲ&ĂĐƵůƚǇdƌĂǀĞůZĞƋƵĞƐƚƐ                                                                                                        WĂŐĞϮŽĨϮ
                                                 )DFXOW\                          7\SHRI       $PRXQW     $PRXQW$SSURYHG   $PRXQW([SHQGHG (VWLPDWHRU   $FWXDO(VWLPDWH     7UDYHO'DWHV                         &RQIHUHQFH                               /RFDWLRQ       5HIOHFWHGRQ%XGJHWVKHHW
                                           3HOKDP                                   )                                        $FWXDO                          3L6LJPD(SVLORQ5HJLRQDO&RPSHWLWLRQ                /DQJKRUQH3$       QRY
                                           3HOKDP                                    )                                       $FWXDO                          :D\QH3DWWHUVRQ81DWLRQDO6DOHV&KDOOHQJH          :D\QH1-           GHF
                                           3HOKDP                                    )                                       $FWXDO                            )ORULGD6WDWH8QLYHUVLW\,QW O6DOHV&RPSHWLWLRQ     2UODQGR)/         GHF
                                           3HOKDP                                    )                                       $FWXDO                           1RUWKHDVW,QWHUFROOHJLDWH6DOHV&RPSHWLWLRQ          6PLWKILHOG5,      GHF
                                           3HOKDP                                    )                                       $FWXDO                         1DWLRQDO&ROOHJLDWH6DOHV&RPSHWLWLRQ                .HQQHVDZ*$        $SU
                                           6DPDQWD                                   )                                       $FWXDO                         $QQXDO&RQIHUHQFHRI$66$                            6DQ)UDQFLVFR&$   RFW
                                           6DPDQWD                                   )                                 $FWXDO                    %LHQQLDOFRQIHUHQFHRI,QGLDQ-RXUQDORI(FRQRPLFV   .RONDWD,QGLD      "
                                           6DPDQWD                                   )                                          $FWXDO                        2'(8QGHUJUDG5HVHDUFK&RQI                         &ROOHJHYLOOH3$    $SU
                                           7DQJ                                      )                                          (VWLPDWH                      ,QWHUQDWLRQDO&RQIHUHQFHRQ0DQDJHPHQW          7DLSHL7DLZDQ      $XJXVW
                                           7XFFL                                     )                                  $FWXDO                        ,QWHUQDWLRQDO$FDGHP\RI%XVLQHVV 3XEOLF$GPLQ      2UODQGR)/         RFW
                                           7XFFL                                     )                                        $FWXDO                 6$6:RUNVKRSVLQ'DWD0LQLQJ                          )ORULGD             RFW
                                           7XFFL                                     )                                       $FWXDO                           6DZWRRWK6RIWZDUH0DUNHWLQJ$QDO\WLFV          0'                  $SU
                                                                                                                                                                                                    &RQVXOWLQJ&KDOOHQJH
                                           7XFFL                                     )                                              (VWLPDWH                      0DQKDWWHQ&ROOHJH$QDO\WLFV&RPSHWLWLRQ              1<1<              -XQH
                                           9DQGHJULIW                                )                                           $FWXDO                            3KLOD)HG3ROLF\)RUXP                               3KLODGHOSKLD3$
                                           9DQGHJULIW                                )                                        $FWXDO                      2'(8QGHUJUDGXDWH(FRQRPLFV&RQIHUHQFH          &ROOHJHYLOOH3$    0D\
                                           :DOODFH                                   )                                      $FWXDO                        1DWLRQDO%XVLQHVVDQG(FRQRPLFV6RFLHW\&RQI         /RV&DERV0H[LFR                                 'LGQRWJR
                                                                                                                                                                                                     >ĞŐĞŶĚĨŽƌďďƌĞǀŝĂƚŝŽŶƐ͗
                                           7RWDODOOWULSVDOOIDFXOW\                                                                                         ͗ĞǀĞůŽƉŵĞŶƚ
                                           $YHUDJHSHUWULS                                                                                                                                   E͗EĂƚŝŽŶĂůŽŶĨĞƌĞŶĐĞ
                                           $YHUDJHSHUIDFXOW\                                   
                                                                                                                                                                                                     Z͗ZĞŐŝŽŶĂůŽŶĨĞƌĞŶĐĞ
                                                                                                                                                                                                     &͗&ĂĐƵůƚǇĞǀĞůŽƉŵĞŶƚ
                                                                                             1RQ6WXGHQW                                                                                   Z͗ZĞĐƌƵŝƚŝŶŐ
                                                                                             6WXGHQW                                                                                       ^͗^ƚĂĨĨĞǀĞůŽƉŵĞŶƚ
                                                                                                                                                                                                     Ed͗EĞƚǁŽƌŬŝŶŐ
                                                                                                                                                                                                     ͗ŚĂŝƌĂƐĞƐƐŝŽŶ͕ƉĂƌƚŝĐŝƉĂƚĞŝŶĚŝƐĐƵƐƐŝŽŶ͕ƉƌĞƐĞŶƚĞƌ
                                                                                                                                                                                                     ͗^
                                                                                                                                                                                                     ^͗^ƚƵĚĞŶƚĐƚŝǀŝƚǇ
                                                                                                                                                                                                                                                                                        7&1-
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                                                                                                                                                                                                                                          &ĂĐƵůƚǇĞǀĞůŽƉŵĞŶƚ                                                                                                                                             WĂŐĞϭŽĨϭ
                                                                                         )DFXOW\                 7\SHRI    $PRXQW       $PRXQW$SSURYHG     $PRXQW([SHQGHG (VWLPDWHRU    $FWXDO       7UDYHO'DWHV                       &RQIHUHQFH7UDLQLQJ                 /RFDWLRQ       5HIOHFWHGRQ%XGJHWVKHHW
                                                                                  $KODZDW                                                             $FWXDO                     3DSHU3UHVHQWDWLRQ                         9HQLFH,WDO\        -XO\
                                                                                  7XFFL                             )                                  $FWXDO                      6$6+HDGTXDUWHUV                            &DU\1&            6HSWHPEHU
                                                                                  6DPDQWD                           )                                  $FWXDO                     6$6+HDGTXDUWHUV                            &DU\1&            $XJXVW
                                                                                  %DNHU                             )                                  $FWXDO                           $PHULFDQ(FRQRPLF$VVRFLDWLRQ               6DQ)UDQFLVFR&$   0DUFK
                                                                                  0LUWFKHYD                         )                                             (VWLPDWH                          7HDFKHUV&ROOHJH&ROXPELD8QLYHUVLW\       1HZ<RUN1<        MXQ
                                                                                  *KLWXOHVFX                        )                                      $FWXDO                     $FDGHP\RI0DQDJHPHQW$QQXDO&RQIHUHQFH     9DQFRXYHU&DQDGD   2FWREHU
                                                                                  +XPH                              )                                           $FWXDO                5XWJHUV8QLHUVLW\,QQRYDWLRQLQ%XV(G      1HZ%UXQVZLFN1-   $SULO
                                                                                  %UHFKPDQ                          6                                     $FWXDO                       ,QWHUQDLRQDO&RQVXPHU(OHFWURQLFV6KRZ    /DV9HJDV19       MDQ"
                                                                                  $$&6%                             6                                   $FWXDO              $$&6%                                       %RVWRQ0$          0D\                            %UHFKPDQ 3' &KRL  %UDHQGHU  +XPH 
                                                                                  /HYHQ                             6                                         $FWXDO                 7KH&RXQFLOIRU(XURSHDQ6WXGLHV            3KLODGHOSKLD3$    $SULO
                                                                                  .UDYLW]                           )                                         $FWXDO                          $FDGHPLF&KDLUV&RQIHUHQFH                  &KDUOHVWRQ6&       )HEUXDU\
                                                                                  3DWULFN                           )                                       $FWXDO                       $FDGHPLF&KDLUSHUVRQV&RQIHUHQFH       &KDUOHVWRQ6&       )HEUXDU\
                                                                                  6DPDQWD                           )                                       $FWXDO                     $FDGHPLF&KDLUSHUVRQV&RQIHUHQFH       &KDUOHVWRQ6&       )HEUXDU\
                                                                                  'LHWHULFK                         )                                   $FWXDO                   $$&6%,QWHUQDWLRQDO&RQIHUHQFH              %RVWRQ0$          $SU                             UHJRQSFDUG
                                                                                  .UDYLW]                           6                                            $FWXDO                         +RW7RSLFVLQ(PSOR\PHQW/DZ                3ULQFHWRQ1-       0D\
                                                                                  7RWDODOOWULSVDOOIDFXOW\                                                   
                                                                                  $YHUDJHSHUWULS                           
                                                                                  $YHUDJHSHUIDFXOW\                        
                                                                                                                            %XGJHW7RWDO                   
                                                                                                                             5HPDLQLQJ                       
                                                                                                                                           $PRXQW$SSURYHG $PRXQW([SHQGHG
                                                                                                                                                                                                 
                                                                                                                                                             
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                                                                                                                                                                                      &zϮϬϭϳ&ĂĐƵůƚǇdƌĂǀĞůZĞƋƵĞƐƚƐ                                                                                                                       WĂŐĞϭŽĨϮ
                                                                                  )DFXOW\   7\SHRI    $PRXQW    $PRXQW$SSURYHG   $PRXQW([SHQGHG      'LII     $FWXDO(VWLPDWH         7UDYHO'DWHV                              &RQIHUHQFH                             /RFDWLRQ    5HIOHFWHGRQ
                                                                                            5HTXHVW    5HTXHVWHG                                       (VW$FWXDO                                                                                                                        %XGJHWVKHHW
                      /LOOHYLN:DKHHGD                                                        )                                        $FWXDO                   $FDGHP\RI0DQDJHPHQW                                 $QDKHLP&$          6HSW
                      'LHWHULFK7DPP\                                                        6'                                             $FWXDO                 3$&RQIHUHQFHIRU:RPHQ                               3KLODGHOSKLD3$     2FW            5HJIRUERWKSGRQSFDUG
                      .DUORZLWVFK3DWW\                                                      6'                                              $FWXDO                 3$&RQIHUHQFHIRU:RPHQ                               3KLODGHOSKLD3$     2FW            7'SDLGWUDLQWUDYHO
                      3DWULFN7KRPDV                                                          5                                            $FWXDO               1RUWKHDVW%XV (FRQ$VVRF$QQXDO0HHWLQJ             :HVW3RLQW1<       1RY
                      3HOKDP$OIUHG                                                           5                                              $FWXDO               1RUWKHDVW,QWHUFROOHJLDWH6DOHV&RPSHWLWLRQ           6PLWKILHOG5,       1RY
                      3HOKDP$OIUHG                                                           5                                              $FWXDO               :D\QH3DWWHUVRQ81DWLRQDO6DOHV&KDOOHQJH           :D\QH1-            1RY
                      3HOKDP$OIUHG                                                           6                                           $FWXDO                 )68,QWHUFROOHJLDWH6DOHV&RPSHWLWLRQ                 2UODQGR)/          1RY             3DLGVWXGHQWKRWHODSSURYHGIRUVWXGHQWWUDYHO
                      +XPH6XVDQ                                                              )                                              $FWXDO                 $FDGHP\RI%XVLQHVV&RQIHUHQFH                        $WODQWLF&LW\1-    1RY
                      3HOKDP$OIUHG                                                           5                                      $FWXDO                 36(1DWLRQDO&RPSHWLWLRQ                              6W/RXLV02        0D\
                      %HDJLQ1LFROH                                                           $                                                 $FWXDO                 6WRXW$OXPQL(YHQW                                    1<1<               0D\
                      'LHWHULFK7DPP\                                                         $                                               $FWXDO                 6WRXW$OXPQL(YHQW                                    1<1<               0D\
                      +RUQHU6WHSKDQLH                                                        $                                                 $FWXDO                 6WRXW$OXPQL(YHQW                                    1<1<               0D\
                      .HHS:LOOLDP                                                            $                                                $FWXDO                 6WRXW$OXPQL(YHQW                                    1<1<               0D\
                      +XPH6XVDQ                                                              5                                            $FWXDO                0XOWLSOH        &)$,QYHVWHPHQW5HVHDUFK&KDOOHQJH                    1<1<               0D\
                      6RURNLQD1RQQD                                                          5                                                $FWXDO                   1<)HG1<8&RQIHUHQFH                                  1<1<               0D\
                      /LOOHYLN:DKHHGD                                                        5                                                $FWXDO                   +066+506WXGHQW&KDSWHU6FKRODUVKLS                  3ULQFHWRQ1-        0D\
                      2 *UDG\7UHYRU                                                          )                                     $FWXDO                   $66$$QQXDO0HHWLQJ                                   &KLFDJR,/          0DUFK
                      0LUWFKHYD'RQND                                                         )                                        $FWXDO                 (DVWHUQ(FRQRPLF$VVRF                               1<1<               0DUFK
                      .HHS:LOOLDP                                                            1                                      $FWXDO                   $$&6%$QQXDO'HDQV&RQIHUHQFH                         1HZ2UOHDQV/$      0DUFK           5HJSDLGVHSDUDWHO\ZSFDUG
                      6RURNLQD1RQQD                                                          )                                             $FWXDO                 &DVH0HWKRG7HDFKLQJ6HPLQDU                          %RVWRQ0$           0DUFK
                     :DOODFH3DWULFLD                                                         )                                        $FWXDO                  1%(6WK$QQXDO&RQIHUHQFH                           9DOODUWD0H[LFR     0DUFK
                     %UHFKPDQ-HDQ                                                           )'                                             $FWXDO               $GYHUWLVLQJ$JH                                      'HWURLW0,          -XQH
                     0LFKHOV.HYLQ                                                           )                                               $FWXDO                                3URSHOOHU&RQI                                        3KLODGHOSKLD3$     -XQH            'LGQRWDWWHQGGXHWRLOOQHVVUHJSDLGRQSFDUG
                     +XPH6XVDQ                                                              '                                             $FWXDO                 ,QWURGXFWLRQWR(6*6XVWDLQDEOH ,PSDFW,QYHVWLQJ   %DUXFK&ROOHJH1<   -XQH            %DODQFHSGWKURXJK$$7UDYHO
                     /HYHQ%R]HQD                                                            )                                             $FWXDO                 WK,QWHUQDWLRQDO&RQJUHVVRI3ROLVK6WXGLHV          .UDNRZ3RODQG       -XQH            %DODQFHSGWKURXJK$$7UDYHO
                     .HHS:LOOLDP                                                           1(7                                                 $FWXDO                 $OXPQLYLVLW                                          1<1<               -XO\
                     .HHS:LOOLDP                                                           1(7                                      $FWXDO                 +HLGHOEHUJ)LQODQGDQG6SDLQ                         *HUPDQ\6SDLQ        -DQ$SULO       $LUIDUHKLW-DQ7UDYHOH[SHQVHV
                                                                                                                                                                                                                                                                                                         $SULO5HLPEXUVHDLUIDUH
                      1DSOHV0LFKHOOH                                                        5                                                 $FWXDO                      )HG&KDOOHQJH                                         (DVWRQ3$           -DQ
                      6DPDQWD6XEDUQD                                                        )                                              $FWXDO                      )LJKWLQJWKH1H[W5HFLVVLRQ&RQIHUHQFH                :DVKLQJWRQ'&       -DQ
                      .HHS:LOOLDP                                                           5                                               $FWXDO               0$$&%$'HDQV&RQIHUHQFH                               1<1<               -DQ             5HJSDLGVHSDUDWHO\ZSFDUG
                      .HHS:LOOLDP                                                          1(7                                                 $FWXDO               $OXPQLYLVLW                                          1<1<               -DQ
                      7XFFL/RX                                                              )                                         $FWXDO                   ,$%3$'                                                2UODQGR)/          )HE
                      'XDQ-LQJ\L                                                            1                                       $FWXDO                 6RFLHW\IRU&RQVXPHU3V\FKRORJ\$QQXDO&RQIHUHQFH     6DQ)UDQFLVFR&$    )HE
                      1RXUL+RVVHLQ                                                          1                                              $FWXDO                 $$$)RUHQFLV$FFRXQWLQJ&RQIHUHQFH                    2UODQGR)/          )HE
                      6DPDQWD6XEDUQD                                                        5                                              $FWXDO                 (DVWHUQ(FRQRPLF$VVRF                               1<1<               )HE
                      'LHWHULFK7DPP\                                                       1(7                                               $FWXDO                   :HOOV)DUJR6LWH9LVLW                                1<1<               )HE
                      +RUQHU6WHSKDQLH                                                      1(7                                                 $FWXDO                   :HOOV)DUJR6LWH9LVLW                                1<1<               )HE
                      %DNHU5LFKDUG                                                         5&                                         $FWXDO                   $OOLHG6RFLDO6FLHQFHV$VVRF0HHWLQJ                  &KLFDJR,/          )HE             %DODQFHSGWKURXJK$$7UDYHO
                      'RPLQJR0DULD                                                          )                                         $FWXDO                 $PHULFDQ$FFRXQWLQJ$VVRFLDWLRQ$QQXDO0HHWLQJ        1<1<               $XJXVW
                      0F&DUW\-RKQ                                                          5&                                               $FWXDO                   $PHULFDQ0DUNHWLQJ$VVRFLDWLRQ&RQIHUHQFH             $WODQWD*$          $XJXVW          'LIIHUHQFHLQ$$UHLPEXUVHPHQW
                      &KLDQJ%LK+RUQJ                                                      5&                                      $FWXDO                  $PHULFDQ$FFRXQWLQJ$VVRFLDWLRQ$QQXDO0HHWLQJ        1<1<               $XJXVW
                      /DVKHU1DQF\                                                            )                                        $FWXDO                  $FDGHP\RI/HJDO6WXGLHVLQ%XVVLQHVV$QQXDO&RQI     6DQ-XDQ35         $XJXVW
                                                                                                                                                                                                                                                                                                                7&1-
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                                                                                                                                                                                                 &zϮϬϭϳ&ĂĐƵůƚǇdƌĂǀĞůZĞƋƵĞƐƚƐ                                                                                                               WĂŐĞϮŽĨϮ
                                                                                  )DFXOW\    7\SHRI       $PRXQW           $PRXQW$SSURYHG   $PRXQW([SHQGHG      'LII     $FWXDO(VWLPDWH        7UDYHO'DWHV                             &RQIHUHQFH                            /RFDWLRQ   5HIOHFWHGRQ
                                                                                             5HTXHVW       5HTXHVWHG                                              (VW$FWXDO                                                                                                                    %XGJHWVKHHW
                      0RQVHDX6XVDQQD                                                           )                                               $FWXDO                  $FDGHP\RI/HJDO6WXGLHVLQ%XVVLQHVV$QQXDO&RQI   6DQ-XDQ35       $XJXVW          3GIRUFRQIUHJRQ3FDUG
                      1RXUL+RVVHLQ                                                             )                                               $FWXDO                  $PHULFDQ$FFRXQWLQJ$VVRFLDWLRQ$QQXDO0HHWLQJ      1HZ<RUN1<       $XJXVW
                      'LHWHULFK7DPP\                                                          6                                                        $FWXDO                 )LQDQFH)RUXP                                       1<1<             $SULO
                      +RUQHU6WHSKDQLH                                                          6                                                          $FWXDO                 )LQDQFH)RUXP                                       1<1<             $SULO
                      .HHS:LOOLDP                                                              6                                                         $FWXDO                 )LQDQFH)RUXP                                       1<1<             $SULO
                      3HOKDP$OIUHG                                                             5                                                       $FWXDO                  1DWLRQDO&ROOHJLDWH6DOHV&RPSHWLWLRQ               .HQQHVDZ*$       $SULO
                      9DQGHUJULIW'RQ                                                           6                                                         $FWXDO                 2'(5HVHDUFK&RQIHUHQFH8UVLQXV                   &ROOHJHYLOOH3$   $SULO
                      6RURNLQD1RQQD                                                           1                                                           $FWXDO                 6WRXW$OXPQL(YHQW                                  1<1<             $SULO
                      3DWULFN7KRPDV                                                           1                                                          $FWXDO                 6WRXW$OXPQL(YHQW                                  1<1<             $SULO
                      3DWULFN7KRPDV                                                           1                                                          $FWXDO                 )LQDQFH)RUXP                                       1<1<             $SULO
                      +XPH6XVDQ                                                               1                                                          $FWXDO                 )LQDQFH)RUXP                                       1<1<             $SULO
                      6RURNLQD1RQQD                                                           1                                                           $FWXDO                 )LQDQFH)RUXP                                       1<1<             $SULO
                      &KRL6HXQJ+HH                                                           1                                                         $FWXDO                 )LQDQFH)RUXP                                       1<1<             $SULO
                      'LHWHULFK7DPP\                                                          5&                                                         $FWXDO               3LFNXSVHDUFKFDQGLGDWHDWDLUSRUW                 3KLODGHOSKLD3$   $SULO
                      9DQGHUJULIW'RQ                                                          5&                                                       $FWXDO                   $PHU(FRQ$VVRFLDWRQ                                &KLFDJR,/        -DQ             %DODQFHSGWKURXJK$$7UDYHO
                      +XPH6XVDQ                                                                5                                                 $FWXDO                                *$0(6WXGHQW,QYHVWPHQW)RUXP                       1<1<                             'LGQRWGRWKLV\HDU
                      $KODZDW6XQLWD                                                           5&                                                 $FWXDO                   $PHULFDQ$FFRXQWLQJ$VVRFLDWLRQ$QQXDO0HHWLQJ      1<1<                             'LGQRWDWWHQG
                      $YHUDJHSHUIDFXOW\                                                                                                                                                    >ĞŐĞŶĚĨŽƌďďƌĞǀŝĂƚŝŽŶƐ͗
                      $YHUDJHSHUWULS                                                                       
                      7RWDODOOWULSVDOOIDFXOW\                                                                                                           ͗ĞǀĞůŽƉŵĞŶƚ
                                                                                                                                                                                                    E͗EĂƚŝŽŶĂůŽŶĨĞƌĞŶĐĞ
                                                                                            5HTXHVWHGQRWDSSURYHG                                                                                  Z͗ZĞŐŝŽŶĂůŽŶĨĞƌĞŶĐĞ
                                                                                            $SSURYHGSHQGLQJWUDYHO                                                                                &͗&ĂĐƵůƚǇĞǀĞůŽƉŵĞŶƚ
                                                                                            ([SHQVHUHSRUWFRPSOHWHG                                                                                Z͗ZĞĐƌƵŝƚŝŶŐ
                                                                                                                                                                                                    ^͗^ƚĂĨĨĞǀĞůŽƉŵĞŶƚ
                                                                                                                                                                                                    Ed͗EĞƚǁŽƌŬŝŶŐ
                                                                                                                                                                                                    ůƵŵŶŝ͗ůƵŵŶŝEĞƚǁŽƌŬŝŶŐĐƚŝǀŝƚǇ
                                                                                                                                                                                                    ͗ŚĂŝƌĂƐĞƐƐŝŽŶ͕ƉĂƌƚŝĐŝƉĂƚĞŝŶĚŝƐĐƵƐƐŝŽŶ͕ƉƌĞƐĞŶƚĞƌ
                                                                                                                                                                                                    ͗^
                                                                                                                                                                                                    ^͗^ƚƵĚĞŶƚĐƚŝǀŝƚǇ
                                                                                                          7RWDO7ULSVDOO      
                                                                                                         LQFOXGLQJSFDUG        
                                                                                                           UHJLVWUDWLRQV
                                                                                                                                 
                                                                                                                                                                                                                                                                                                                       7&1-
                                                                                                                                                                                                       &ĂĐƵůƚǇĞǀĞůŽƉŵĞŶƚ                                                                                                                                  WĂŐĞϭŽĨϭ
                                                                                        )DFXOW\              7\SHRI       $PRXQW     $PRXQW$SSURYHG $PRXQW([SHQGHG (VWLPDWHRU     $FWXDO     7UDYHO'DWHV                     &RQIHUHQFH7UDLQLQJ                            /RFDWLRQ       5HIOHFWHGRQ
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                                                                                                             5HTXHVW       5HTXHVWHG                                      $FWXDO        (VWLPDWH                                                                                                    %XGJHWVKHHW
                                                                                  7XFFL/RXLV                   )'                                           $FWXDO           5HWDLO V$FDGHPLF6\PSRVLXP                           1<1<                 6HSW
                                                                                  7XFFL/RXLV                   )'                                          $FWXDO         6$6:RUNVKRSVIRU(GXFDWRUV                           &DU\1&               )HE             %DODQFHSDLGZLWK&'&IXQGV
                                                                                  %DNHU5LFKDUG                 )'                                     $FWXDO         (FRQRPLF+LVWRU\$VVRF$QQXDO0HHWLQJ                 %RXOGHU&2            2FWREHU
                                                                                  &KLDQJ%LK+RUQJ               )                                      $FWXDO         $$$$QQXDO0HHWLQJ                                                                           1RWDWWHQGLQJ
                                                                                  7XFFL/RXLV                   )'                                               $FWXDO                $UWLILFLDO,QWHOOLJHQFHLQ0DUNHW5HVHDUFK            3KLODGHOSKLD           1RYHPEHU
                                                                                  7XFFL/RX                      )                                           $FWXDO              3/63DWK0RGHOLQJ2QOLQH:HELQDU                      2QOLQH                 2FW
                                                                                  .LP7DH1\XQ                   )                                        $FWXDO       )0$$QQXDO0HHWLQJ                                    /DV9HJDV19          2FW
                                                                                  3DWULFN7KRPDV                )'                                      $FWXDO          $$&6%&KDLUV&RQIHUHQFH                               1HZ2UOHDQV/$        0DUFK
                                                                                  0LUWFKHYD'RQND                )                                            $FWXDO           3$(FRQRPLF$VVRF                                     5HDGLQJ3$                            1RWDWWHQGLQJ
                                                                                  .LP7DH1\XQ                   )                                            $FWXDO          6:)$$QQXDO0HHWLQJ                                   /LWWOH5RFN$.                        ELUWKRIGDXJKWHUGLGQRWJR
                                                                                  2 *UDG\7UHYRU                 )                                            $FWXDO          $VVRFRI(QYLURQ 5HVRXUFH(FRQRPLVWV                3LWWVEXUJK3$                         'LGQRWJR
                                                                                  6RURNLQD1RQQD                 )                                      $FWXDO         WK&)$,QVWLWXWH$QQXDO&RQIHUHQFH                  3KLODGHOSKLD           -XQH
                                                                                  6DPDQWD6XEDUQD                )                                            $FWXDO         6$6:RUNVKRS                                          &DU\1&               -DQ
                                                                                  6DPDQWD6XEDUQD               )                                             $FWXDO         6$6:RUNVKRS                                          &DU\1&               -DQ
                                                                                  /DVKHU1DQF\                  1                                       $FWXDO         1RUWKHDVW$FDGRI/HJDO6WXGLHVLQ%XVLQHVV           &RRSHUVWRZQ1<                        'LGQRWJR
                                                                                  0RQVHDX6XVDQQD                5                                            $FWXDO         1($/6%$QQXDO&RQIHUHQFH                              &RRSHUVWRZQ1<                        'LGQRWJR
                                                                                  %UDHQGDU/\QQ                 )'                                               $FWXDO         1-('JH$QQXDO)DFXOW\6KRZFDVH                        :/RQJEUDQFK1-                      'LGQRWJRGXHWRVQRZVWRUP
                                                                                  2 *UDG\7UHYRU                )'                                            $FWXDO        $3((,QWHUQDWLRQDO&RQIHUHQFH                    /DKDLQD+,            0D\
                                                                                  /LOOHYLN:DKHHGD              )'                                           $FWXDO         6+50&DVH&RPSHWLWLRQ &DUHHU6XPPLW                 3KLODGHOSKLD           $SULO
                                                                                  %UHFKPDQ-HDQ                 )'                                           $FWXDO       $GYHUWLVLQJ$JH                                      'HWURLW0,            -XQH
                                                                                  6RURNLQD1RQQD                )'                                             $FWXDO           &)$/HYHO,,([DP                                     3KLODGHOSKLD           -XQH
                                                                                  6RURNLQD1RQQD                )'                                          $FWXDO         $SSOLHG)LQDQFH&RQIHUHQFH                       1<1<                 0D\
                                                                                  .HHS:LOOLDP                  )'                                      $FWXDO           0DUNHWLQJ+LVWRU\&RQIHUHQFH                          /LYHUSRRO8.          -XQH
                                                                                  7DQJ/LQJKXL                  1                                       $FWXDO         WK*,.$&RQIHUHQFH                                   /LVERQ3RUWXJDO                       1RWDWWHQGLQJ
                                                                                  /HYHQ%R]HQD                   )                                      $FWXDO         WK,QWHUQDWLRQDO&RQJUHVVRI3ROLVK6WXGLHV          .UDNRZ3RODQG         -XQH
                                                                                  %DNHU5LFKDUG                 5&                                      $FWXDO           $OOLHG6RFLDO6FLHQFHV$VVRF0HHWLQJ                  &KLFDJR,/            )HE
                                                                                  0LUWFKHYD'RQND                6                                             $FWXDO         2'(5HVHDUFK&RQIHUHQFH8UVLQXV                     &ROOHJHYLOOH3$       $SULO           7UDQVIHUUHGEDODQFHIURP
                                                                                  1DSOHV0LFKHOOH                6                                              (VWLPDWH        2'(5HVHDUFK&RQIHUHQFH8UVLQXV                     &ROOHJHYLOOH3$                       'LGQRWJR
                                                                                  6RURNLQD1RQQD                )'                                               $FWXDO         %ORRPEHUJFRQIHUHQFH                                  1<1<                 -XQH
                                                                                  7XFFL/RX                     5                                           $FWXDO         0DQKDWWDQ&ROOHJH$QDO\WLFV&RPSHWLWLRQ               %URQ[1<              0D\
                                                                                  .LP7DH1\XQ                   )                                               $FWXDO         %ORRPEHUJ7UDLQLQJ                                    1<1<                 -XQH            'LGQRWDWWHQG
                                                                                  7DQJ/LQJKXL                   )                                      $FWXDO         ,QW O&RQIRQ0JPWLQ3DFLILF5LP                7DLSHL7DLZDQ         -XO\
                                                                                  6DPDQWD6XEDUQD                )                                      $FWXDO          %XVLQHVV (FRQRPLF6RFLHW\,QWHUQDWLRQDO             /MXEODMDQD6ORYHQLD   $XJXVW
                                                                                  0LOOHU*HUDOG                 5&                                          $FWXDO           $PHULFDQ$FFRXQWLQJ$VVRFLDWLRQ$QQXDO0HHWLQJ        1<1<                 $XJXVW          7KLVZDVQRWDSSURYHGE\7'DSSURYHGE\6$
                                                                                  1HYHV-RDR                    5&                                          $FWXDO           $FDGHP\RI0DQDJHPHQW$QQXDO&RQIHUHQFH               $QDKHLP&$            6HSW           'LIIHUHQFHLQ$$UHLPEXUVHPHQW
                                                                                  +XPH6XVDQ                     )                                             $FWXDO         %ORRPEHUJ7UDLQLQJ                                    1<1<                 -XQH
                                                                                  +XPH6XVDQ                    '                                             $FWXDO         ,QWURGXFWLRQWR(6*6XVWDLQDEOH ,PSDFW,QYHVWLQJ   %DUXFK&ROOHJH1<     -XQH            %DODQFHSGWKURXJK$$7UDYHO
                                                                                  7RWDODOOWULSVDOOIDFXOW\                                
                                                                                  $YHUDJHSHUWULS                          
                                                                                  $YHUDJHSHUIDFXOW\                       
                                                                                                                         %XGJHW7RWDO               
                                                                                                                            5HPDLQLQJ                    
                                                                                                           5HTXHVWHGQRWDSSURYHG
                                                                                                           $SSURYHGSHQGLQJWUDYHO
                                                                                                           ([SHQVHUHSRUWFRPSOHWHG
                                                                                                                                                                                                                                                                                                                           7&1-
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                                                                                                                                                                                                      &zϮϬϭϴ&ĂĐƵůƚǇdƌĂǀĞůZĞƋƵĞƐƚƐ                                                                                                                                   WĂŐĞϭŽĨϮ
                                                                                  )DFXOW\   7\SHRI    3URJUDP     $PRXQW5HTXHVWHG   $PRXQW$SSURYHG $PRXQW([SHQGHG 'LII(VW$FWXDO   $FWXDO(VWLPDWH        7UDYHO'DWHV                            &RQIHUHQFH                    /RFDWLRQ        5HIOHFWHGRQ
                                                                                            5HTXHVW                                                                                                                                                                                                   %XGJHWVKHHW
                                                                      $KODZDW6XQLWD          )       $FFRXQWLQJ                                                  $FWXDO                  )RUHQVLF$FF5HVHDUFK&RQI                   'DOODV7;             $SULO        VXEPLWWHGH[SHQVHVZHUH
                                                                      %HDJLQ1LFROH          6'          6WDII                                                      $FWXDO                3$&RQIHUHQFHIRU:RPHQ                      3KLODGHOSKLD3$       -XO\2FWREHU 5HJRQSFDUGMXO\H[SHQVHVRFW
                                                                      %HDJLQ1LFROH           1          6WDII                                                 $FWXDO              0$&&%$                                       3KLODGHOSKLD3$       $XJXVW1RYHPUHJSDLGRQ3FDUG$XJXVW
                                                                      %HDJLQ1LFROH           1          6WDII                                                          $FWXDO                )LQDQFH)RUXP                                1<1<                 $SULO
                                                                      %HDJLQ1LFROH           $          6WDII                                                     $FWXDO                6WRXW$OXPQL(YHQW                           1<1<                 -XQH
                                                                      %HDJLQ1LFROH           1          6WDII                                                       $FWXDO                  )5(6+                                        1<1<                 -XQH
                                                                      %HFNHU.DUHQ            5       (FRQRPLFV                                           $FWXDO              5HVSRQVLEOH%XVLQHVV6XPPLW                  6DQ)UDQFLVFR&$      1RYHPEHU
                                                                      %UHFKPDQ-HDQ           5        0DUNHWLQJ                                            $FWXDO                (DVWHUQ&RPPXQLFDWLRQ$VVRF                  3LWWVEXUJK3$         $SULO        &DQFHOOHG
                                                                      %UHFKPDQ-HDQ           5        0DUNHWLQJ                                                 $FWXDO              ,QQRYDWLRQVLQ8QGHUJUDG%XV(G              /LYLQJVWRQ1-         2FW          3'RQSFDUGIRUUHJ
                                                                      &KLDQJ%HD              5       $FFRXQWLQJ                                           $FWXDO                0LG$WODQWLF5HJLRQDO0HHWLQJ                %DOWLPRUH0'          -XQH
                                                                      &KLDQJ%HD              $       $FFRXQWLQJ                                          $FWXDO                  $$&6%/HDGHUVKLS&RQIHUHQFH                  0RQWHUH\&$           0DUFK        3DLGUHJRQ3FDUG)HE
                                                                      &KRL6HXQJKHH           5         )LQDQFH                                             $FWXDO              )LQDQFLDO0JPW$QQXDO0HHWLQJ               %RVWRQ0$             2FWREHU
                                                                      &KRL6HXQJKHH           $         )LQDQFH                                           $FWXDO                  $$&6%/HDGHUVKLS&RQIHUHQFH                  0RQWHUH\&$           $SULO        3DLGUHJRQ3FDUG)HE
                                                                      &KRL6HXQJKHH          1          )LQDQFH                                                     $FWXDO                )LQDQFH)RUXP                                1<1<                 $SULO
                                                                      'LHWHULFK7DPP\         1          6WDII                                                     (VWLPDWH               6WRXW$OXPQL(YHQW                           1<1<                 0D\
                                                                      'LHWHULFK7DPP\         1          6WDII                                                      $FWXDO                )LQDQFH)RUXP                                1<1<                 $SULO
                                                                      'RPLQJR0DULD           1       $FFRXQWLQJ                                          $FWXDO                 $$$&RQIRQ7 /DQG$QQXDO0HHWLQJ           6DYDQQDK*$           6HSW
                                                                      *KLWXOHVFX%UHQGD       5       0DQDJHPHQW                                            $FWXDO                  (DVWHUQ$FDGHP\RI0DQDJHPHQW                3URYLGHQFH5,         0D\          1277$.,1*7+,675,368%67,787,1*
                                                                      *KLWXOHVFX%UHQGD       )       0DQDJHPHQW                                                $FWXDO                ,QWHUQDWLRQDO6\PSRVLXPRQ0HDQLQJIXO:RUN   $PVWHUGDP1(          -XQH         %DODQFHRIFKDUJHWR
                                                                      *UHHQEODWW0DWWKHZ      1       (FRQRPLFV                                             $FWXDO                ,QWHUQDWLRQDO$WODQWLF(FRQRPLF&RQI        /RQGRQ                 0D\
                                                                      +DQ+HQU\               5       0DQDJHPHQW                                           $FWXDO                  $20&RQIHUHQFH                               $WODQWD*$            6HSW
                                                                      +RUQHU6WHSKDQLH        5          6WDII                                                       $FWXDO                3$&RQIHUHQFHIRU:RPHQ                      3KLODGHOSKLD3$       -XO\2FWREHU 5HJRQSFDUGMXO\H[SHQVHVRFW
                                                                      +RUQHU6WHSKDQLH       6'          6WDII                                                       $FWXDO                )LQDQFH)RUXP                                1<1<                 $SULO
                                                                      +RUQHU6WHSKDQLH        $          6WDII                                                     $FWXDO                6WRXW$OXPQL(YHQW                           1<1<                 0D\
                                                                      +XPH6XVDQ              6         )LQDQFH                                                   $FWXDO                  6XVWDLQDELOLW\                               1<1<                 $SULO
                                                                      +XPH6XVDQ              1         )LQDQFH                                                      $FWXDO                6WRXW$OXPQL(YHQW                           1<1<                 $SULO
                                                                      +XPH6XVDQ              1         )LQDQFH                                                      $FWXDO            
                                                                      ,Q\DQJ$QLHIUH         1         0DUNHWLQJ                                          $FWXDO                1DWLRQDO&RQILQ6DOHV0DQDJHPHQW            6DQ'LHJR&$          $SULO
                                                                      ,Q\DQJ$QLHIUH          6        0DUNHWLQJ                                            $FWXDO                ,&6&                                         2UODQGR)/            'HF
                                                                      .HHS:LOOLDP            5          6WDII                                                   $FWXDO              0$$&%$                                       3KLODGHOSKLD3$       1RYHPEHU
                                                                      .HHS:LOOLDP            5          6WDII                                                         (VWLPDWH               'LJLWDO7UDQVIRUPDWLRQ6XPPLW                5RRVHYHOW,VODQG1<   1RY'HFHPEHU3DLGRQ3FDUG2FW
                                                                      .HHS:LOOLDP           1           6WDII                                            $FWXDO                 $$&6%'HDQ V&RQIHUHQFH                      /DV9HJDV19          'HF0DU     3DLGRQ3FDUG1RY
                                                                      .HHS:LOOLDP           1           6WDII                                                       $FWXDO                )LQDQFH)RUXP                                1<1<                 0D\
                                                                      .HHS:LOOLDP           1           6WDII                                                       $FWXDO                6WRXW$OXPQL(YHQW                           1<1<                 0D\
                                                                      .HHS:LOOLDP           1           6WDII                                                    $FWXDO                $OXPQL(YHQW                                +RERNHQ1-            0D\
                                                                      .HHS:LOOLDP         $OXPQL        6WDII                                                       $FWXDO                               $OXPQLPHHWLQJV                              1<1<                 )HE
                                                                      .LP-LQVLO              5       0DQDJHPHQW                                            $FWXDO                $FDGHP\RI,QWHU%XV$QQXDO0HHWLQJ        0LQQHDSROLV01        -XQH        &DQFHOOHGWULS
                                                                      .LP-LQVLO              )       0DQDJHPHQW                                                    $FWXDO                2UJ%HKDYLRU&RQI                           3KLODGHOSKLD3$       0DUFK       $OOFKDUJHGWR
                                                                      .LP7DH1\XQ            1         )LQDQFH                                           $FWXDO              6RXWKHUQ)LQDQFH$VVRF$QQXDO0HHWLQJ        .H\:HVW)/           -DQ
                                                                      .LP7DH1\XQ            1         )LQDQFH                                                      $FWXDO                )LQDQFH)RUXP                                1<1<                 0D\
                                                                      /DVKHU1DQF\           1            ,'%                                             $FWXDO                 $FDGHP\RI/HJDO6WXGLHVLQ%XVLQHVV         6DYDQQDK*$           2FW             3DLGUHJRQ3FDUG-XO\JRW
                                                                                                                                                                                                                                                                                                                      VWXFNGXHWRSODQHWURXEOHZLOOEHKLJKHU
                                                                                                                                                                                                                                                                                                                      H[SHQVHV
                                                                      /HKU)XUWDGR0DU\      6'          6WDII                                                  $FWXDO                1$&$'$5HJLRQ&RQIHUHQFH                   'RYHU'(              0D\             WR&66
                                                                      /HKU)XUWDGR0DU\       6          6WDII                                                       $FWXDO                1$&$'$'ULYH,Q&RQIHUHQFH                   0RXQW/DXUHO1-       -XQH
                                                                      /HYHQ%R]HQD            1       (FRQRPLFV                                             $FWXDO               'RLQJ%XVLQHVVLQWKH86                     :DUVDZ3RODQG         0DUFK
                                                                      /LOOHYLN:DKHHGD       1        0DQDJHPHQW                                            $FWXDO                 ,QWHUQDWLRQDO&ULWLFDO0JPW&RQI           /LYHUSRRO(QJODQG     $XJXVW
                                                                      /LOOHYLN:DKHHGD        6       0DQDJHPHQW                                                     $FWXDO                  +50$6FKRODUVKLS $ZDUG'LQQHU              3ULQFHWRQ1-          0D\
                                                                      0F&DUW\-RKQ            1        0DUNHWLQJ                                          $FWXDO                0DUNHWLQJ(GJH6XPPLW&RQIHUHQFH             1HZ2UOHDQV/$        2FWREHU
                                                                      0LUWFKHYD'RQND         5       (FRQRPLFV                                           $FWXDO                  (DVWHUQ(FRQRPLF$VVRF                       %RVWRQ0$             $SULO
                                                                      0LUWFKHYD'RQND         5       (FRQRPLFV                                                  $FWXDO                 9DOSDUDLVR8QLY5HVHDUFK6HPLQDU             ,1                     $SULO
                                                                      0RQVHDX6XVDQQD        1           ,'%                                              $FWXDO                 $FDGHP\RI/HJDO6WXGLHVLQ%XVLQHVV         6DYDQQDK*$           6HSW            3DLGRQ3FDUG-XO\JRWVWXFN
                                                                                                                                                                                                                                                                                                                      GXHWRSODQHWURXEOHZLOOEHKLJKHUH[SHQVHV
                                                                      0RQVHDX6XVDQQD         6          ,'%                                                   $FWXDO                3RVWHUVRQWKH+LOO                          :DVKLQJWRQ'&         0D\             3DLGUHJRQ3FDUG)HE3GURRP WUDLQIRUVWXGHQW
                                                                                                                                                                                                                                                                                                                                          7&1-
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                                                                                                                                                                                                                       &zϮϬϭϴ&ĂĐƵůƚǇdƌĂǀĞůZĞƋƵĞƐƚƐ                                                                                                                         WĂŐĞϮŽĨϮ
                                                                                  )DFXOW\        7\SHRI       3URJUDP        $PRXQW5HTXHVWHG         $PRXQW$SSURYHG $PRXQW([SHQGHG 'LII(VW$FWXDO   $FWXDO(VWLPDWH        7UDYHO'DWHV                             &RQIHUHQFH                             /RFDWLRQ    5HIOHFWHGRQ
                                                                                                 5HTXHVW                                                                                                                                                                                                                     %XGJHWVKHHW
                                                                      1DSOHV0LFKHOH                6         (FRQRPLFV                                                              $FWXDO              )HG&KDOOHQJH                                          %HWKOHKHP3$      -DQ
                                                                      1DSOHV0LFKHOH                6         (FRQRPLFV                                                              $FWXDO                2'(&RQI8UVLQXV                                      &ROOHJHYLOOH3$   0D\
                                                                      1RXUL+RVVHLQ                 1         $FFRXQWLQJ                                                     $FWXDO                 $$$1DWLRQDO0HHWLQJ                                   6DQ'LHJR&$      $XJXVW          6XEPLWWHGGD\VSULRUWRWULS
                                                                      2 *UDG\7UHYRU                1         (FRQRPLFV                                                      $FWXDO                6RFLHW\IRU,QVWLWXWLRQDO 2UJDQL]DWLRQDO(FRQRPLFV   0RQWUHDO&DQDGD   -XQH            &DQFHOOHG
                                                                      2 *UDG\7UHYRU                6         (FRQRPLFV                                                              $FWXDO                8UVLQXV2'(&RQIHUHQFH                                 &ROOHJHYLOOH3$   0D\
                                                                      2 *UDG\7UHYRU                )         (FRQRPLFV                                                           $FWXDO                  3UHVVLQJ,VVXHVLQ3XEOLF/DQG0JPW                   /DV9HJDV19      0D\
                                                                      3DWULFN7RP                   1          )LQDQFH                                                               $FWXDO                )LQDQFH)RUXP                                          1<1<             $SULO
                                                                      6DPDQWD6XEDUQD               1         (FRQRPLFV                                                      $FWXDO                 %XVLQHVV (FRQRPLFV6RFLHW\,QWHUQDWLRQDO             &KDQLD*UHHFH     $XJXVW
                                                                      6DPDQWD6XEDUQD               6         (FRQRPLFV                                                                 (VWLPDWH                 (DVWHUQ(FRQRPLF$VVRF                                 %RVWRQ0$         0DUFK           &DQFHOOHGQRWHQRXJKVWXGHQWV
                                                                      6RURNLQD1RQQD                5          )LQDQFH                                                      $FWXDO              )0$$QQXDO0HHWLQJ                                     %RVWRQ0$         1RY
                                                                      6RURNLQD1RQQD                5          )LQDQFH                                                               $FWXDO              4:$)$)(:*UHDWHU3KLODGHOSKLD                          9LOODQRYD3$      'HF             6XEPLWWHGUHLPEXUVHIRU
                                                                      6RURNLQD1RQQD                )          )LQDQFH                                                            $FWXDO                )LQDQFH5HVHDUFK6HPLQDU                               +RIVWUD8QLY1<   0D\
                                                                      6RURNLQD1RQQD                1          )LQDQFH                                                                $FWXDO                )LQDQFH)RUXP                                          1<1<             0D\
                                                                      9DQGHJULIW'RQDOG             5         (FRQRPLFV                                                     $FWXDO                :HVWHUQ$VVRFRI&ULPLQDO-XVWLFH                      6SRNDQH:$        2FWREHU         6XEPLWWHGIRUUHLPEXUVH
                                                                      9DQGHJULIW'RQDOG             5         (FRQRPLFV                                                              $FWXDO                8UVLQXV2'(&RQIHUHQFH                                 8UVLQXV3$        0D\
                                                                      :DOODFH3DWULFLD              1            ,6                                                          $FWXDO                 1DW O%XVDQG(FRQ6RFLHW\$QQXDO0HHWLQJ              +RQROXOX+,       $SULO
                                                                      0LUWFKHYD'RQND               )         (FRQRPLFV                                                          $FWXDO                %XUHDXRI/DERU6WDWLVWLFV                             1<1<             9DULHV          %DODQFHFKDUJHGWR
                                                                      7RWDODOOWULSVDOOIDFXOW\                                                                         >ĞŐĞŶĚĨŽƌďďƌĞǀŝĂƚŝŽŶƐ͗
                                                                      $YHUDJHSHUWULS                                               
                                                                                                                                                                                                                  ͗ĞǀĞůŽƉŵĞŶƚ
                                                                      $YHUDJHSHUIDFXOW\                                            
                                                                                                                                                                                                                  E͗EĂƚŝŽŶĂůŽŶĨĞƌĞŶĐĞ
                                                                                                                                                                                                                  Z͗ZĞŐŝŽŶĂůŽŶĨĞƌĞŶĐĞ
                                                                                                                                                                                                                  &͗&ĂĐƵůƚǇĞǀĞůŽƉŵĞŶƚ
                                                                                               5HTXHVWHGQRWDSSURYHG
                                                                                               $SSURYHGSHQGLQJWUDYHO
                                                                                                                                                                                                                  Z͗ZĞĐƌƵŝƚŝŶŐ
                                                                                               ([SHQVHUHSRUWFRPSOHWHG                                                                                           ^͗^ƚĂĨĨĞǀĞůŽƉŵĞŶƚ
                                                                                                                                                                                                                  Ed͗EĞƚǁŽƌŬŝŶŐ
                                                                      1XPEHURIIDFXOW\WUDYHOLQJ)<                                                                                                          ůƵŵŶŝ͗ůƵŵŶŝEĞƚǁŽƌŬŝŶŐĐƚŝǀŝƚǇ
                                                                                                                                                                                                                  ͗ŚĂŝƌĂƐĞƐƐŝŽŶ͕ƉĂƌƚŝĐŝƉĂƚĞŝŶĚŝƐĐƵƐƐŝŽŶ͕ƉƌĞƐĞŶƚĞƌ
                                                                                                                                                                                                                  ͗^
                                                                                               7RWDO7ULSV                     
                                                                                                                                                                                                                  ^͗^ƚƵĚĞŶƚĐƚŝǀŝƚǇ
                                                                                               3FDUGUHJLVWUDWLRQV             
                                                                                               *UDQG7RWDO7ULSV               
                                                                                                 7KHUHLVFKDUJHGLQ$SULOIRU-LQVLO.LP,GRQRWNQRZZKDWWKLVLVIRU
                                                                                                                                                                                                                                                                                                                                                                 7&1-
                                                                                                                                                                                                                             &ĂĐƵůƚǇĞǀĞůŽƉŵĞŶƚ                                                                                                                                                     WĂŐĞϭŽĨϭ
                                                                                         )DFXOW\             7\SHRI      3URJUDP           $PRXQW        $PRXQW$SSURYHG $PRXQW([SHQGHG (VWLPDWHRU   $FWXDO     7UDYHO'DWHV                    &RQIHUHQFH7UDLQLQJ                             /RFDWLRQ    5HIOHFWHGRQ
                                                                                                             5HTXHVW                        5HTXHVWHG                                         $FWXDO       (VWLPDWH                                                                                                %XGJHWVKHHW
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                                                                                  6DPDQWD6XEDUQD               )        (FRQRPLFV                                             $FWXDO       6$6:RUNVKRSRQ1HXUDOQHWRZUN0RGHOLQJ               &DU\1&             $XJXVW          &KDUJHG
                                                                                  /HYHQ%R]HQD                  )        (FRQRPLFV                                       $FWXDO       9LVLWIRUSRWHQWLDOH[FKDQJHSURJUDP                  7XULQ 5RPH         -XO\            &KDUJHG
                                                                                  /LOOHYLN:DKHHGD              )        0DQDJHPHQW                                        $FWXDO         $FDGHP\RI0DQDJHPHQW$QQXDO0HHWLQJ                  $WODQWD*$          6HSW            &KDUJHG
                                                                                  7XFFL/RXLV                   )         0DUNHWLQJ                                                   (VWLPDWH      6$6:RUNVKRSRQ1HXUDO1HWRZUN0RGHOV                 &DU\1&             -XO\            6HHNLQJ&'&IXQGLQJ
                                                                                  7XFFL/RXLV                   )         0DUNHWLQJ                                      $FWXDO        ,$%3$'                                                2UODQGR)/          -DQ             &KDUJHG
                                                                                  6RURNLQD1RQQD                )          )LQDQFH                                              (VWLPDWH            7HPSOH8QLYHUVLW\                                     3KLODGHOSKLD3$     0DUFK           &DQFHOOHG
                                                                                  6RURNLQD1RQQD                )          )LQDQFH                                                 $FWXDO         1<8&RQRQ)LQDQFLDO,QWHUPHGLDWLRQ                   1<1<               0D\
                                                                                  6RURNLQD1RQQD                )          )LQDQFH                                              $FWXDO       )0$$SSOLHG)LQDQFH&RQI                              1<1<               0D\
                                                                                  6RURNLQD1RQQD                )          )LQDQFH                                             $FWXDO       $QQXDO(DVWHUQ)LQDQFH$VVRF0HHWLQJ                  3KLODGHOSKLD3$     $SULO
                                                                                  6RURNLQD1RQQD                )          )LQDQFH                                                 $FWXDO       'UH[HO3)('&RQIHUHQFH                                3KLODGHOSKLD3$     6HSW            &KDUJHG
                                                                                  6RURNLQD1RQQD                )          )LQDQFH                                             $FWXDO       5HVHDUFK6HPLQDU                                      .HQW2+             6HSW            &KDUJHG
                                                                                  *KLWXOHVFX%UHQGD             )        0DQDJHPHQW                                        $FWXDO         0JPW 2UJ%HKDYLRU7HDFKLQJ&RQI                    &RQZD\6&           -XQH            &DQFHOOHG
                                                                                  0LUWFKHYD'RQND               )        (FRQRPLFV                                             (VWLPDWH        $PHULFDQ(FRQRPLF$VVRF                               3KLODGHOSKLD3$     -DQ             &KDUJHG
                                                                                  0LUWFKHYD'RQND               )        (FRQRPLFV                                             $FWXDO       %XUHDXRI/DERU6WDWLVWLFV                            1<1<               9DULHV          %DODQFHFKDUJHGWR
                                                                                  ,Q\DQJ(GGLH                  )         0DUNHWLQJ                                        $FWXDO       6DOHV(GXFDWRUV$FDGHP\                                 %LUPLQJKDP8.     -XQH
                                                                                  7DQJ/LQJKXL                  1        (FRQRPLFV                                       $FWXDO       ,QWHUQDWLRQDO&RQIRQ&OXVWHUVDQG,QGXVWULDO'LVWULFWV 9DOHQFLD6SDLQ    0D\             $PRXQWH[SHQGHGLVZKDWZDVSDLGQRWZKDWZDVDSSURYHG 
                                                                                  'XDQ-LQJ\L                   5         0DUNHWLQJ                                              $FWXDO            5HVHDUFK                                                                  2FW            &KDUJHG
                                                                                  7ULSDWKL$EKLVKHN             )            ,6                                           $FWXDO       0:$,6&RQIHUHQFH                                   6W/RXLV02      0D\
                                                                                  /DVKHU1DQF\                  )           ,'%                                                $FWXDO         1RUWK(DVW$FDGP\RI/HJDO6WXGLHVLQ%XVLQHVV          /DNHYLOOH&7      0D\
                                                                                  .LP-LQVLO                    )        0DQDJHPHQW                                            $FWXDO       2UJ%HKDYLRU7HDFKLQJ&RQI                             3KLODGHOSKLD3$   0DUFK           $PRXQWH[SHQGHGLVZKDWZDVSDLGQRWZKDWZDVDSSURYHG 
                                                                                  7ULSDWKL$EKLVKHN             )            ,6                                             $FWXDO        6$69LVXDO$QDO\WLFV                                    6DQ'LHJR&$      -DQ             ,QFRUUHFWO\FKDUJHGKHUHE\) %
                                                                                  7XFFL/RX                     6         0DUNHWLQJ                                            $FWXDO       0DQKDWWHQ$QDO\WLFV&RPSHWLWLRQ                         1<1<             0D\
                                                                                  /HYHQ%R]HQD                  )        (FRQRPLFV                                               $FWXDO         &RQIHUHQFHRQ3ROLVK6WXGLHV                            1<1<             -XQH
                                                                                  *KLWXOHVFX%UHQGD             )        0DQDJHPHQW                                      $FWXDO       ,QWHUQDWLRQDO6\PSRVLXPRQ0HDQLQJIXO:RUN              $PVWHUGDP1(      -XQH            &KDUJHRIWKLVWREDODQFHWR
                                                                                  7RWDODOOWULSVDOOIDFXOW\                                                  
                                                                                  $YHUDJHSHUWULS                                           
                                                                                  $YHUDJHSHUIDFXOW\                                        
                                                                                                                                            %XGJHW7RWDO               
                                                                                                                                             5HPDLQLQJ                   
                                                                                                           5HTXHVWHGQRWDSSURYHG
                                                                                                           $SSURYHGSHQGLQJWUDYHO
                                                                                                           ([SHQVHUHSRUWFRPSOHWHG
                                                                                  1XPEHURIIDFXOW\WUDYHOLQJ)<                                       XQGHUWKLVDFFRXQW
                                                                                                                                                                                                                                                                                                                                                             7&1-
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                                                                                                                                                                                                    &zϮϬϭϵ&ĂĐƵůƚǇdƌĂǀĞůZĞƋƵĞƐƚƐ                                                                                                                                          WĂŐĞϭŽĨϮ
                                                                                  )DFXOW\        7\SHRI    3URJUDP      $PRXQW    $PRXQW$SSURYHG $PRXQW([SHQGHG 'LII(VW$FWXDO   $FWXDO(VWLPDWH       7UDYHO'DWHV                              &RQIHUHQFH                       /RFDWLRQ      5HIOHFWHGRQ
                                                                                                 5HTXHVW                 5HTXHVWHG                                                                                                                                                                    %XGJHWVKHHW
                                                                           6RURNLQD1RQQD          1         )LQDQFH                                               (VWLPDWH                              &OHYHODQG)HGHUDO5HVHUYH                       &OHYHODQG2+                         'HQLHGIXQGLQJVXJJHVWDSSO\IRU&'&IXQGLQJ
                                                                           6XQ7LQJ                )       $FFRXQWLQJ                                    $FWXDO                  $PHULFDQ$FFRXQWLQJ$VVRF$QQXDO0HHWLQJ        :DVKLQJWRQ'&        $XJXVW
                                                                           &KLDQJ%HD              )       $FFRXQWLQJ                                     $FWXDO                  $PHULFDQ$FFRXQWLQJ$VVRF$QQXDO0HHWLQJ        :DVKLQJWRQ'&        $XJXVW
                                                                           6DPDQWD6XEDUQD         )       (FRQRPLFV                                      $FWXDO                 %XVLQHVV (FRQRPLF6RFLHW\,QWHUQDWLRQDO       /XJDQR6ZLW]HUODQG   $XJXVW
                                                                           *KLWXOHVFX%UHQGD      &        0DQDJHPHQW                                    $FWXDO                $FDGHP\RI0DQDJHPHQW                           &KLFDJR,/           $XJXVW
                                                                           0RQVHDX6XVDQQD        1           ,'%                                         $FWXDO                 $FDGHP\RI/HJDO6WXGLHVLQ%XVLQHVV            3RUWODQG25          $XJXVW
                                                                           7XFFL/RX              5         0DUNHWLQJ                                     $FWXDO                  ,$%3$'                                          2UODQGR)/           -DQ
                                                                           7XFFL/RX               )        0DUNHWLQJ                                               $FWXDO                6$6                                             1RUWK&DUROLQD        -XO\            +RSLQJWRJHW&'&IXQGLQJ
                                                                           /HYHQ%R]HQD         $OXPQL        6WDII                                             $FWXDO                /XQFKZLWKDOXPQL                               +RERNHQ1-           -XO\
                                                                           .LP7DH1\XQ           5          )LQDQFH                                      $FWXDO                6RXWKZHVWHUQ)LQDQFH$VVRF$QQXDO0WJ           +RXVWRQ7;           0DUFK
                                                                           ,Q\DQJ(GGLH            6        0DUNHWLQJ                                   $FWXDO                36(16&0&RQIHUHQFH                             -DFNVRQYLOOH)/      $SULO
                                                                           6RURNLQD1RQQD         &          )LQDQFH                                         $FWXDO                 0LGZHVW)LQDQFH$VVRFLDWLRQ                     &KLFDJR,/           0DUFK           6SOLWZLWKDLUIDUHDOUHDG\
                                                                                                                                                                                                                                                                                                                      FKDUJHGWREXGJHW
                                                                           %HFNHU2OVHQ.DUHQ      &        0DUNHWLQJ                                         $FWXDO                  0DUNHWLQJ 3XEOLF3ROLF\                       :DVKLQJWRQ'&        -XQH            6SOLWZLWKWR WR
                                                                                                                                                                                                                                                                                                                      
                                                                           +XPH6XVDQ              6        )LQDQFH                                             $FWXDO                *$0(                                            1<1<                0DUFK           1RWGRLQJ
                                                                           %URGHUVHQ'RQND         5       (FRQRPLFV                                          $FWXDO                  (DVWHUQ(FRQRPLFV$VVRFLDWLRQ                   1<1<                0DUFK
                                                                           7XFFL/RX               6       0DUNHWLQJ                                      $FWXDO                       0%$&                                            %URQ[1<             0D\             +DGWRFDQFHOGXHWRH[DPVFKHGXOH
                                                                           /DVKHU1DQF\            1          ,'%                                           $FWXDO                  1RUWK(DVW$FDGHP\RI/HJDO6WXGLHV             &DSH0D\1-          0D\
                                                                           7ULSDWKL$EKLVKHN       5           ,6                                             $FWXDO               1$%(7                                           6WDWH&ROOHJH3$     'HF
                                                                           +RUQHU6WHSKDQLH        1         6WDII                                                   $FWXDO              3$:RPHQV&RQIHUHQFH                            3KLODGHOSKLD3$      2FW             &DQFHOOHG
                                                                           /HYHQ%R]HQD            5         6WDII                                           $FWXDO                0$$&%$                                          *ODVVERUR1-         2FW             3DLGIRUUHJ KRWHORQSFDUG  
                                                                           +RUQHU6WHSKDQLH        1          6WDII                                                $FWXDO              1-:RPHQ V&RQIHUHQFH                           3ULQFHWRQ1-         2FW             5HJSDLGRQ3FDUG
                                                                           %HDJLQ1LFROH           1          6WDII                                                $FWXDO              1-:RPHQ V&RQIHUHQFH                           3ULQFHWRQ1-         1RY             5HJSDLGRQ3FDUG
                                                                           'LHWHULFK7DPP\         1          6WDII                                               $FWXDO              1-:RPHQ V&RQIHUHQFH                           3ULQFHWRQ1-         'HF             5HJSDLGRQ3FDUG
                                                                           6RURNLQD1RQQD          5        )LQDQFH                                             $FWXDO                'UH[HO&RQIHUHQFH                               3KLODGHOSKLD3$      2FW
                                                                           %HDJLQ1LFROH           5          6WDII                                          $FWXDO                0$$&%$                                          5RZDQ8QLY1-        2FW
                                                                           +XPH6XVDQ              5        )LQDQFH                                            (VWLPDWH             1%($                                            $WODQWLF&LW\1-     2FW             'LGQRWDWWHQG
                                                                           4XLQWHUR3DVTXDOH       5          6WDII                                               $FWXDO                0$$&%$                                          5RZDQ8QLY1-        2FW             3GUHJRQ3FDUG
                                                                           4XLQWHUR3DVTXDOH       5          6WDII                                               $FWXDO              *0$&$PHULFDV0HHWXS                            1<1<                 2FW
                                                                           'RPLQJR0DULD           )       $FFRXQWLQJ                                   $FWXDO                  $PHULFDQ$FFRXQWLQJ$VVRF$QQXDO0HHWLQJ        :DVKLQJWRQ'&        6HSW
                                                                           6KDKLG$EGXV            1       $FFRXQWLQJ                                     $FWXDO                  $QQXDO0HHWLQJ$PHUFLDQ$FFRXQWLQJ$VVRF        1DWLRQDO+DUERU0'   6HSW
                                                                           .LP-LQVLO              )       0DQDJHPHQW                                   $FWXDO                $FDGHP\RI0DQDJHPHQW                           &KLFDJR,/           6HSW            $FDGHPLF$IILDUVSD\LQJ
                                                                           1RXUL+RVVHLQ           1       $FFRXQWLQJ                                     $FWXDO                  $QQXDO0HHWLQJ$PHUFLDQ$FFRXQWLQJ$VVRF        1DWLRQDO+DUERU0'   6HSWHPEHU
                                                                           /LOOHYLN:DKHHGD        &       0DQDJHPHQW                                     $FWXDO                $FDGHP\RI0DQDJHPHQW                           &KLFDJR,/           6HSWHPEHU
                                                                           /HYHQ%R]HQD            )          6WDII                                      $FWXDO                  ,QWHUQDWLRQDO(FRQRPLF)RUXP                    .U\QLFD3RODQG       6HSWHPEHU
                                                                           6RURNLQD1RQQD          5         )LQDQFH                                              $FWXDO                  )HGHUDO5HVHUYH                                 3KLODGHOSKLD3$      6HSWHPEHU       6XEPLWWHGODWHSD\E\FKHFN
                                                                           +XPH6XVDQ              6         )LQDQFH                                          (VWLPDWH         9DULRXV6HSW)HE   &)$5HVHDUFK&KDOOHQJH                          1<1<                9DULRXV         7RWDOWULSVDGGHG6HSW2FW )HEWREXGJHW
                                                                           +XPH6XVDQ              )         )LQDQFH                                      $FWXDO                      0XOWLQDWLRQDO)LQDQFH$VVRF$QQXDO&RQIHUHQFH   -HUXVDOHP,VUHDO     -XQH            'LGQRWJRGLGQRWLQIRUPGHDQ
                                                                           7DQJ/\QQ               6       (FRQRPLFV                                             $FWXDO                       8UVLQXV2'(                                     8UVLQXV3$           0D\             3OXV3'UHJRQ3FDUG
                                                                           4XLQWHUR3DVTXDOH       5          6WDII                                                $FWXDO              ,QQRYDWLRQVLQ*UDGXDWH%XVLQHVV(GXFDWLRQ      1HZ%UXQVZLFN1-     2FW             UHJSDLGRQ3FDUG
                                                                           /HYHQ%R]HQD         $OXPQL        6WDII                                             $FWXDO                0HHWLQJZLWKDOXPQL                             1<1<                2FW
                                                                           1RXUL+RVVHLQ           &       $FFRXQWLQJ                                             $FWXDO                  +DZDLL$FFRXQWLQJ5HVHDUFK&RQIHUHQFH           +RQROXOX+,          1$              'HQLHGIXQGLQJDV)<IXQGLQJDOUHDG\XVHG
                                                                           %HDJLQ1LFROH           5          6WDII                                                $FWXDO              3$:RPHQV&RQIHUHQFH                            3KLODGHOSKLD3$      2FW             UHJSDLGRQ3FDUG
                                                                           1DSOHV0LFKHOH          6       (FRQRPLFV                                            $FWXDO                )HG&KDOOHQJH                                   (DVWRQ3$            1RY             %RXJKWOXQFKIRUDQGGURYHVWXGHQWV
                                                                           /HYHQ%R]HQD         $OXPQL        6WDII                                              $FWXDO              %ORRPEHUJ$OXPQLPHHWLQJ                        1<1<                2FW
                                                                           /HYHQ%R]HQD         $OXPQL        6WDII                                              $FWXDO              $OXPQLPHHWLQJ                                  1<1<                1RY
                                                                           /HYHQ%R]HQD                       6WDII                                          $FWXDO               6WUDVERXUJ(6&6LWH9LVLW                       *HUPDQ\               'HF
                                                                           ,Q\DQJ(GGLH            1        0DUNHWLQJ                                     $FWXDO                  *OREDO6DOHV6FLHQFH&HQWHU&RQIHUHQFH          3DQDPD&LW\3DQDPD   -XQH
                                                                           )XUWDGR0DU\            5          6WDII                                           $FWXDO                1$&$'$                                                                0DUFK           ,QFOXGHVUHJSDLGZLWK3FDUG
                                                                                                                                                                                                                                                                                                                                          7&1-
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                                                                                                                                                                                                                    &zϮϬϭϵ&ĂĐƵůƚǇdƌĂǀĞůZĞƋƵĞƐƚƐ                                                                                                                              WĂŐĞϮŽĨϮ
                                                                                  )DFXOW\                   7\SHRI       3URJUDP       $PRXQW     $PRXQW$SSURYHG $PRXQW([SHQGHG 'LII(VW$FWXDO   $FWXDO(VWLPDWH       7UDYHO'DWHV                            &RQIHUHQFH                      /RFDWLRQ    5HIOHFWHGRQ
                                                                                                            5HTXHVW                     5HTXHVWHG                                                                                                                                                                %XGJHWVKHHW
                                                                           'LHWHULFK7DPP\                     5            6WDII                                                  $FWXDO                              1-&%$$)DOO0HHWLQJ                                               'HF
                                                                           /HYHQ%R]HQD                    $OXPQL           6WDII                                                $FWXDO               $OXPQLPHHWLQJ                                1HZ<RUN1<        -DQ
                                                                           4XLQWHUR3DVTXDOH                   5            6WDII                                                  $FWXDO                              0%$7RXU                                                          )HE
                                                                           6RURNLQD1RQQD                     5            )LQDQFH                                              $FWXDO              )$0$SSOLHG                                   1<1<              0D\
                                                                           6RURNLQD1RQQD                     5            )LQDQFH                                                $FWXDO                      <XVKLYD8                                     1<1<              0D\             +RIVWUDPRYHGXQWLO)DOOXVHIRU<XVKLYD"
                                                                           6DPDQWD6XEDUQD                    6           (FRQRPLFV                                           $FWXDO                 (DVWHUQ(FRQRPLFV$VVRFLDWLRQ                 1<1<              0DUFK
                                                                           /HYHQ%R]HQD                      6'             6WDII                                              $FWXDO               +LJKHU(G5RXQGWDEOH                          3KLODGHOSKLD3$    0DUFK
                                                                           /HYHQ%R]HQD                    $OXPQL           6WDII                                                  $FWXDO               $OXPQLPHHWLQJ                                1<1<              )HE
                                                                           /HYHQ%R]HQD                    $OXPQL           6WDII                                                  $FWXDO               $OXPQLPHHWLQJ                                1<1<              )HE
                                                                           0LFKHOV.HYLQ                      5              ,'%                                                   $FWXDO               (PHUJLQJ7HFK7UHQGV                          7UHQWRQ1-         )HE             .HYLQQHYHUVXEPLWWHGWUDYHOUHTXHVWRU
                                                                                                                                                                                                                                                                                                                                 UHFHLSWPXOWLSOHDWWHPSWVWRUHDFKKLP
                                                                                                                                                                                                                                                                                                                                 UHJDUGLQJWKLV
                                                                           *UHHQEODWW0DWWKHZ                1            (FRQRPLFV                                       $FWXDO                :HVWHUQ(FRQRPLF$VVRFLDWLRQ$QQXDO0HHWLQJ   6DQ)UDQFLVFR&$   -XQH
                                                                           %HDJLQ1LFROH                    0%$             6WDII                                         $FWXDO                 *0$&&RQIHUHQFH                               :DVKLQJWRQ'&      0D\             $GGLWLRQDOIRU5HJRQ3FDUG
                                                                           6XQ7LQJ                          1            $FFRXQWLQJ                                            $FWXDO               WK:RUOG&RQWLQXRXV«                       6HYLOOH6SDLQ      0DUFK           :LOOEHUHLPEXUVHGE\$&&EXGJHW
                                                                           +RUQHU6WHSKDQLH                $OXPQL           6WDII                                                  $FWXDO                 6WRXW$OXPQL(YHQW                            1<1<               $SULO
                                                                           +RUQHU6WHSKDQLH                   6             6WDII                                                  $FWXDO               )LQDQFH)RUXP                                 1<1<              $SULO           7'SDLGIRUWUDLQWLFNHW
                                                                           'LHWHULFK7DPP\                 $OXPQL           6WDII                                                  $FWXDO                 6WRXW$OXPQL(YHQW                            1<1<              0D\
                                                                           'LHWHULFK7DPP\                    6             6WDII                                                $FWXDO               )LQDQFH)RUXP                                 1<1<              0D\
                                                                           %HDJLQ1LFROH                   $OXPQL           6WDII                                                 $FWXDO                 6WRXW$OXPQL(YHQW                            1<1<               0D\
                                                                           /HYHQ%R]HQD                       6             6WDII                                              $FWXDO               )LQDQFH)RUXP                                 1<1<              $SULO
                                                                           /HYHQ%R]HQD                    $OXPQL           6WDII                                               $FWXDO                 6WRXW$OXPQL(YHQW                            1<1<              $SULO
                                                                           /HYHQ%R]HQD                    $OXPQL           6WDII                                                $FWXDO               5LQQ'XLQQ                                    1-                  0DUFK
                                                                           /HYHQ%R]HQD                       6             6WDII                                                  $FWXDO               )LQDQFH)RUXPSUHS                            1<1<              0DUFK
                                                                           %HDJLQ1LFROH                   $OXPQL           6WDII                                                  $FWXDO               5LQQ'XLQQ                                    1-                  0DUFK           'URYHZLWK7'
                                                                           'LHWHULFK7DPP\                 $OXPQL           6WDII                                                  $FWXDO               5LQQ'XLQQ                                    1-                  $SULO
                                                                           %HDJLQ1LFROH                    0%$             6WDII                                               $FWXDO                 1-%'$                                         -HUVH\&LW\1-     $SULO
                                                                           6RURNLQD1RQQD                    5             )LQDQFH                                                 $FWXDO               5HVHDUFK6HPLQDUDW<XVKLYD8                 1<1<              0DUFK
                                                                           /HYHQ%R]HQD                       6             6WDII                                               $FWXDO               3ULQFHWRQ&OXE                                1<1<              0DUFK
                                                                           7DQJ/\QQ                       $OXPQL         (FRQRPLFV                                                $FWXDO               )LQDQFH)RUXP                                 1<1<              0D\
                                                                           6RURNLQD1RQQD                 $OXPQL6         )LQDQFH                                                 $FWXDO               )LQDQFH)RUXP                                 1<1<               $SULO           &DQFHOOHG
                                                                           6RURNLQD1RQQD                  $OXPQL          )LQDQFH                                                 $FWXDO                      6WRXW$OXPQL(YHQW                            1<1<               $SULO
                                                                           %URGHUVHQ'RQND                    6           (FRQRPLFV                                               $FWXDO               8UVLQXV2'(                                   &ROOHJHYLOOH3$   0D\             3OXV3'UHJRQ3FDUG
                                                                           +XPH6XVDQ                     $OXPQL6         )LQDQFH                                               $FWXDO               )LQDQFH)RUXP                                 1<1<              0D\
                                                                           &KRL6HXQJ+HH                 $OXPQL6         )LQDQFH                                                $FWXDO               )LQDQFH)RUXP                                 1<1<               0D\
                                                                           6DPDQWD6XEDUQD                    6           (FRQRPLFV                                                $FWXDO               8UVLQXV2'(                                   &ROOHJHYLOOH3$   0D\
                                                                           $YHUDJHSHUIDFXOW\                                                                                                                       >ĞŐĞŶĚĨŽƌďďƌĞǀŝĂƚŝŽŶƐ͗
                                                                           $YHUDJHSHUWULS                                              
                                                                           7RWDODOOWULSVDOOIDFXOW\                                                                              ͗ĞǀĞůŽƉŵĞŶƚ
                                                                                                                                                                                                                            E͗EĂƚŝŽŶĂůŽŶĨĞƌĞŶĐĞ
                                                                                                     5HTXHVWHGQRWDSSURYHG                                                                                                 Z͗ZĞŐŝŽŶĂůŽŶĨĞƌĞŶĐĞ
                                                                                                     $SSURYHGSHQGLQJWUDYHO                                                                                               &͗&ĂĐƵůƚǇĞǀĞůŽƉŵĞŶƚ
                                                                                                     ([SHQVHUHSRUWFRPSOHWHG                                                                                               Z͗ZĞĐƌƵŝƚŝŶŐ
                                                                                                                                                                                                                            ^͗^ƚĂĨĨĞǀĞůŽƉŵĞŶƚ
                                                                           1XPEHURIIDFXOW\WUDYHOLQJ)<                                                                                                               Ed͗EĞƚǁŽƌŬŝŶŐ
                                                                                                                                                                                                                            ůƵŵŶŝ͗ůƵŵŶŝEĞƚǁŽƌŬŝŶŐĐƚŝǀŝƚǇ
                                                                                                                                                                                                                            ͗ŚĂŝƌĂƐĞƐƐŝŽŶ͕ƉĂƌƚŝĐŝƉĂƚĞŝŶĚŝƐĐƵƐƐŝŽŶ͕ƉƌĞƐĞŶƚĞƌ
                                                                           $PRXQW([SHQGHG                                                                                                                     ͗^
                                                                           3OXV3FDUG                                                                                                                         ^͗^ƚƵĚĞŶƚĐƚŝǀŝƚǇ
                                                                           7RWDO                          
                                                                                                                                                                                                                                                                                                                                                      7&1-
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                                                                                                                                                                                          &ĂĐƵůƚǇĞǀĞůŽƉŵĞŶƚ                                                                                                                 WĂŐĞϭŽĨϮ
                                                                                         )DFXOW\       7\SHRI    3URJUDP      $PRXQW    $PRXQW$SSURYHG $PRXQW([SHQGHG (VWLPDWHRU    $FWXDO       7UDYHO'DWHV                    &RQIHUHQFH7UDLQLQJ                   /RFDWLRQ      5HIOHFWHGRQ
                                                                                                       5HTXHVW                 5HTXHVWHG                                     $FWXDO        (VWLPDWH                                                                                          %XGJHWVKHHW
                                                                                  &KLDQJ%HD             )       $FFRXQWLQJ                                        $FWXDO           3:&$FF 7D[6\PSRVLXP                     :DVKLQJWRQ'&        $XJXVW
                                                                                  /DVKHU1DQF\           1         ,'%                                      $FWXDO          $FDGHP\RI/HJDO6WXGLHVLQ%XVLQHVV        3RUWODQG25          $XJXVW
                                                                                  7ULSDWKL$EKLVKHN      1          ,6                                      $FWXDO         $PHULFDV&RQIRQ,QIR6\V                   1HZ2UOHDQV/$       6HSW
                                                                                  ,Q\DQJ(GGLH           6       0DUNHWLQJ                                     $FWXDO        ,&6&&RPSHWLWLRQ                            2UODQGR)/           1RY
                                                                                  0RQVHDX6XVDQQD        )         ,'%                                           (VWLPDWH          $FDGHP\RI/HJDO6WXGLHVLQ%XVLQHVV        &DSH0D\1-          0D\             'LGQRWHQGXSDWWHQGLQJ
                                                                                  +XPH6XVDQ             )        )LQDQFH                                       $FWXDO            ,QWHUQDWLRQDO&RQIR%XV (FR'HY ,&%('   1HZ<RUN1<          0D\
                                                                                  6DPDQWD6XEDUQD        )       (FRQRPLFV                                      $FWXDO            $PHULFDQ(FRQRPLF$VVRFLDWLRQ               $WODQWD*$           -DQ
                                                                                  6DPDQWD6XEDUQD        )       (FRQRPLFV                                      $FWXDO          0RGHUQ0RQHWDU\7KHRU\&RQI                 1<1<                2FW
                                                                                  6RURNLQD1RQQD         &        )LQDQFH                                      $FWXDO        )0$$QQXDO0HHWLQJ                          6DQ'LHJR&$         2FW
                                                                                  6RURNLQD1RQQD         5        )LQDQFH                                         $FWXDO          5HVHDUFK6HPLQDUDW)RUGKDP                 1<1<                0DUFK
                                                                                  6RURNLQD1RQQD         )        )LQDQFH                                           $FWXDO          5XWJHUV5HVHDUFK6HPLQDU                    3KLODGHOSKLD3$      )HE
                                                                                  6RURNLQD1RQQD         )        )LQDQFH                                        $FWXDO          5HVHDUFK6HPLQDUDW7HPSOH                  3KLODGHOSKLD3$      'HF
                                                                                  ,Q\DQJ(GGLH           6       0DUNHWLQJ                                         $FWXDO        $7 7%%6DOHV&RPSHWLWLRQ                  'DOODV7;            1RY
                                                                                  6RURNLQD1RQQD         &        )LQDQFH                                       $FWXDO           0LGZHVWHUQ)LQDQFH$VVRFLDWLRQ              &KLFDJR,/           0DUFK           &KDQJHGIURPRULJLQDOWULS
                                                                                                                                                                                                                                                                                                             ()$ VSOLWZ0LG
                                                                                                                                                                                                                                                                                                             :HVW)LQ$VVRF
                                                                                  6RURNLQD1RQQD         5         )LQDQFH                                          $FWXDO                 7HPSOH5HVHDUFK6HPLQDU                     3KLODGHOSKLD3$      0D\
                                                                                  %DNHU5LFKDUG          )       (FRQRPLFV                               $FWXDO            (FRQRPLFDQG%XVLQHVV+LVWRU\6RFLHW\       'HWURLW0,           -XQH
                                                                                  7XFFL/RX              )        0DUNHWLQJ                                         $FWXDO          1RGDWH        2QOLQHFRXUVHLQ3/60RGHOLQJ                                     )HE
                                                                                  /LOOHYLN:DKHHGD       )       0DQDJHPHQW                                $FWXDO           ,QWHUQDWLRQ3XEOLF3ROLF\&RQI              0RQWUHDO&DQDGD      -XQH
                                                                                  .LP-LQVLO             1       0DQDJHPHQW                                $FWXDO         $,%$QQXDO0HHWLQJ                     &RSHQKDJHQ'HQPDUN   -XQH            &DQFHOOHGZLWKXVODVW
                                                                                                                                                                                                                                                                                                             PLQXWH
                                                                                  7DQJ/\QQ              )       (FRQRPLFV                               $FWXDO          $$&6%$VVHVVPHQW&RQIHUHQFH                 &KDUOHVWRQ6&        0DUFK           FKDUJHGRQSFDUGIRU
                                                                                                                                                                                                                                                                                                             UHJ
                                                                                  &KLDQJ%HD             )       $FFRXQWLQJ                                      $FWXDO            1-%LJ'DWD$OOLDQFH6\PSRVLXP              -HUVH\&LW\1-       $SULO
                                                                                  7ULSDWKL$EKLVKHN      )          ,6                                           $FWXDO            1-%LJ'DWD$OOLDQFH6\PSRVLXP              -HUVH\&LW\1-       $SULO           *RWLOOGLGQRWDWWHQG
                                                                                  $KODZDW6XQLWD         )       $FFRXQWLQJ                                         $FWXDO            1-%LJ'DWD$OOLDQFH6\PSRVLXP              -HUVH\&LW\1-       $SULO           'LGQRWHQGXSDWWHQGLQJ
                                                                                  /LOOHYLN:DKHHGD       6       0DQDJHPHQW                                         $FWXDO            +50$$ZDUG'LQQHU                           3ULQFHWRQ1-         $SULO
                                                                                  %UDHQGHU/\QQ          )       $FFRXQWLQJ                                      $FWXDO            1-%LJ'DWD$OOLDQFH6\PSRVLXP              -HUVH\&LW\1-       0D\
                                                                                  %URGHUVHQ'RQND        )       (FRQRPLFV                                     $FWXDO          1,+&RQIHUHQFH                              %DOWLPRUH0'         0D\
                                                                                  +XPH6XVDQ             )        )LQDQFH                                      $FWXDO          <DOH6XVWDLQDELOLW\&RQIHUHQFH                                    0D\
                                                                                  /HYHQ%R]HQD           )       (FRQRPLFV                                 $FWXDO           :DUVDZ&RQIHUHQFH                           :DUVDZ3RODQG        0D\
                                                                                  7DQJ/\QQ              &       (FRQRPLFV                                 $FWXDO          $FDGHP\RI,QWHUQDWLRQDO%XVLQHVV&RQI      &RSHQKDJHQ'HQPDUN   -XQH            0RYHGIURP
                                                                                                                                                                                                                                                                                                      7&1-
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                                                                                                                                                                                                           &ĂĐƵůƚǇĞǀĞůŽƉŵĞŶƚ                                                                                                  WĂŐĞϮŽĨϮ
                                                                                           )DFXOW\                7\SHRI       3URJUDP       $PRXQW      $PRXQW$SSURYHG $PRXQW([SHQGHG (VWLPDWHRU    $FWXDO      7UDYHO'DWHV                  &RQIHUHQFH7UDLQLQJ          /RFDWLRQ   5HIOHFWHGRQ
                                                                                                                  5HTXHVW                     5HTXHVWHG                                       $FWXDO        (VWLPDWH                                                                           %XGJHWVKHHW
                                                                                  %HFNHU2OVHQ.DUHQ                 &          0DUNHWLQJ                                   $FWXDO         0DUNHWLQJ 3XEOLF3ROLF\           :DVKLQJWRQ'&    -XQH            6SOLWZLWKWR
                                                                                                                                                                                                                                                                                                                WR
                                                                                  7RWDODOOWULSVDOOIDFXOW\                                                   
                                                                                  $YHUDJHSHUWULS                                             
                                                                                  $YHUDJHSHUIDFXOW\                                          
                                                                                                                                             %XGJHW7RWDO            
                                                                                                                                              5HPDLQLQJ               
                                                                                                                 5HTXHVWHGQRWDSSURYHG
                                                                                                                 $SSURYHGSHQGLQJWUDYHO
                                                                                                                 ([SHQVHUHSRUWFRPSOHWHG
                                                                                  1XPEHURIIDFXOW\WUDYHOLQJ)<                                
                                                                                                                                                                                                                                                                                                      7&1-
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                                                                                                                                                                                              &zϮϬϮϬ&ĂĐƵůƚǇdƌĂǀĞůZĞƋƵĞƐƚƐ                                                                                                                              WĂŐĞϭŽĨϮ
                                                                                  )DFXOW\   7\SHRI    3URJUDP     $PRXQW5HTXHVWHG   $PRXQW$SSURYHG   $PRXQW([SHQGHG 'LII(VW$FWXDO   $FWXDO(VWLPDWH     7UDYHO'DWHV                               &RQIHUHQFH                       /RFDWLRQ     5HIOHFWHGRQ
                                                                                            5HTXHVW                                                                                                                                                                                                     %XGJHWVKHHW
                                                     &KLDQJ%HD                               )       $FFRXQWLQJ                                              $FWXDO             $PHULFDQ$FFRXQWLQJ$VVRF$QQXDO0HHWLQJ3Z&      6DQ)UDQFLVFR&$    $XJXVW
                                                     6XQ7LQJ                                 )       $FFRXQWLQJ                                                    $FWXDO              1RY        :RUOG&RQWLQXRXV$XGLWLQJ 5HSRUWLQJV\PSRVLXP   1HZ%UXQVZLFN1-                    &DQFHOOHGZLOOQRWEHDWWHQGLQJ
                                                     +DQ+HQU\                               )        0DQDJHPHQW                                              $FWXDO              $QQXDO0HHWLQJ$FDGHP\RI0DQDJHPHQW              %RVWRQ0$                           'LGQRWDWWHQGGXHWRIDPLO\LVVXHV
                                                     :DOODFH7ULVK                          5&            ,67                                                $FWXDO             $0&,6                                        &DQFXQ0H[LFR       6HSWHPEHU       %DODQFHWREHSDLGE\$$IRUUHFUXLWPHQW
                                                     6DPDQWD6XEDUQD                         &        (FRQRPLFV                                               $FWXDO               %XVLQHVV (FRQRPLFV6RFLHW\,QWO                 9LHQQD$XVWULD      $XJXVW
                                                     .LP-LQVLO                              &        0DQDJHPHQW                                            $FWXDO             $20&RQIHUHQFH                                    %RVWRQ0$           6HSWHPEHU
                                                     *KLWXOHVFX%UHQGD                       )        0DQDJHPHQW                                              $FWXDO             $20&RQIHUHQFH                                    %RVWRQ0$           $XJXVW
                                                     /DVKHU1DQF\                            &            ,'%                                                 $FWXDO              $FDGHP\RI/HJDO6WXGLHVLQ%XVLQHVV              0RQWUHDO&DQDGD     $XJXVW
                                                     1HYHV-RDR                             5&        0DQDJHPHQW                                                   $FWXDO             $FDGHP\RI0DQDJHPHQW                             %RVWRQ0$           $XJXVW
                                                     /HYHQ%R]HQD                            1           6WDII                                              $FWXDO            $FDGHPLF&RQIHUHQFH                               /LVERQ3RUWXDO      2FWREHU
                                                     /LOOHYLN:DKHHGD                        &        0DQDJHPHQW                                              $FWXDO              $FDGHP\RI0DQDJHPHQW                             %RVWRQ0$           2FWREHU
                                                     1RXUL+RVVHLQ                           &        $FFRXQWLQJ                                              $FWXDO              $PHULFDQ$FFRXQWLQJ$VVRF$QQXDO0HHWLQJ          6DQ)UDQFLVFR&$    6HSWHPEHU
                                                     &KRL6HXQJ+HH                         5&          )LQDQFH                                                   $FWXDO           )0$                                               1HZ2UOHDQV/$      2FWREHU
                                                     0F&DUW\-RKQ                           5&         0DUNHWLQJ                                              $FWXDO           $&5&RQIHUHQFH                                    $WODQWD*$          2FWREHU
                                                     7XFFL/RX                               1         0DUNHWLQJ                                              $FWXDO               ,QW$VVRF%XVLQHVV3URI $GPLQ'LVFLSOLQHV    2UODQGR)ORULD      -DQXDU\         &DQFHOOHGWULSGXHWRGHDWKLQIDPLO\
                                                     1DSOHV0LFKHOH                          5       (FRQRPLFV                                                     $FWXDO                            (FRQRPLFV$VVRFLDWLRQ                                                                  1RWDWWHQGLQJ
                                                     1DSOHV0LFKHOH                          6        (FRQRPLFV                                                   $FWXDO                   )HG&KDOOHQJH                                     1<1<               1RYHPEHU
                                                     +RUQHU6WHSKDQLH                        '           6WDII                                                         $FWXDO                    1-:RPHQV&RQI                                    3ULQFHWRQ1-        2FWREHU
                                                     +RUQHU6WHSKDQLH                        '           6WDII                                                       $FWXDO                    3$:RPHQV&RQI                                    3KLODGHOSKLD3$     2FWREHU
                                                     +RUQHU6WHSKDQLH                      $OXPQL        6WDII                                                       $FWXDO                   6DOW&UHHN*ULOO                                  3ULQFHWRQ1-        6HSWHPEHU
                                                     'RPLQJR0DULD                           5        $FFRXQWLQJ                                              $FWXDO               $FDGHP\RI/HJDO6WXGLHVLQ%XVLQHVV              0RQWUHDO&DQDGD     6HSWHPEHU
                                                     ,Q\DQJ(GGLH                            6         0DUNHWLQJ                                                  $FWXDO             ,&6&&RPSHWLWLRQ                                  2UODQGR)ORULD      -DQXDU\
                                                     'LHWHULFK7DPP\                        1(7          6WDII                                                        $FWXDO                    &KDPEHURI&RPPHUFH/XQFK                         3ULQFHWRQ1-        1RYHPEHU        $OVRSDLGRQ3FDUGIRUUHJ
                                                     .LP7DH1\XQ                            5          )LQDQFH                                               $FWXDO           )0$$QQXDO0HHWLQJ                                1HZ2UOHDQV/$      1RYHPEHU
                                                     %HDJLQ1LFROH                           '           6WDII                                                         $FWXDO                  1-:RPHQV&RQI                                    3ULQFHWRQ1-        2FWREHU         'LGQRWDWWHQGIXQHUDO
                                                     %HDJLQ1LFROH                           '           6WDII                                                      $FWXDO                   3$:RPHQV&RQI                                    3KLODGHOSKLD3$     2FWREHU
                                                     %HDJLQ1LFROH                         $OXPQL        6WDII                                                         $FWXDO                   6DOW&UHHN*ULOO                                  3ULQFHWRQ1-        2FWREHU
                                                     6RURNLQD1RQQD                          5          )LQDQFH                                               $FWXDO           )0$$QQXDO0HHWLQJ                                1HZ2UOHDQV/$      1RYHPEHU        2QO\LQFOXGHGLQEXGJHW
                                                     /HYHQ%R]HQD                             )          6WDII                                               $FWXDO            ),(,QWHUQVKLSV                                   /RQGRQ8.           -DQXDU\         ,QWHQGHGWRFRPHIURPPRYHG
                                                     ,Q\DQJ(GGLH                            6         0DUNHWLQJ                                              $FWXDO               $SU       36(1DWLRQDOV                                     1RUIRON9$                          $OOWUDYHOFDQFHOOHG
                                                     0RQVHDX6XVDQQD                         &            ,'%                                                 $FWXDO               $SU       $/7$QQXDO&RQIHUHQFH                             6WHUOLQJ8.                         $OOWUDYHOFDQFHOOHG
                                                     +XPH6XVDQ                              &          )LQDQFH                                               $FWXDO               0DU       0LGZHVW)LQDQFH$VVRF0HHWLQJ                     &KLFDJR,/                          $OOWUDYHOFDQFHOOHG
                                                     6XQ7LQJ                                &        $FFRXQWLQJ                                              $FWXDO           5$67&RQIHUHQFH                                   6LQJDSRUH            -DQXDU\         'LGQRWLQFOXGHRQEXGJHWRYHUEXGJHW
                                                     ,Q\DQJ(GGLH                            1         0DUNHWLQJ                                              $FWXDO               *OREDO6DOHV6FLHQFH,QVWLWXWH&RQIHUHQFH         0RQWSHOLHU)UDQFH                   $OOWUDYHOFDQFHOOHG
                                                     +XPH6XVDQ                              6          )LQDQFH                                                     $FWXDO             *$0(6WXGHQW,QYHVWPHQW)RUXP                     1<1<                               &DQFHOOHG
                                                     7DQJ/\QQ                             $$&6%      (FRQRPLFV                                               $FWXDO             $$&6%$VVHVVPHQWDQG,PSDFW                       +RXVWRQ7;                          3'UHJRQ3FDUGFDQFHOOHGGXHWR
                                                                                                                                                                                                                                                                                                                        FRURQDYLUXVFUHGLWZLWK$$6&%WREH
                                                                                                                                                                                                                                                                                                                        XVHGE\
                                                     'LHWHULFK7DPP\                          5         6WDII                                                          $FWXDO           0$$&%$$QQXDO0HHWLQJ                             1HZ%UXQVZLFN1-    1RYHPEHU        3'IRUUHJZLWK3FDUG
                                                     /HYHQ%R]HQD                             5         6WDII                                                          $FWXDO           0$$&%$$QQXDO0HHWLQJ                             1HZ%UXQVZLFN1-    2FWREHU
                                                     $KODZDW6XQLWD                           5       $FFRXQWLQJ                                                 $FWXDO             1$%(7&RQIHUHQFH                                  6WDWH&ROOHJH3$    1RYHPEHU
                                                     2 *UDG\7UHYRU                                   (FRQRPLFV                                                $FWXDO               5,&(&RQIHUHQFH                                   +RXVWRQ7;          0DUFK
                                                     +RUQHU6WHSKDQLH                         '         6WDII                                               $FWXDO             1$3+$(                                            6DQ'LHJR&$                        3DLGUHJRQ3FDUGJHWWLQJUHIXQG7ULS
                                                                                                                                                                                                                                                                                                                        FDQFHOOHG)OLJKWFUHGLWRQO\
                                                     0LOOHU*HUDOG                           5        $FFRXQWLQJ                                                    $FWXDO            5XWJHUV*RYW$FFW&RQI                            1HZ%UXQVZLFN1-    -DQXDU\
                                                     +RUQHU6WHSKDQLH                      $OXPQL       6WDII                                                          $FWXDO                     6WRXW$OXPQLHYHQW                                1HZ<RUN1<                         &DQFHOOHG
                                                                                                                                                                                                                                                                                                                             7&1-
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                                                                                                                                                                                                      &zϮϬϮϬ&ĂĐƵůƚǇdƌĂǀĞůZĞƋƵĞƐƚƐ                                                                                                                         WĂŐĞϮŽĨϮ
                                                                                  )DFXOW\   7\SHRI       3URJUDP         $PRXQW5HTXHVWHG    $PRXQW$SSURYHG   $PRXQW([SHQGHG 'LII(VW$FWXDO   $FWXDO(VWLPDWH      7UDYHO'DWHV                                   &RQIHUHQFH             /RFDWLRQ    5HIOHFWHGRQ
                                                                                            5HTXHVW                                                                                                                                                                                                       %XGJHWVKHHW
                                                     'LHWHULFK7DPP\                       $OXPQL           6WDII                                                              $FWXDO                          6WRXW$OXPQLHYHQW                      1HZ<RUN1<                        &DQFHOOHG
                                                     %HDJLQ1LFROH                         $OXPQL           6WDII                                                              $FWXDO                          6WRXW$OXPQLHYHQW                      1HZ<RUN1<                        &DQFHOOHG
                                                     /HYHQ%R]HQD                          $OXPQL           6WDII                                                              $FWXDO                          6WRXW$OXPQLHYHQW                      1HZ<RUN1<                        &DQFHOOHG
                                                     +RUQHU6WHSKDQLH                        6              6WDII                                                              $FWXDO                          )LQDQFH)RUXP                           1HZ<RUN1<                        &DQFHOOHG
                                                     'LHWHULFK7DPP\                         6              6WDII                                                              $FWXDO                          )LQDQFH)RUXP                           1HZ<RUN1<                        &DQFHOOHG
                                                     /HYHQ%R]HQD                            6              6WDII                                                           $FWXDO                          )LQDQFH)RUXP                           1HZ<RUN1<                        &DQFHOOHG
                                                     2 *UDG\7UHYRU                          6            (FRQRPLFV                                                            $FWXDO                          8UVLQXV2'(&RQIHUHQFH                  8UVLQXV3$                         $OOWUDYHOFDQFHOOHG
                                                     *UHHQEODWW0DWW                         6            (FRQRPLFV                                                            $FWXDO                          8UVLQXV2'(&RQIHUHQFH                  8UVLQXV3$                         $OOWUDYHOFDQFHOOHG
                                                     %DNHU5LFKDUG                           6            (FRQRPLFV                                                         $FWXDO                          8UVLQXV2'(&RQIHUHQFH                  8UVLQXV3$                         $OOWUDYHOFDQFHOOHG
                                                     /HYHQ%R]HQD                          $OXPQL           6WDII                                                              $FWXDO                           1-$OXPQL$VVRFLDWLRQ                   :HVW2UDQJH1-
                                                     /HKU)XUWDGR0DU\                       5              6WDII                                                           $FWXDO                  1$&$'$                                  1RUIRON9$                         $OVRSDLGRQSFDUGIRUUHJ$OOWUDYHO
                                                                                                                                                                                                                                                                                                                          FDQFHOOHGUHJWREHUHIXQGHG
                                                     7DQJ/\QQ                                &           (FRQRPLFV                                                   $FWXDO                  (XURSHDQ&RQIRQ5HVHDUFK0HWKRGRORJ\   $YHLUR3RUWXJXDO                   $OOWUDYHOFDQFHOOHG
                                                     $YHUDJHSHUIDFXOW\                                                                                                                                      >ĞŐĞŶĚĨŽƌďďƌĞǀŝĂƚŝŽŶƐ͗
                                                     $YHUDJHSHUWULS                                                                                                                                         ͗ĞǀĞůŽƉŵĞŶƚ
                                                     7RWDODOOWULSVDOOIDFXOW\                                                                                            E͗EĂƚŝŽŶĂůŽŶĨĞƌĞŶĐĞ
                                                                                                                                                                                                                     Z͗ZĞŐŝŽŶĂůŽŶĨĞƌĞŶĐĞ
                                                                                                                                                                                                                     &͗&ĂĐƵůƚǇĞǀĞůŽƉŵĞŶƚ
                                                                                                       5HTXHVWHGQRWDSSURYHG
                                                                                                                                                                                                                     Z͗ZĞĐƌƵŝƚŝŶŐ
                                                                                                       $SSURYHGSHQGLQJWUDYHO                                                                                      ^͗^ƚĂĨĨĞǀĞůŽƉŵĞŶƚ
                                                                                                       ([SHQVHUHSRUWFRPSOHWHG                                                                                      Ed͗EĞƚǁŽƌŬŝŶŐ
                                                     1XPEHURIIDFXOW\WUDYHOLQJ)<                                                                          7RWDO([SHQGHG                            ůƵŵŶŝ͗ůƵŵŶŝEĞƚǁŽƌŬŝŶŐĐƚŝǀŝƚǇ
                                                                                                                                                                 3'ZLWKFDUG                               ͗ŚĂŝƌĂƐĞƐƐŝŽŶ͕ƉĂƌƚŝĐŝƉĂƚĞŝŶĚŝƐĐƵƐƐŝŽŶ͕ƉƌĞƐĞŶƚĞƌ
                                                                                                                                                                                                                     ͗^
                                                                                                                                                                 &DUGUHIXQGVSHQG   
                                                                                                                                                                 *UDQGWRWDO         
                                                                                                                                                                                                                                                                                                                               7&1-
                                                                                                                                                                                               &ĂĐƵůƚǇĞǀĞůŽƉŵĞŶƚ                                                                                                                        WĂŐĞϭŽĨϭ
                                                                                  )DFXOW\    7\SHRI       3URJUDP          $PRXQW       $PRXQW$SSURYHG $PRXQW([SHQGHG (VWLPDWHRU    $FWXDO     7UDYHO'DWHV                   &RQIHUHQFH7UDLQLQJ                        /RFDWLRQ    5HIOHFWHGRQ
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                                                                                             5HTXHVW                        5HTXHVWHG                                        $FWXDO       (VWLPDWH                                                                                           %XGJHWVKHHW
                                       6XQ7LQJ                                                 )        $FFRXQWLQJ                                       $FWXDO         $PHULFDQ$FFRXQWLQJ$VVRF$QQXDO0HHWLQJ         6DQ)UDQFLVFR&$                   'LGQRWDWWHQG
                                       7XFFL/RX                                                )        (FRQRPLFV                                              $FWXDO        6$6                                              &DU\1&                            $SSO\LQJIRU&'&IXQGLQJ
                                       6DPDQWD6XEDUQD                                          )        (FRQRPLFV                                             $FWXDO        6$6                                              &DU\1&            $XJXVW
                                       &KRL6HXQJ+HH                                           )          )LQDQFH                                        $FWXDO              &)$/HYHO,([DP &)$&KDUWKRGOHU                2QOLQH              $XJXVW
                                       $KODZDW6XQLWD                                           )        $FFRXQWLQJ                                           $FWXDO        3Z&$QDO\WLFV                                    :DVKLQJWRQ'&      6HSWHPEHU
                                       'RPLQJR0DULD                                            )        $FFRXQWLQJ                                           $FWXDO        3Z&$QDO\WLFV                                    :DVKLQJWRQ'&      6HSW
                                       7XFFL/RX                                                )         0DUNHWLQJ                                            $FWXDO            1$         %D\HV6HUYHU6RIWZDUHIRUUHVHDUFK               $WODQWD)$         $SULO
                                       6RURNLQD1RQQD                                           )          )LQDQFH                                              $FWXDO               7HPSOH86HPLQDU3UHVHQWDWLRQ                    3KLODGHOSKLD3$                    7ULS&DQFHOOHG
                                       6RURNLQD1RQQD                                           )          )LQDQFH                                                $FWXDO              1<8)HG&RQIHUHQFH                               1HZ<RUN1<        1RYHPEHU
                                       6RURNLQD1RQQD                                           )          )LQDQFH                                              $FWXDO               'UH[HO&RQI3KLOD)HG                          3KLODGHOSKLD3$    -DQXDU\
                                       6RURNLQD1RQQD                                           )          )LQDQFH                                              $FWXDO              7HPSOH86HPLQDU3UHVHQWDWLRQ                    3KLODGHOSKLD3$                    7ULS&DQFHOOHG
                                       6RURNLQD1RQQD                                           )          )LQDQFH                                                 $FWXDO           7%'         6HPLQDUDW5XWJHUV                               1HZ%UXQVZLFN1-   "
                                       6RURNLQD1RQQD                                           )          )LQDQFH                                              $FWXDO          0DU       0)$$QQXDO0HHWLQJ                               &KLFDJR,/                         7ULS&DQFHOOHG
                                       6RURNLQD1RQQD                                           5          )LQDQFH                                              $FWXDO          0D\       )0$$SSOLHG&RQI                                 1HZ<RUN1<                        $OOWUDYHOFDQFHOOHG
                                       6RURNLQD1RQQD                                           )          )LQDQFH                                              $FWXDO           7%'         6HPLQDUDW+RIVWUD8                             1HZ<RUN1<        "
                                       6RURNLQD1RQQD                                           )          )LQDQFH                                                 $FWXDO           7%'         6HPLQDUDW<HVKLYD8                             1HZ<RUN1<        "
                                       6RURNLQD1RQQD                                           )          )LQDQFH                                              $FWXDO           7%'         3UHVHQWDWLRQDW3KLOD)HG                        3KLODGHOSKLD3$    "
                                       6RURNLQD1RQQD                                           5          )LQDQFH                                              $FWXDO          0D\       ()$$QQXDO0HHWLQJ                              %RVWRQ0$                          $OOWUDYHOFDQFHOOHG
                                       /DVKHU1DQF\                                             )            ,'%                                                $FWXDO          1RUWKHDVW$FDGHP\RI/HJDO6WXGLHVLQ%XV        /DNHYLOOH&7                       7ULS&DQFHOOHG
                                       6DPDQWD6XEDUQD                                          )        (FRQRPLFV                                            $FWXDO          $($&RQIHUHQFH                                   6DQ'LHJR&$       -DQXDU\
                                       &KLDQJ%HD                                               )        $FFRXQWLQJ                                           $FWXDO        1DEHW&RQIHUHQFH                                 3HQQV\OYDQLD        1RYHPEHU
                                       +XPH6XVDQ                                               )          )LQDQFH                                        $FWXDO        -XQ      0XOWLQDWLRQDO)LQDQFH$VVRF0HHWLQJ                                                  $OOWUDYHOFDQFHOOHG
                                       /LOOHYLN:DKHHGD                                         )        0DQDJHPHQW                                       $FWXDO        ,QWHUQDWLRQDO&RQIRQ3RSXODWLRQ 'HYHORSPHQW   /RQGRQ8.                          $OOWUDYHOFDQFHOOHG
                                       7ULSDWKL$EKLVKHN                                        )             ,6                                              $FWXDO        1DEHW&RQIHUHQFH                                 6WDWH&ROOHJH3$   -DQXDU\
                                       6XQ7LQJ                                                 )        $FFRXQWLQJ                                           $FWXDO        3Z&&RQIHUHQFH                                   $WODQWD)$         )HEUXDU\
                                       'LHWHULFK7DPP\                                          '           6WDII                                                                    $FWXDO                       0$$&%$&RQIHUHQFH                                                                    1RWGRLQJDOOWUDYHOFDQFHOOHG
                                       2 *UDG\7UHYRU                                           )        (FRQRPLFV                                        $FWXDO         :HVWHUQ(FRQRPLFV$VVRFLDWLRQ                    'HQYHU&2                          $OOWUDYHOFDQFHOOHG
                                       /LOOHYLN:DKHHGD                                         )        0DQDJHPHQW                                             $FWXDO        02%7&3URJUDP                                    3KLODGHOSKLD3$                    &RQIHUHQFHFDQFHOHG
                                       &DUERQLOOD$EHW                                          )        0DQDJHPHQW                                             $FWXDO        02%7&3URJUDP                                    3KLODGHOSKLD3$                    &RQIHUHQFHFDQFHOHG
                                       &KRL6HXQJ+HH                                           )          )LQDQFH                                             $FWXDO            1$         &)$/HYHO,,([DP &)$&KDUWKROGHU               1$                  2FWREHU
                                                                                                                                                                               
                                       7RWDODOOWULSVDOOIDFXOW\                                                                             
                                       $YHUDJHSHUWULS                                                                      
                                       $YHUDJHSHUIDFXOW\                                                                   
                                                                                                                            %XGJHW7RWDO            
                                                                                                                             5HPDLQLQJ               
                                                                                                                                                               
                                                                                            5HTXHVWHGQRWDSSURYHG
                                                                                            $SSURYHGSHQGLQJWUDYHO
                                                                                            ([SHQVHUHSRUWFRPSOHWHG
                                        1XPEHURIIDFXOW\WUDYHOLQJ)<                                               
                                                                                                                                                                                                                                                                                                   7&1-
                                                                                                                                                                                     ĂŶĐĞůůĞĚŽƌŽŶŽĂ                                                                                                                          WĂŐĞϭŽĨϭ
                                                                                  )DFXOW\             7\SHRI    3URJUDP     $PRXQW5HTXHVWHG   $PRXQW$SSURYHG   $PRXQW([SHQGHG        (VWLPDWHRU$FWXDO   $FWXDO(VWLPDWH    7UDYHO'DWHV          &RQIHUHQFH7UDLQLQJ                   /RFDWLRQ
                                                                                                      5HTXHVW
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                                                                                  6RURNLQD1RQQD       5         )LQDQFH                                                                $FWXDO            0D\        )0$$SSOLHG&RQI                  1HZ<RUN1<        $OOWUDYHOFDQFHOOHG
                                                                                  6RURNLQD1RQQD       5         )LQDQFH                                                                $FWXDO            0D\        ()$$QQXDO0HHWLQJ               %RVWRQ0$          $OOWUDYHOFDQFHOOHG
                                                                                  /DVKHU1DQF\          )          ,'%                                                                  $FWXDO             1RUWKHDVW$FDGHP\RI/HJDO6WXG /DNHYLOOH&7         7ULS&DQFHOOHG
                                                                                  +XPH6XVDQ            )        )LQDQFH                                                          $FWXDO           -XQ      0XOWLQDWLRQDO)LQDQFH$VVRF0HHWLQJ                   $OOWUDYHOFDQFHOOHG
                                                                                  /LOOHYLN:DKHHGD      )       0DQDJHPHQW                                                        $FWXDO           ,QWHUQDWLRQDO&RQIRQ3RSXODWLRQ /RQGRQ8.          $OOWUDYHOFDQFHOOHG
                                                                                  2 *UDG\7UHYRU        )       (FRQRPLFV                                                         $FWXDO            :HVWHUQ(FRQRPLFV$VVRFLDWLRQ 'HQYHU&2              $OOWUDYHOFDQFHOOHG
                                                                                  /LOOHYLN:DKHHGD      )       0DQDJHPHQW                                                              $FWXDO           02%7&3URJUDP                     3KLODGHOSKLD3$    &RQIHUHQFHFDQFHOHG
                                                                                  &DUERQLOOD$EHW       )       0DQDJHPHQW                                                              $FWXDO           02%7&3URJUDP                     3KLODGHOSKLD3$    &RQIHUHQFHFDQFHOHG
                                                                                                                                  Ψϲ͕ϵϯϳ͘ϱϴ         Ψϲ͕ϵϯϳ͘ϱϴ
                                                                                                                                                                                                                                                                                                  7&1-
